Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 1of135 Pageid#: 39

COVER SHEET FOR FILING CIVIL ACTIONS

COMMONWEALTH OF VIRGINIA

CaSO NO. coecssssccsscresssescsesscsescensseessetsesessersseseesvessaneessaesevennies

(CLERK’S OFFICE USE ONLY)

Circuit Court

weak urdue Pharma, et at ucsan

DEFENDANT(S)

I, the undersigned [ ] plaintiff [ ] defendant [x] attorney for [x] plaintiff ] defendant hereby notify the Clerk of Court that J am filing
the following civil action. (Please indicate by checking box that most closely identifies the claim being asserted or relief sought.)

GENERAL CIVIL
Subsequent Actions
[ ] Claim Impleading Third Party Defendant
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Counterclaim
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Cross Claim
[ ] Interpleader
[ ] Reinstatement (other than divorce or
driving privileges)
{ ] Removal of Case to Federal Court
Business & Contract
[ ] Attachment
[ ] Confessed Judgment
[ } Contract Action
[ ] Contract Specific Performance
[ ] Detinue
[ ] Garnishment
Property
] Annexation
] Condemnation
] Ejectment
] Encumber/Sell Real Estate
] Enforce Vendor's Lien
] Escheatment
] Establish Boundaries
] Landlord/Tenant
[ ] Unlawful Detainer
Mechanics Lien
Partition
Quiet Title
Termination of Mineral Rights

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Tort
[ ] Asbestos Litigation
[ ] Compromise Settlement
[ ] Intentional Tort
[ ] Medical Malpractice
{ ] Motor Vehicle Tort
[ ] Product Liability
[ ] Wrongful Death
[x] Other General Tort Liability

EMAIL ADDRESS OF SIGNATOR (OPTIONAL)

FORM CC-1416 (MASTER) PAGE ONE 07/16

ADMINISTRATIVE, LAW
{ ] Appeal/Judicial Review of Decision of

(select one)
[ ] ABC Board
[ ] Board of Zoning
[ ] Compensation Board
[ ] DMV License Suspension
[ ] Employee Grievance Decision
[ ] Employment Commission
[ ] Local Government
{ ] Marine Resources Commission
[ ] Schoo! Board
[ ] Voter Registration
{ } Other Administrative Appeal

DOMESTIC/FAMILY
[ ] Adoption
[ ] Adoption - Foreign
[ ] Adult Protection
[ ] Annulment
[ ] Annulment — Counterclaim/Responsive
Pleading
{ ] Child Abuse and Neglect — Unfounded
Complaint
] Civil Contempt
] Divorce (select one)
[ ] Complaint — Contested*
[ ] Complaint — Uncentested*
{ ] Counterclaim/Responsive Pleading
{ ] Reinstatement —
Custody/V isitation/Support/Equitable
Distribution
[ ] Separate Maintenance
[ ] Separate Maintenance Counterclaim

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WRITS
{ J Certiorari
[ ] Habeas Corpus
[ ] Mandamus
[ ] Prohibition
[ ] Quo Warranto

are claimed.

PROBATE/WILLS AND TRUSTS
[ ] Accounting
[ ] Aid and Guidance
[ ] Appointment (select one)
[ ] Guardian/Conservator
[ ] Standby Guardian/Conservator
[ ] Custodian/Successor Custodian (UTMA)
[ ] Trust (select one)
[ ] Impress/Declare/Create
[ ] Reformation
[ ] Will (select one)
[ ] Construe
[ ] Contested

MISCELLANEOUS
{ ] Amend Death Certificate
[ ] Appointinent (select one}
[ } Church Trustee
[ ] Conservator of Peace
[ ] Marriage Celebrant
[ ] Approval of Transfer of Structured
Settlement
] Bond Forfeiture Appeal
} Declaratory Judgment
] Declare Death
] Driving Privileges (select one)
[ ] Reinstatement pursuant to § 46.2-427
[ ] Restoration -- Habitual Offender or 34
Offense
Expungement
Firearms Rights — Restoration
Forfeiture of Property or Money
Freedom of Information
Injunction
Interdiction
Interrogatory
Judgment Lien-Bill to Enforce
Law Enforcement/Public Official Petition
Name Change
Referendum Elections
Sever Order
Taxes (select one)
[ ] Correct Erroneous State/Local
[ ] Delinquent
[ ] Vehicle Confiscation
[ ] Voting Rights — Restoration
[ ] Other (please specify)

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[ ] PLAINTIFF [ ] DEFENDANT

[x] ATTORNEY FOR

Ix] PLAINTIFF
[ ] DEFENDANT

 

 

*“Contested” divorce means any of the following matters are in
dispute: grounds of divorce, spousal support and maintenance,
child custody and/or visitation, child support, property distribution
or debt allocation. An “Uncontested” divorce is filed on no fault
grounds and none of the above issues are in dispute.

 

 
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 2 of 135 Pageid#: 40

VIRGINIA: IN THE CIRCUIT COURT OF THE CITY OF SALEM
CITY OF SALEM, VIRGINIA
Plaintiff,
Vv.

PURDUE PHARMA, L.P.; PURDUE PHARMA,
INC.; THE PURDUE FREDERICK COMPANY,
INC.; RHODES PHARMACEUTICALS, L.P.;
ABBOTT LABORATORIES: ABBOTT
LABORATORIES, INC.; ABBVIE INC.;
MALLINCKRODT PLC; MALLINCKRODT LLC;
SPECGX LLC; ENDO HEALTH SOLUTIONS,
INC; ENDO PHARMACEUTICALS, INC.; PAR Case No. CLI8 -
PHARMACEUTICAL COMPANIES, INC.; PAR
PHARMACEUTICAL, INC.; TEVA
PHARMACEUTICALS USA, INC.; CEPHALON,
INC.; BARR LABORATORIES, INC.; WATSON
LABORATORIES, INC.; ACTAVIS PHARMA,
INC.; ACTAVIS, LLC; JANSSEN
PHARMACEUTICALS, INC.; ORTHO-MCNEIL-
JANSSEN PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA, INC.;
ALLERGAN PLC; ALLERGAN FINANCE, LLC;
INSYS THERAPEUTICS, INC.; KVK-TECH,
INC.; AMNEAL PHARMACEUTICALS LLC;
IMPAX LABORATORIES, LLC: AMNEAL,
PHARMACEUTICALS, INC.; AMNEAL
PHARMACEUTICALS OF NEW YORK, LLC;
MYLAN PHARMACEUTICALS, INC.;
MCKESSON CORPORATION; MCKESSON
MEDICAL-SURGICAL INC.; CARDINAL,
HEALTH, INC.; AMERISOURCEBERGEN DRUG
CORPORATION; HENRY SCHEIN, INC.;
GENERAL INJECTABLES & VACCINES, INC.;
INSOURCE, INC.; CVS HEALTH
CORPORATION; CVS PHARMACY, INC.; CVS
TN DISTRIBUTION, L.L.C.; WALGREENS
BOOTS ALLIANCE, INC.; WALGREEN CO.;
EXPRESS SCRIPTS HOLDING COMPANY;
EXPRESS SCRIPTS, INC; CAREMARK RX,
L.L.C.; CAREMARKPCS HEALTH, L.L.C.;
CAREMARK, L.L.C,; UNITEDHEALTH GROUP
INCORPORATED; OPTUM, INC.; OPTUMRX,
INC.; and DOES 1-100,

Jury Trial Demanded

Defendants.

 

 
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 30f135 Pageid#: 41

PLAINTIFF’S ORIGINAL COMPLAINT

Plaintiff, the City of Salem, Virginia, by and through the undersigned attorneys,
(hereinafter “Plaintiff,” “Salem,” or “the City”) against Defendants: Purdue Pharma, L.P.; Purdue
Pharma, Inc.; The Purdue Frederick Company, Inc.; Rhodes Pharmaceuticals, L.P.; Abbott
Laboratories; Abbott Laboratories, Inc.; AbbVie Inc.; Mallinckrodt PLC; Mallinckrodt LLC;
SpecGx LLC; Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Par Pharmaceutical
Companies, Inc.; Par Pharmaceuticals, Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Barr
Laboratories, Inc.; Watson Laboratories, Inc.; Actavis Pharma, Inc.; Actavis, LLC; Janssen
Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc.;
Allergan PLC; Allergan Finance, LLC; Insys Therapeutics, Inc.; KVK-Tech, Inc.; Amneal
Pharmaceuticals LLC; Impax Laboratories, LLC; Amneal Pharmaceuticals, Inc.; Amneal
Pharmaceuticals of New York, LLC; Mylan Pharmaceuticals, Inc.; McKesson Corporation;
McKesson Medical-Surgical Inc.; Cardinal Health, Inc.; AmerisourceBergen Drug Corporation;
Henry Schein, Inc.; General Injectables & Vaccines, Inc.; Insource, Inc.; CVS Health Corporation;
CVS Pharmacy, Inc.; CVS TN Distribution, L.L.C.; Walgreens Boots Alliance, Inc.; Walgreen
Co.; (collectively, “Distributor Defendants”); Express Scripts Holding Company; Express Scripts,
Inc.; CVS Health Corporation (in its pharmacy benefit management capacity); Caremark Rx,
L.L.C.; CaremarkPCS Health, L.L.C. d/b/a CVS/Caremark; Caremark, L.L.C.; UnitedHealth
Group Incorporated; Optum, Inc.; OptumRx Inc.; (collectively, “PBM Defendants”); and DOES 1
through 100 inclusive (collectively, “Defendants’”) alleges as follows:

I. INTRODUCTION

1, Defendants have caused an opioid epidemic that has resulted in economic, social

and emotional damage to tens of thousands of Americans throughout virtually every community

in the United States. It is indiscriminate and ruthless, It has impacted across demographic lines,
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 4o0f135 Pageid#: 42

harming every economic class, race, gender and age group. It is killing Americans, more than 134
people every day.' Prescription and illegal opioids account for more than sixty percent (60%) of
overdose deaths in the United States, a toll that has quadrupled over the past two decades,
according to the United States Centers for Disease Control and Prevention (“CDC”). More people
died from opioid-related causes in 2016 than from car accidents” or guns.? In 2016 more than one
hundred seventy-five (175) people died every day from drug overdoses, comparable to an airplane
crashing, killing everyone on board, every day.* In 2017, the number rose to over one hundred
ninety-seven (197), the increase largely due to synthetic opioids.°

2. According to the CDC, the costs of healthcare, lost productivity, addiction
treatment, and criminal justice involvement due to opioid misuse alone is $78.5 billion a year.®

3, Prescription drug manufacturers, wholesalers/distributors, and pharmacy benefit
managers (““PBMs”) have created this epidemic. The manufacturers make the opioids and lie about
their efficacy and addictive properties. The wholesalers distribute the opioids from the point of
manufacture to the point of delivery to the patient. And the PBMs control, through their pharmacy

plan design and formulary management, which drugs go where and how they are paid for.

 

' See NIH, Overdose Death Rates, NATIONAL INSTITUTE ON DRUG ABUSE, Rev, Aug. 2018,
hitps://www.drugabuse. gov/related-topics/trends-statistics/overdose-death-rates (estimating more than 49,000 opioid
related deaths in 2617).

> Deaths from Opioid Overdoses Now Higher Than Car Accident Fatalities, HEALTHLINE, March 30, 2018, ©
https://www. healthline.com/health-news/deaths-from-opioid-overdoses-higher-than-car-accident-fatalities#1

3 Ethan Siegal, Opioid Epidemie So Dangerous, Says CDC, It's Finally Killing As Many Americans As Guns, FORBES,
March 20, 2018, hitps://Awww.forbes.com/sites/startswithabang/2018/03/20/opioid-epidemic-so-dangerous-says-cde-
its-finally-killing-as-many-americans-as-puns/#32f5256f6c? |

* Jerry Mitchell, With 175 Americans dying a day, what are the solutions to the opioid epidemic? USA TODAY
Network, Jan. 29, 2018, hitps://www.usatoday com/story/news/nation-now/2018/01/29/175-americans-dving-day-
what-solutions-opioid-epidemic/1074336001/

> NIH, Overdose Death Rates, supra note 1.

® NIH, Opioid Overdose Crisis, NATIONAL INSTITUTE ON DRUG ABUSE, Rev. March 2018,
https:/Avww.drugabuse. gov/drugs-abuse/opioids/opioid-overdose-crisis#two
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 5of135 Pageid#: 43

4, Each defendant group profits enormously from the movement of opioid products.
Each has incentives to move certain drugs over others. Defendants themselves create the incentives
and share in their perversity — usually without disclosure to those who reasonably rely on
Defendants to abide by their federal, state and common law duties. They do so at the expense of
Plaintiff and communities like it nationwide.

5. Each defendant group bears culpability in the crisis and is a necessary party to
addressing the damage it has wreaked, including the costs of abatement.

6, The devastating impact of opioid abuse cannot be overstated. After years of
decreasing death rates in the United States, they are now on the rise fueled by an increase in opioid-
related drug overdose deaths. Drug overdoses are now the leading cause of death for Americans
under the age of fifty (50). The number of Americans who died of drug overdose deaths in 2017
was roughly equal the number of Americans who died in the Vietnam, Iraq, and Afghanistan wars
combined,’

7. Salem has been hit hard by the opioid epidemic. For example, since 2012, the rate
of neonatal abstinence syndrome (NAS) in Salem has been hi gher than the high statewide rate in
Virginia every year except 2014. The NAS rate peaked in 2016 at more than double the statewide
rate.” There was a spike in reported cases of Hepatitis C among 18 to 30-year-olds in Salem in

2014, when the rate of Hepatitis C in that demographic jumped to nearly three times higher than

 

7 Nicholas Kristof, Opioids, a Mass Killer We're Meeting With a Shrug, NEW YORK TIMES, Jun. 22, 2017,
https://www.nytimes.com/2017/06/22/opinion/opicid-epidemic-health-care-bill html

8 VIRGINIA. DEPARTMENT OF HEALTH, VIRGINIA OPIOID) ADDICTION — INDICATORS (2016),
hitps://public, tableau.com/views/VirginiaOpioidAddictionIndicators/VAO loidAddictionIndicators?:embed=y&:dis
play count=yes&:showVizHome=no

* Fd.

 
     
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 6of135 Pageid#: 44

the statewide rate.'° Perhaps even more disturbingly, people have been dying of opioid overdoses
in Salem every year since the opioid epidemic began. |!

8. The acute opioid problem in Salem reflects the overwhelming epidemic affecting
the entire Commonwealth. In 2016, Virginia’s state health commissioner declared the state’s
opioid addiction problem a public health emergency. On average, three Virginians dic of a drug
overdose and over two dozen are treated in emergency departments for drug overdoses each day."
Fatal drug overdoses in the first half of 2016 increased by 35% compared to the same period in
2015.'° More Virginians die cach year from drug overdoses than moto vehicle accidents. '4

9, Defendants’ opioid-related misconduct drives heroin abuse. A 2015 study found
that four out of five heroin users reported that their addiction started with opioid pain relievers, !>
In this way, prescription opioids — now, thanks to Defendants, provided to patients for everyday
conditions such as knee pain, headaches, and dental pain — can operate as a “gateway” drug to
heroin use and involvement with the illegal drug market.

10. Inaddition, Salem is now having to allocate substantial taxpayer dollars, resources,
staff, energy and time to address the damage the opioid scourge has left in its wake and to address
its many casualties. The City’s costs for incarceration and correction services have increased in

recent years due to an increasing crime rate attributable to the opioid epidemic. The costs that the

 

10 id.
mt id.

'? Dr. Melissa Levine, State Health Commissioner Telebriefing on Opioid Addiction Public Health Emergency (Nov.
21, 2016) (transcript available at http:/Awww.vdh. virginia. gov/commissioner/opioid-addiction-in-virginia/),

13 id.

'4 Andrew Barnes and Katherine Neuhausen, Virginia Commonwealth University School of Medicine, “The Opioid
Crisis Among Virginia Medicaid Beneficiaries,” hitps://hbp.veu.edu/media/hbp/policybriefs/pdts/Senate Opioid

CrisisPolicyBrief Final. pdf

'S NAT’L SAFETY COUNCIL, PRESCRIPTION NATION 2016: ADDRESSING AMERICA’S DRUG EPIDEMIC 9 (2016),
http:/Aww w.nse.ore/RxDrugO verdoseDocuments/Prescription-Nation-2016-American-Drup-Epidemic pdf
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 7 of 135 Pageid#: 45

City has borne for foster care and other child placement services have similarly increased due to
the increasing number of children who need such services because opioid addiction has destroyed
the structure of their families. Fire and emergency medical services are over-utilized because of
an increased number of opioid-related overdoses. The burden on law enforcement is substantially
increased by opioid-related crimes related to prescription opioid theft, diversion, and sales on the
black market. Courts, social workers, nurses, schools, intervention programs, and clinics have all
been harmed. Nearly every aspect of Salem’s budget has been significantly and negatively
impacted by this Defendant-made epidemic.

11. Defendants’ efforts to deceive and make opioids widely accessible have also
resulted in a windfall of profits. Opioids are now the most prescribed class of drugs; they generated
$11 billion in revenue for drug companies in 2014 alone. While Americans represent only five

percent (5%) of the world’s population, they consume eighty percent (80%) of the world

Op.

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eo production of prescription opioids. '°

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me 12. The side effects of opioid use have provided even more profits for drug
ie manufacturers. For example, television airwaves are now flooded with advertisements for

remedies for the most common opioid-related side effect, opioid-induced constipation, which
increases a long-term opioid user’s healthcare costs by over $10,000."
13. The recipe for generating sky-high revenues is clear: patients who are prescribed

opioids become physically and psychologically dependent on the drugs. When these opioid-

 

‘6 Dina Gusovsky, Americans Consume Vast Majority of the World’s Opioids, CNBC, Apr. 27, 2016 9:13 AM,
htto://www.cnbe.com/2016/04/27/americans-consume-almost-all-of-the-global-opioid-supply.htrl

'7 Yin Wan, Shelby Corman, Xin Gao, Sizhu Liu, Haridarshan Patel, Reema Mody , Economic Burden of Opioid-
induced Constipation Among Long-Term Opioid Users with Noncancer Pain, AM HEALTH DRUG BENEFITS. 2015

Apr; 8(2): 93-102, hitps:/Avww.ncbi.ulm.nih.gov/pme/articles/PMC443 74 82/
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 8 of 135 Pageid#: 46

addicted patients can no longer legally obtain opioids, they seck the drugs on the black market or
turn to heroin which provides a similar high to prescription opioids. Defendants have generated a
loyal customer base: hundreds of thousands of patients whose addiction guarantees an insatiable
demand for the drugs and consistently high profits.

14. The scheme began with Manufacturer Defendants, who deliberately polluted the
national marketplace, including in Salem, with lies and misinformation about the efficacy of
opioids to treat chronic pain and the risks of addiction. Using hired guns, advertising and marketing
materials, the Manufacturers promoted the fictitious concept of “pseudoaddiction,” advocated that
signs of addiction should be treated with more opioids, falsely claimed that opioid dependence and
withdrawal could be easily managed and denied the risks of higher and protracted opioid dosages.

15, Wholesale distributors, such as the Distributor Defendants, could have and should
have been able to stem the excess flow of opioids into Virginia and Salem, but they did not,
Wholesale drug distributors receive prescription opioids from drug manufacturers and transfer the
opioids to hospitals, pharmacies, doctors, and other healthcare providers who then dispense the
drugs to patients. Distributors are required by federal and state law to control and report unlawful
drug diversions. The Distributor Defendants deliberately ignored these responsibilities, lobbied for
higher reporting thresholds and pocketed profits at the expense of Salem.

16. The Manufacturer and Distributer Defendants’ efforts to promote their scheme to
distribute unnecessary opioids were purposefully facilitated by pharmacy benefit managers
(“PBMs) who ensured that opioids were paid for, reimbursed, or covered by public and private
payors through their pharmacy benefit plans.

17. PBMs are the gatekeepers to the vast majority of opioid prescriptions filled in the

United States. Caremark, Express Scripts, and OptumRx {all named defendants here) manage the
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 9of135 Pageid#: 47

drug benefits for approximately eighty-nine percent of the market, or 238 million lives.!® PBMs
design prescription drug benefit programs and create formularies which set the criteria and terms
under which pharmaceutical drugs are reimbursed. They also determine numbers of refills
permitted, number of pills per prescription, pre-authorization requirements, generic and branded
drug co-pay amounts, and other criteria. PBMs thereafter commit to monitor their customers’
utilization, manage drug plans and overall employee wellbeing. In these ways, PBMs tout their
ability to control and manage overall prescription drug utilization.

18. Because PBMs are the intermediary between drug manufacturers, pharmacies, and
ultimately patients, these companies control everything from pharmacy reimbursements to what
drugs are covered under formularies.? In these ways, the PBMs influence which drugs enter the
marketplace. Their fingerprints are on nearly every opioid prescription filled and they profit in
myriad ways on every pill.

19. Virginia and Salem have experienced a significant spike in opioid-related abuse
and deaths in recent years. The CDC found that Virginia was one of the states with a statistically
significant increase in drug overdose death rates from 2015 to 2016.2° The CDC estimated that
1,405 people died from drug overdoses in Virginia in 2016.2!

20. Accordingly, Plaintiff brings this action to recover damages and costs it has

incurred as a result of the prescription drug abuse problem in Salem. Plaintiff seeks to recover

 

'8 NATIONAL COMMUNITY PHARMACISTS ASSOCIATION, PBM Resources, hittp://www.ncpanet.org/advocaey/the-
tools‘pbm-resources (last visited Sept. 8, 2018),

') Matthew Kandrach, PBM stranglehold on prescription drug market demands reform, THE HILL, May 2, 2017,
http://thehill.com/blogs/pundits-blog/healtheare/331601 -pbin-stranglehold-on-preseription-drug-market-demands-
reform

© Drug Overdose Death Data, CENTERS FOR DISEASE CONTROL AND PREVENTION, last updated Dec. 19, 2017,
https.//Awww.cde.2ov/drugoverdose/data/statedeaths htm!

71 id.
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 10o0f135 Pageid#: 48

those costs and damages from the Defendants because they are the entities that have substantially
contributed to and profited from the scourge of opioid abuse in Salem.

21. Plaintiff also seeks an order compelling the abatement and removal of the public
nuisance the Defendants have created, knew their misconduct would likely create and from which
they profited, by ceasing their unlawful promotion, distribution, reimbursement and sale of
opioids, as well as treble damages, punitive damages and attorneys’ fees and costs in addition to
granting any other equitable relief authorized by law.

It. VENUE AND JURISDICTION

22. This Court has subject matter jurisdiction over this matter pursuant to Virginia
Code § 17.1-513.

23. This Court has personal jurisdiction over Defendants pursuant to Virginia Code §
8.01-328.1 because they conduct business in Virginia, purposefully direct or directed their actions
toward Virginia, caused tortious injury in Virginia, consented to be sued in Virginia by registering
an agent for service of process, and/or consensually submitted to the jurisdiction of Virginia when
obtaining a manufacturer or distributor license and have the requisite minimum contacts with
Virginia necessary to constitutionally permit the Court to exercise jurisdiction.

24, Venue is proper in this Court pursuant to Virginia Code § 8.01-262 in that the
Defendants regularly conduct substantial business activity in Salem, Virginia and the causes of
action alleged herein arose in Salem, Virginia.

25. Defendants are regularly engaged in the business of manufacturing, marketing,
distributing, dispensing and reimbursing prescription opioids in Virginia and, specifically, in
Salem, including to Salem’s own current and former employees. Defendants’ activities in Salem

in connection with the manufacture, marketing, distribution, dispensation and reimbursement of
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 11o0f135 Pageid#: 49

prescription opioids was, and is, continuous and systematic, and gives rise to the causes of action
alleged herein.

Il. PARTIES
A. PLAINTIFF

26, Salem is a political subdivision of the Commonwealth of Virginia.

27. Salem derives its governmental powers from the laws of the Commonwealth of
Virginia.

B. MANUFACTURER DEFENDANTS

28. Defendant, PURDUE PHARMA, LP, is a limited partnership organized under the
laws of Delaware. Defendant, PURDUE PHARMA, INC., is a New York corporation with its
principal place of business in Stamford, Connecticut, and Defendant, THE PURDUE
FREDERICK COMPANY, INC., is a Delaware corporation with its principal place of business in
Stamford, Connecticut.

29. PURDUE PHARMA, L.P, may be served through its registered agent: The
Prentice-Hall Corporation System, Inc., 2711 Centerville Road, Suite 400, Wilmington, Delaware
19808. PURDUE PHARMA INC. may be served through its registered agent: The Prentice-Hall
Corporation System, Inc., 80 State Street, Albany, New York 12207. THE PURDUE
FREDERICK COMPANY may be served through its registered agent: The Prentice-Hall
Corporation System, Inc., 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

30. PURDUE PHARMA, L.P., PURDUE PHARMA, INC., and THE PURDUE
FREDERICK COMPANY, INC. are referred to collectively as “Purdue.”

31. In Virginia and nationally, Purdue is engaged in the manufacture, promotion, and

distribution of opioids, including: (a) OxyContin (oxycodone hydrochloride extended release), a
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 12 0f135 Pageid#: 50

Schedule II opioid agonist tablet first approved in 1995 and marketed by Purdue for the
“management of pain severe enough to require daily, around-the-clock, long-term opioid treatment
and for which alternative treatment options are inadequate.” OxyContin was indicated, or legally
approved, for the “management of moderate to severe pain when a continuous, around-the-clock
opioid analgesic is needed for an extended period of time”: and (b) MS-Contin (morphine sulfate
extended release), a Schedule II opioid agonist tablet first approved in 1987 and indicated for the
“management of pain severe enough to require daily, around-the-clock, long-term opioid treatment
and for which alternative treatment options are inadequate.”

32. OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s national annual
sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up almost four-fold
from 2006 sales of $800 million. OxyContin constitutes roughly thirty percent (30%) of the entire
market for analgesic drugs (painkillers).

33. In 2007, Purdue settled criminal and civil charges against it for misbranding
OxyContin and agreed to pay the United States $635 million. At the time, this was one of the
largest settlements with a drug company for marketing misconduct. Purdue’s misconduct has
continued, as alleged herein, settlement notwithstanding.

34. Purdue transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit. Purdue hires employees to service the Virginia
market. For example, Purdue recently advertised online that it was seeking a Territory Business
Manager to operate out of Bristol, Virginia, and another Territory Business Manager to operate

out of Richmond South, Virginia? On information and belief, Purdue also directs advertising and

 

“hetps://www,zoogle.com/search?q =purdue+pharmatjobtvirginia&og=purduetpharmati ob+virginia&aqs=chrome
0915 7.735909 &sourceid=chrome&ie=UTF-8 &safe=active&ibp=htl:jobs&sa-X &ved—Vah UK Fwihv IM_9 ZAh
VDUEMEHUg2CakO1YsCCCkoAAMpstatetidetail &htidocid=7ere6THe WHB TITY AAAAAA‘3D%3DEhtivet=}
obs

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Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 13 0f135 Pageid#: 51

informational materials to impact Virginia physicians and potential users of Purdue products.
Purdue possesses a Virginia out-of-state manufacturer license.

35. Purdue also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $23.8 million on Purdue’s opioids. This
represents approximately 18% of total Virginia Medicaid reimbursements for opioids during that
time period.”? These reimbursements represent only a fraction of the total earned by Purdue from
its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Purdue’s ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements,

36. Defendant, RHODES PHARMACEUTICALS, L.P. (“Rhodes”) is a Delaware
limited partnership owned by the Sackler family, who also own Purdue Pharma LP. The Sacklers
created Rhodes in 2007, four months after Purdue pleaded guilty to federal criminal charges that
it had mis-marketed OxyContin.

37. Rhodes has its principal place of business in Coventry, Rhode Island. Rhodes may
be served through its registered agent: Corporation Service Company, 251 Little Falls Drive,
Wilmington, Delaware 19808.

38. Rhodes is presently among the largest producers of off-patent generic opioids in
the U.S.* Together with Purdue, Rhodes accounted for 14.4 million opioid prescriptions in 2016,

or 6% of the US Opioid market.?°

 

3 State Medicaid Drug Utilization Data, Centers for Medicaid and CHIP Services (CMS),
hitps://www.medicaid .gov/medicaid/ prescription-drugs/state-drug-utilization-data/index htm!

4 David Crow, Billionaire Sackler family owns second opioid drugmaker, FINANCIAL TIMES, Sept. 9, 2018,
https:/Avww.f.com/content/2d21cfLa-b2be-1 II e8-99ca-68cf89602132

°5 Hd

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Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 14o0f135 Pageid#: 52

39. Upon information and belief, Rhodes manufactures, promotes, distributes and/or
sells opioids nationally, in Virginia, and in Salem, including many controlled substances such as
oxycodone, morphine sulfate, hydrocodone and hydromorphone.

40. Rhodes benefits from reimbursements by the Virginia Medicaid program. Between
2006 and 2017, Virginia Medicaid spent over $3.6 million on Rhodes’ opioids. This represents
approximately 3.68% of total Virginia Medicaid reimbursements for opioids during that time
period.” These reimbursements represent only a fraction of the total earned by Rhodes from its
opioid distribution in Virginia, Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Rhodes’ ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

41, Defendant, ABBOTT LABORATORIES, is an Illinois corporation with its
principal place of business in Abbott Park, Illinois. Defendant, ABBOTT LABORATORIES,
INC., is an Illinois corporation with its principal place of business in Abbott Park, Illinois.

42, Defendant, ABBVIE INC. is a Delaware corporation with its principal place of
business in North Chicago, Illinois, ABBVIE INC was created in January 2013 when ABBOTT
LABORATORIES spun off its pharmaceutical business.2’

43. ABBOTT LABORATORIES, ABBOTT LABORATORIES, INC. and ABBVIE
INC. are all registered to do business in Virginia. ABBOTT LABORATORIES and ABBOTT
LABORATORIES, INC be served in Virginia through their registered agent: The Corporation

Service Company, 4701 Cox Road, Suite 285, Glen Allen, Virginia. ABBVIE INC. may be served

 

*6 State Medicaid Drug Utilization Data, supra note 23.

“7 Abbott completes split with Abb Vie, DAILY HERALD, Jan. 2, 2013, www.dailyherald.com/article/201301 02/business/
701029869/

12
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 15o0f135 Pageid#: 53

in Virginia through its registered agent: Corporate Creations Network Inc., 6802 Paragon Place
#410, Richmond, Virginia 23230.

44. Defendants ABBOTT LABORATORIES, ABBOTT LABORATORIES, INC. and
ABBVIE INC. are referred to collectively as “Abbott.”

45. Abbott was engaged in the promotion and distribution of opioids nationally due to
a co-promotional agreement with Defendant Purdue. Pursuant to that agreement, between 1996
and 2006, Abbott actively promoted, marketed, and distributed Purdye’s opioid products as set
forth above.

46.  Abboit, as part of the co-promotional agreement, helped make OxyContin into the
largest selling opioid in the nation. Under the co-promotional agreement with Purdue, the more
Abboit generated in sales, the higher the reward. Specifically, Abbott received tw enty-five to thirty
percent (25-30%) of all net sales for prescriptions written by doctors its sales force called on, This
agreement was in operation from 1996-2002, following which Abbott continued to receive a
residual payment of six percent (6%) of net sales up through at least 2006.

47. With Abbott’s help, sales of OxyContin went from a mete $49 million in its first
full year on the market to $1.6 billion in 2002. Over the life of the co-promotional agreement,
Purdue paid Abbott nearly half a billion dollars.

48. Abbott distributed other deadly opioids as well, including Vicodin (hydrocodone
acetaminophen), Vicoprofen (hydrocodone ibuprofen), Dilaudid (hydromorphone hel), and Actiq
(fentanyl citrate), 78

49. Abbott transacts business in Virginia, targeting the Virginia market for its products,

including the opioids at issue in this lawsuit. Abbott hires employees to service the Virginia

 

*8 State Medicaid Drug Utilization Data, supra note _.

13
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 16 of 135 Pageid#: 54

market. For example, Abbott recently advertised online that it was seeking a Laboratory
Technician for Richmond, Virginia, a Coronary Account Manager for Charlottesville, Virginia,
and a Territory Representative for Alexandria, Virginia.?? On information and belief, Abbott also
directs advertising and informational materials to impact Virginia physicians and potential users

of Abbott products.

50. Abbott and Purdue’s conspiring with PBMs to drive opioid use is documented. As
described in an October 28, 2016 article from Psychology Today entitled America’s Opioid
Epidemic:

Abbott and Purdue actively misled prescribers about the strength and safety
of the painkiller [OxyContin]..To undermine the policy of requiring prior
authorization, they offered lucrative rebates to middlemen such as Merck
Medco [now Express Scripts, a defendant herein] and other pharmacy
benefits managers, on condition that they eased availability of the drug and
lowered co-pays. The records were part of a case brought by the state of
West Virginia against both drug makers alleging inappropriate and illegal
marketing of the drug as a cause of widespread addiction. .., One reason
the documents are so troubling is that, in public at least, the drug maker was
carefully assuring authorities that it was working with state authorities to
curb abuse of OxyContin. Behind the scenes, however, as one Purdue
official openly acknowledged, the drug maker was “working with Medco
(PBM) [now defendant Express Scripts] to try to make parameters [for
prescribing] less stringent.?°

51. Upon information and belief, Abbott’s and Purdue’s practices with Medco (now
Defendant Express Scripts (as defined below)), were not confined to West Virginia and has caused

injury nationwide, including in Salem.

 

* hitos://www.google.com/search?safe=active&ei=wuSiW gjaEo3azwLA-6 oCw&o-ABBOTT+LABORATORIES
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0.0,584,1084.5-2.2,0...0...1. 1.64 psy-ab..13.2.1083...0i0122130k} 0. VIUSOZ7IGPO&ibp=htljobs&sa=X &ved=Gah
UREwi304W_geDZ AhWFvIMKHXSGDLwOiY sCCCkoA AM {pstate-tidetail &htidocid“ 7MBAw2y9JNZK VNMnA
AAAAAM3DMIDShtivri=jobs

* American Society of Addiction Medicine, America’s Opioid Epidemic — Court released documents show drug
makers blocked efforis to curb prescribing, PSYCHOLOGY TODAY, Oct, 28, 2016, https://www.psychologytoday.com/
blog/side-effects/201610/america-s-opioid-epidemic

14
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 17 o0f135 Pageid#: 55

52. Indeed, PBM giant Express Scripts appears to have played a particularly critical
role in facilitating and preserving market growth for OxyContin, From at least 2003, it has
maintained the brand drug OxyContin as an approved reimbursable drug on Express Scripts’
formularies, Express Scripts imposed no pre-authorization requirements or quantity limits on
OxyContin prescriptions until 2013 at the earliest.

53. Express Scripts also facilitated reimbursement of MS-Contin, which similarly
appears not to have had pre-authorization requirements before those imposed by Medicare in 2013
and often had preferred tier placement.

54. All of the foregoing was pursuant to agreements between Purdue and Express
Scripts that set forth the terms of Express Scripts services to Purdue and how it would be paid by
Purdue.

55. PBM Defendant Caremark (as defined below) also facilitated OxyContin’s market
position throughout the relevant time period. For most, if not all, of the relevant times hereto, on
information and belief, Caremark maintained OxyContin as a reimbursable drug on its formulary.
Caremark imposed no pre-authorization requirements or quantity limits on OxyContin
prescriptions until 2014 at the earliest. Caremark also facilitated reimbursement of MS-Contin,
which similarly appears not to have had pre-authorization requirements or quantity limits on
prescriptions before those imposed by Medicare in 2013.

56. The foregoing treatment of OxyContin reimbursement was pursuant to agreements
between Purdue and Caremark that set forth the terms of Caremark services to Purdue and how it
would be paid by Purdue.

57. PBM Defendant OptumRx (as defined below) also facilitated OxyContin and MS-
Contin’s market growth, At all times relevant hereto, on information and belief, both were

approved drugs on OptumRx’s formulary.

15
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 18o0f135 Pageid#: 56

58. Defendant, MALLINCKRODT PLC, is an Irish public limited company with its
corporate headquarters in Staines-upon-Thames, United Kingdom. MALLINCKRODT PLC may
be served through its registered agent in the United States: CT Corporation System, 120 South
Central Avenue, Suite 400, Clayton, Missouri 63105.

59. Defendant, MALLINCKRODT LLC, is a wholly owned subsidiary of
MALLINCKRODT PLE and is a Delaware limited liability company with its principal place of
business in St. Louis, Missouri. MALLINCKRODT LLC is registered to do business in Virginia
and has been since at least October 4, 2013, Mallinckrodt LLC may be served in Virginia through
its registered agent: CT Corporation System, 4701 Cox Road, Suite 285, Glen Allen, Virginia
23060.

60. Defendant, SPECGX LLC is a Delaware limited liability company with its
principal place of business in Clayton, Missouri and is a wholly-owned subsidiary of
MALLINCKRODT PLC. SPECGX LLC may be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801. SPECGX LLC is licensed as a non-resident distributor and non-resident
manufacturer with the Virginia Department of Health Professions.

61. MALLINCKRODT PLC, MALLINCKRODT LLC and SPECGX LLC are
referred to collectively as “Mallinckrodt.”

62. Mallinckrodt manufactures, markets, sells and distributes pharmaceutical drugs
throughout the United States. Mallinckrodt is the largest U.S. supplier of opioid pain medications
and among the top ten generic pharmaceutical manufacturers in the United States, based on
prescriptions,

63. In Virginia and nationally, Mallinckrodt is engaged in the manufacture, promotion,

and distribution of Roxicodone, oxycodone, and hydrocodone, among other drugs. Mallinckrodt

16
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 19o0f135 Pageid#: 57

transacts business in Virginia, targeting the Virginia market for its products, including the opioids
at issue in this lawsuit, which Mallinckrodt has sold in Virginia, On information and belief,
Mallinckrodt hires employees to service the Virginia market and also directs advertising and
informational materials to impact Virginia physicians and potential users of Mallinckrodt products.

64, Mallinckrodt also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $36.1 million on Mallinckrodt’s opioids,
This represents approximately 32.23% of total Virginia Medicaid reimbursements for opioids
during that time period.*! These reimbursements represent only a fraction of the total earned by
Mallinckrodt from its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA
ARCOS data that will provide substantially greater transparency into Mallinckrodt’s ill-gotten
gains and the harm caused in Virginia through improper public and commercial opioid
reimbursements,

65. Atall times relevant hereto, the PBM Defendants listed the brand drug Roxicodone
or its generic alternative oxycodone as approved reimbursable drugs on their formularies. They
imposed no pre-authorization requirements or quantity limits on prescriptions until 2014 at the
earliest.

66. Defendant, ENDO HEALTH SOLUTIONS, INC., is a Delaware corporation with
its principal place of business in Malvern, Pennsylvania. Defendant, ENDO
PHARMACEUTICALS, INC., is a wholly owned subsidiary of ENDO HEALTH SOLUTIONS,
INC. and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

67. | ENDO HEALTH SOLUTIONS, INC, may be served through its registered agent:

The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

 

3! State Medicaid Drug Utilization Data, supra note 23.

17
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 20 0f 135 Pageid#: 58

Delaware 19801. ENDO PHARMACEUTICALS, INC. may be served through its registered
agent, The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,
Wilmington, Delaware 19801.

68. Defendant PAR PHARMACEUTICAL COMPANIES, INC. (“Par Pharmaceutical
Cos.”) is a Delaware corporation, having a principal place of business in Chestnut Ridge, New
York, On information and belief, Par Pharmaceutical Cos. is a holding company and is a wholly-
owned subsidiary, directly or indirectly, of Endo International ple.

69. Defendant, PAR PHARMACEUTICAL, INC. (“Par Pharmaceutical”) is a New
York corporation, having a principal place of business located in Chestnut Ridge, New York. On
information and belief, Par Pharmaceutical is a wholly-owned subsidiary of Par Pharmaceutical
Cos. and holds itself out as “an Endo International Company.” Par Pharmaceutical is licensed and
has been licensed as a non-resident distributor with the Virginia Department of Health Professions
since 2005.

70. Par Pharmaceutical Cos. may be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801. Par Pharmaceutical may be served through its registered agent: CT Corporation
System, 111 Eight Avenue, 13" Floor, New York, New York 10011.

71. Par Pharmaceutical and Par Pharmaceutical Cos. are referred to collectively as
“Par”,

72. ENDO HEALTH SOLUTIONS, INC., ENDO PHARMACEUTICALS, INC. and
Par are, at times, referred to collectively as “Endo”.

73. Endo develops, markets, and selis prescription drugs, including the opioids
Opana/Opana ER, Percodan, Percocet, and Zydone, throughout the United States, including

Virginia. Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in 2012.

18
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 21 0f135 Pageid#: 59

Opana ER yielded $1.15 billion in revenue from 2010 to 2013, and it accounted for ten percent
(10%) of Endo’s total revenue in 2012. Endo, by itself and through its subsidiary, Qualitest
Pharmaceuticals, Inc., also manufactures and sells generic opicids such as oxycodone,
oxymorphone, hydromorphone, meperidine, and hydrocodone products across the United States,
including Virginia.

74, Par develops, markets, and sells prescription drugs including the brand opioid
Endocet and generic opioids consisting of oxycodone, oxymorphone, hydrocodone, morphine
sulfate, and fentanyl citrate, throughout the United States, including Virginia.

75. Endo transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit, Endo hires employees to service the Virginia market.
For example, Endo recently posted online that it was seeking a Specialty Sales Consultant to work
out of its Richmond, Virginia location.*? On information and belief, Endo also directs advertising
and informational materials to impact Virginia physicians and potential users of Endo products.

76. Endo also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $25.5 million on Endo’s opioids. This
represents approximately 18% of total Virginia Medicaid reimbursements for opioids during that
time period.*? These reimbursements represent only a fraction of the total earned by Endo from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Endo’s ill-gotten gains and the harm caused in

Virginia through improper public and commercial opioid reimbursements.

 

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ONS,*+INC.+jobs+ virginia&oq=ENDO+HEALTH+SOLUTIONS,+INC.+jobs-+vi reinia&gs |=psy-
ab.3...155352.155352.0,155764.1.1.0.0,0.0.364.364.3-1,1.0....0...1.1 -64.psy-ab..0.0.0....0.Mvfb-
eZuOfE&ibp=htl;jobs&sa=X & ved=Oah UKEwj m3 JmQhuDZAhUKXIMK HbpJCbOQiYsCCCkoA AMfpstate—tldetail
&htidocid=J6XwduKDNIT-vHtgA AAAAA%3D%3D&htivet=jobs

*? State Medicaid Drug Utilization Data, supra note 23.

19
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 22 of 135 Pageid#: 60

77, ‘Defendant, TEVA PHARMACEUTICALS USA, INC. (“Teva USA”), is a
Delaware corporation with its principal place of business in North Whales, Pennsylvania and is a
wholly owned subsidiary of Teva Pharmaceutical Industries, Ltd., (“Teva Ltd.”), an Israeli
corporation.

78. Defendant, CEPHALON, INC. (“Cephalon”), is a Delaware corporation with its
principal place of business in Frazer, Pennsylvania. In 2011, Teva Ltd, acquired Cephalon, Inc.

79. Defendant, BARR LABORATORIES, INC. (“Barr”), is a Delaware corporation
with its principal place of business in Horsham, Pennsylvania. In 2008, Teva Ltd. acquired Barr.

80. Defendant, WATSON LABORATORIES, INC., is a Nevada corporation with its
principal place of business in Corona, California.

81. Defendant, ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware
corporation with its principal place of business in New J ersey and was formerly known as Watson
Pharma, Inc.

82. Defendant, ACTAVIS, LLC, is a Delaware limited liability company with its
principal place of business in Parsippany, New Jersey.

83. WATSON LABORATORIES, INC., ACTAVIS PHARMA, INC, and ACTAVIS,
LLC are wholly-owned indirect subsidiaries of Teva, Ltd., which acquired the companies in 2016.
Prior to 2016, each of these companies were subsidiaries of Defendant ALLERGAN, PLC.

84. Teva USA has a Virginia taxpayer number and may be served through its registered
agent: Corporate Creations Network Inc., 3411 Silverside Road Tatnall Building, Suite 104,
Wilmington, Delaware 19810. Cephalon. may be served at 41 Moores Road, Frazer, Pennsylvania
19355, Barr is registered to do business and Virginia may be served in Virginia through its
registered agent: Corporate Creations Network Inc., 6802 Paragon Place Suite 410, Richmond,

Virginia 23230.

20
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 23 of 135 Pageid#: 61

85. | WATSON LABORATORIES, INC. may be served through its registered agent:
Corporate Creations Network Inc., 8275 South Eastern Avenue, #200, Las Vegas, Nevada 89123.
ACTAVIS PHARMA, INC. is registered to do business in Virginia may be served in Virginia
through its registered agent: Corporate Creations Network Inc., 6802 Paragon Place #410,
Richmond, Virginia 23230. ACTA VIS, LLC may be served through its registered agent: Corporate
Creations Network Inc., 3411 Silverside Road Tatnall Building, Suite 104, Wilmington, Delaware
19810.

86. Teva USA, Cephalon, Barr, WATSON LABORATORIES, INC., ACTAVIS
PHARMA, INC. and ACTAVIS, LLC are referred to collectively as “Teva”

87. Teva manufactures, promotes, distributes and sells both brand name and generic
versions of opioids nationally, and in Salem, including the following: (a) Actig, and (b) Fentora.
Teva also was in the business of selling generic opioids, including morphine, hydromorphone,
tramadol, codeine, and meperidine from at least 2000, and a generic form of OxyContin from 2005
to 2009, among others.

88. Teva transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit. Barr hires employees to service the Virginia market,
and operates a manufacturing plant in Lynchburg, Virginia. On information and belief, Teva also
directs advertising and informational materials to impact Virginia physicians and potential users
oftheir products.

89. Teva also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $2.16 million on Teva’s opioids. This

represents approximately 1.62% of total Virginia Medicaid reimbursements for opioids during that

21
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 24 of 135 Pageid#: 62

time period.** These reimbursements represent only a fraction of the total earned by Teva from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Teva’s ill-gotten gains, and the harm caused in
Virginia through improper public and commercial opioid reimbursements.

90, At all times relevant hereto, PBM Defendant OptumRx listed both Actiq and
Fentora as approved reimbursable brand drugs on its formularies. In many years, the products had
preferred brand status.

91. Each PBM defendant included Teva’s generic opioids on their formularies as
approved drugs. OptumRx did not impose any quantity limits or pre-authorization requirements
for the generic Teva OxyContin.

92. Defendant, JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania
corporation with is principal piace of business in Titusville, New Jersey. JANSSEN
PHARMACEUTICALS, INC. was formerly known as ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC., which in tum was formerly known as JANSSEN
PHARMACEUTICA, INC.

93. Defendant, ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now
known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its
principal place of business in Titusville, New Jersey.

94, Defendant, JANSSEN PHARMACEUTICA, INC., now known as JANSSEN
PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey.

 

4 State Medicaid Drug Utilization Data, supra note 23.

22
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 25 0f135 Pageid#: 63

95. JANSSEN PHARMACEUTICALS, INC. may be served at 1125 Trenton-
Harbourton Road, Titusville, New Jersey 08560.

96. JANSSEN PHARMACEUTICALS, INC., ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC, and JANSSEN PHARMACEUTICA, INC, are collectively
referred to as “Janssen.”

97, Janssen is or has been engaged in the manufacture, promotion, distribution, and sale
of opioids nationally and in Salem, including the following: (a) Duragesic, (b) Nucynta and (c)
Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014,
Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

98. Janssen transacts business in Virginia, targeting the Virginia market for its
products, including the opioids at issue in this lawsuit. Janssen hires employees to service the
Virginia market. For example, Janssen recently advertised online that it was seeking a District
Manager to operate out of Arlington, Virginia.5 On information and belief, Janssen also direct
advertising and informational materials to impact Virginia physicians and potential users of their
products.

99. Janssen also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $5.1 million on Janssen’s opioids, This
represents approximately 3.85% of total Virginia Medicaid reimbursements for opioids during that
time period.** These reimbursements represent only a fraction of the total earned by Janssen from

its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that

 

35 https://www.google.com/search?safe=acti ve&ei=Keni Wth-D4mxzwKT p6CoCwé&q=janssentjobstvirginia&
ogrjanssenjobs+-virginia&es |=psy-ab.3.,,23190.24380,0.25837.7.7.0.0.0.0.51 1,948 .0)1j1j5-1.3.0....0...1,.1.64.psy-
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4% State Medicaid Drug Utilization Data, supra note 23.

23
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 26 of 135 Pageid#: 64

will provide substantially greater transparency into Janssen’s ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

100, PBM Defendant OptumR«x has routinely listed Janssen’s Duragesic as an approved
reimbursable brand drug on its formularies, often with preferred brand status and without pre-
authorization requirements. It has also reimbursed for the Nucynta products, again without pre-
authorization requirements and with preferred brand status.

101. PBM Defendant Express Scripts has listed Janssen’s Nucynta and Nucynta ER as
approved reimbursable brands on its formulary without quantity limits or preauthorization
requirements.

102, PBM Defendant Caremark also has listed Duragesic and Nucynta products as
approved brands on its formularies without prior authorization requirements.

103. Defendant, ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals,
Inc.), is a public limited company incorporated under the laws of the State of Ireland with its
headquarters and principal place of business in Dublin, Ireland.

104. Defendant, ALLERGAN FINANCE, LLC (f/k/a Actavis, Inc. f/k/a Watson
Pharmaceuticals, Inc.) is a Nevada limited liability company with its principle place of business in
Parsippany, New Jersey. ALLERGAN FINANCE, LLC is a wholly-owned indirect subsidiary of
ALLERGAN PLC. ALLERGAN FINANCE, LLC may be served through its registered agent: The
Corporation Trust Company of Nevada, 701 S. Carson Street, Suite 200, Carson City, Nevada
89701.

105. ALLERGAN PLC uses ALLERGAN FINANCE, LLC to market and sell its drugs
in the United States. Upon information and belief, ALLERGAN PLC exercises control over the

marketing and sales efforts and profits from the sale of Allergan products ultimately inure to its

24
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 27 of 135 Pageid#: 65

benefit. Prior to 2016, ALLERGAN PLC was also the parent company of Defendants WATSON
LABORATORIES, INC., ACTAVIS, LLC and ACTAVIS PHARMA, INC. described above.

106. ALLERGAN PLC and ALLERGAN FINANCE, LLC are collectively referred to
as “Allergan.”

107, Allergan manufactures, promotes, sells and distributes opioids, including the
branded drugs Kadian and Norco, and generic versions of Duragesic and Opana throughout the
United States, including Virginia, and in Salem. Allergan acquired the rights to Kadian from King
Pharmaceuticals, Inc. on December 30, 2008 and began marketing Kadian in 2009,

108. Allergan transacts business in Virginia, targeting the Virginia market for its
products, including the opioids at issue in this lawsuit. Allergan hires employees to service the
Virginia market. For example, Allergan recently advertised online that it was seeking a
Pharmaceutical Sales Representative to operate out of Manassas, Virginia. Allergan also direct
advertising and informational materials to impact Virginia physicians and potential users of their
products,

109, Allergan also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2016, Virginia Medicaid spent over $8.1 million on Allergan’s opioids, This
represents 6.41% of total Virginia Medicaid reimbursements for opioids during that time period.?”
These reimbursements represent only a fraction of the total earned by Allergan from its opioid
distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that will
provide substantially greater transparency into Allergan’s ill-gotten gains and the harm caused in

Virginia through improper public and commercial opioid reimbursements,

 

*7 State Medicaid Drug Utilization Data, supra note 23.

25
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 28 of 135 Pageid#: 66

110. Atall times relevant hereto, the PBM Defendants listed Allergan’s opioid products
as approved reimbursable drugs on their formularies, often without any quantity limits or pre-
authorization requirements; often in preferred tiers.

111. Defendant, INSYS THERAPEUTICS, INC, (“Insys”), is a Delaware corporation
with its headquarters and principal place of business in Chandler, Arizona, Insys may be served
through its registered agent: The Corporation Trust Company, Corporation Trust Center, 1209
Orange Street, Wilmington, Delaware 19801.

112. Insys manufactures, promotes, distributes and sells prescription opioids such as
Subsys. These opioids are manufactured in the United States and promoted, distributed, and sold
across the United States— including in Virginia and Salem.

113.  Insys transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit, which it has sold in Virginia. On information and
belief, Insys hires employees to service the Virginia market, and also directs advertising and
informational materials to impact Virginia physicians and potential users of their products.

114. Defendant, KVK-TECH, INC. (KVK-Tech”) is a Pennsylvania corporation with
its principle place of business in Newton, Pennsylvania, KVK-Tech may be served through its
registered agent: Frank Ripp, Jr., 110 Terry Drive, Newton, Pennsylvania 18940.

I15.  KWVK-Tech is currently licensed as an out-of-state manufacturer/distributor with the
Virginia Department of Health Professions. Upon information and belief, KVK-Tech
manufactures, promotes, distributes and/or sells opioids nationally, in Virginia, and in Salem,
including many controlled substances such as oxymorphone and oxycodone.

116. KVK-Tech also benefits from reimbursements by the Virginia Medicaid program,
Between 2006 and 2017, Virginia Medicaid spent over $3.7 million on KVK-Tech’s opioids. This

represents approximately 3.84% of total Virginia reimbursements for opioids during that time

26
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 29 of 135 Pageid#: 67

period,*® These reimbursements represent only a fraction of the total earned by KVK-Tech from
its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into KVK Tech’s ill-gotten gains and the harm
caused in Virginia through improper public and commercial opioid reimbursements.

117. Defendant, AMNEAL PHARMACEUTICALS LLC, is a Delaware limited hability
company with its principal place of business in Bridgewater, New Jersey. AMNEAL
PHARMACEUTICALS LLC was registered to do business in Virginia until 2017 and is currently
licensed as a non-resident wholesale distributor with the Virginia Department of Health
Professions. AMNEAL PHARMACEUTICALS LLC may be served through its registered agent:
The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801.

118. Defendant, IMPAX LABORATORIES, LLC., formerly known as Impax
Laboratories, Inc., is a Delaware limited liability company with its principle place of business in
Bridgewater, New Jersey. IMPAX LABORATORIES, LLC. may be served through its registered
agent: Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808.

119. Upon information and belief, in May of 2018 Impax Laboratories, Inc. merged with
and into AMNEAL PHARMACEUTICALS LLC to form Defendant, AMNEAL
PHARMACEUTICALS, INC., a Delaware corporation with its principal place of business in
Bridgewater, New Jersey, AMNEAL PHARMACEUTICALS, INC. may be served through its
registered agent: Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware

19808.

 

38 State Medicaid Drug Utilization Data, supra note 23.

27
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 300f135 Pageid#: 68

120, Defendant, AMNEAL PHARMACEUTICALS OF NEW YORK, LLC, is a
Delaware limited liability company with its principal place of business in Hauppauge, New York.
Upon information and belief, AMNEAL PHARMACEUTICALS OF NEW YORK, LLC is a
subsidiary of AMNEAL PHARMACEUTICALS, INC. AMNEAL PHARMACEUTICALS OF
NEW YORK, LLC was registered to do business in Virginia until 2017 and is currently licensed
as a non-resident wholesale distributor with the Virginia Department of Health Professions.
AMNEAL PHARMACEUTICALS OF NEW YORK, LLC may be served through its registered
agent: The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,
Wilmington, Delaware 19801.

121. AMNEAL PHARMACEUTICALS, INC. AMNEAL PHARMACEUTICALS
LLC, AMNEAL PHARMACEUTICALS OF NEW YORK, LLC, and IJMPAX
LABORATORIES, LLC are collectively referred to as ““Amneal.”

122. Upon information and belief, Amneal manufactures, promotes, distributes and/or
sells opioids nationally, in Virginia, and in Salem, including many controlled substances such as
oxycodone, oxymorphone, hydrocodone, tramadol, morphine and codeine.

123. Amneal also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $7.9 million on Amneal’s opioids. This
represents approximately 1.36% of total Virginia reimbursements for opioids during that time
period.*” These reimbursements represent only a fraction of the total earned by Amneal from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Amneal’s ill-gotten gains and the harm caused

in Virginia through improper public and commercial opioid reimbursements.

 

*9 State Medicaid Drug Utilization Data, supra note 23.

28
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 310f135 Pageid#: 69

124, Defendant, MYLAN PHARMACEUTICALS, INC. (“Mylan”), is a West Virginia
corporation with its principal place of business in Canonsburg, Pennsylvania. Mylan is and has
been registered to do business in Virginia since 2010 and may be served in Virginia through its
registered agent: Corporation Service Company, 100 Shockoe Slip, 2" Floor, Richmond, Virginia
23219,

125, Mylan is currently licensed as an out-of-state manufacturer/distributor with the
Virginia Department of Health Professions. Upon information and belief, Mylan manufactures,
promotes, distributes and/or sells opioids nationally, in Virginia, and in Salem, including many
controlied substances such as fentanyl, methadone, oxycodone, hydrocodone, morphine and
tramadol.

126. Mylan also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $4.5 million on Mylan’s opioids. This
represents approximately 3.4% of total Virginia reimbursements for opioids during that time
period.*” These reimbursements represent only a fraction of the total earned by Mylan from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Mylan’s ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

127. The manufacturer defendants listed above are all engaged in the manufacturing of
opioids. The manufacturer defendants listed above are collectively referred to herein as the
“Manufacturer Defendants.”

128. The failure of all Manufacturer Defendants to effectively monitor and report

suspicious orders of prescription opioids, their aggressive misinformation campaign aimed at

 

# State Medicaid Drug Utilization Data, supra note 23,

29
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 32 of 135 Pageid#: 70

increasing public consumption of highly addictive opioids nationally, in Virginia and in Salem,
their failure to forthrightly provide accurate information to the United States Food and Drug
Administration (“FDA”), their failure to adhere to FDA regulations regarding misbranding, their
failure to implement measures to prevent the filling of suspicious orders, and their perverse
utilization of so-called “patient advocacy” groups to evade FDA regulations concerning consumer
drug-marketing greatly contributed to a vast increase in opioid overuse and addiction.
Manufacturer Defendants’ conduct thus directly caused a public-health and law-enforcement crisis
across this country, including in Salem.
Cc. DISTRIBUTOR DEFENDANTS

129. Defendant McKESSON CORPORATION (“McKesson”) is a Delaware
corporation with its principal place of business in San Francisco, California.

130. McKesson has been registered to do business in Virginia since at least January 1,
2018 and does substantial business in Virginia. McKesson has a Virginia taxpayer number and
may be served in Virginia through its registered agent: Corporation Service Company, 100
Shockoe Slip, 2™ Floor, Richmond, Virginia 23219.

131. McKesson is the largest pharmaceutical distributor in North America. It distributes
pharmaceuticals to retail pharmacies and institutional providers in all 50 states, including Virginia.

132. Upon information and belief, McKesson is one of the largest distributors of opioid
pain medications in the country, including Virginia. In 2015, McKesson had a net income in excess
of $1.5 billion. McKesson also has a local warehouse that it operates out of Ruther Glen, Virginia,
which distributes pharmaceutical drugs including opioids in and around the Virginia.

133. In its 2017 Annual Report, McKesson states that it “partner{s] with pharmaceutical

manufacturers, providers, pharmacies, governments and other organizations in healthcare to help

30
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 33 0f 135 Pageid#: 71

provide the right medicines, medical products and healthcare services to the right patients at the
right time, safely and cost-effectively.”"!

134. According to the 2017 Annual Report, McKesson “pharmaceutical distribution
business operates and serves thousands of customer locations through a network of 27 distribution
centers, as well as a primary redistribution center, two strategic redistribution centers and two
repackaging facilities, serving all 50 states and Puerto Rico.’

135. McKesson hires employees to service'the Virginia market. For example, McKesson
recently advertised online that it was seeking a Delivery Driver to operate out of Chesapeake,
Virginia, a Senior Accountant to operate out of Richmond, Virginia, and a Client Service Rep to
operate out of Richmond, Virginia.

136. Defendant MCKESSON MEDICAL-SURGICAL INC. (“McKesson Medical-
Surgical”) is a Virginia corporation with its principal place of business in Richmond, Virginia.

137, McKesson Medical-Surgical has been registered to do business in Virginia since at
least January 1, 2018 and does substantial business in Virginia. McKesson Medical-Surgical may
be served in Virginia through its registered agent: Corporation Service Company, 100 Shockoe
Slip, 2"! Floor, Richmond, Virginia 23219.

138. McKesson Medical-Surgical engages in business in Virginia as a wholesale
distributor of pharmaceuticals, including opioids.

139. Defendant CARDINAL HEALTH, INC. (“Cardinal”) is an Ohio corporation with
its principal place of business in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail

pharmacies and institutional providers to customers in all 50 states, including Virginia,

 

‘| McKesson 2017 Annual Report found at hitps://investor.mekesson.com/sites/mckesson,investorhg.
businesswire.com/files/reporl/file/2017, McKesson Annual Report 0,pdf

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31
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 340f135 Pageid#: 72

140, Cardinal may be served in through its registered agent: CT Corporation System,
4400 Easton Commons Way Suite 125, Columbus, Ohio 43219.

141. Cardinal, through its many subsidiaries, including Cardinal Health Care Services,
Inc., possesses out-of-state pharmaceutical distribution licenses in Virginia, has been registered to
do business in Virginia since at least October 4, 2013 and may be served in Virginia through its
registered agent: CT Corporation System, 4701 Cox Road, Suite 285, Glen Allen, Virginia 23060,

142. Upon information and belief, Cardinal is one of the largest distributors of opioid
pain medications in the country, including in Virginia.

143. Defendant AMERISOURCEBERGEN DRUG CORPORATION (“Amerisource”)
is a Delaware corporation with its principal place of business in Chesterbrook, Pennsylvania.
Amerisource distributes pharmaceuticals to retail pharmacies and institutional providers to
customers in all 50 states, including Virginia.

144. Amerisource has been registered to do business in Virginia since at least October
4, 2013 and may be served in Virginia through its registered agent: CT Corporation System, 4701
Cox Road, Suite 285, Glen Allen, Virginia 23060. Amerisource also has a local warehouse that it
operates out of Glen Allen, Virginia, which distributes pharmaceutical drugs including opioids in
and around the Virginia.

145. According to its 2016 Annual Report, Amerisource is “one of the largest global
pharmaceutical sourcing and distribution services companies, helping both healthcare providers
and pharmaceutical and biotech manufacturers improve patient access to products and enhance

patient care.”

 

“3 Amerisource 2016 Annual Report found at http://www.amerisourcebergen,com/investor/phoenix.zhtml

?c=61181 &p=irol-irhome

32
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 350f135 Pageid#: 73

146. Amerisource hires employees to service the Virginia market. For example,
Amerisource recently advertised online that it was seeking a Warehouse Associate | for the Night
Shift to operate out of Glen Allen, Virginia, a Warehouse Associate II for the Day Shift to operate
out of Glen Allen, Virginia, and a Dispatcher/Operations to operate out of Herndon, Virginia.

147. Upon information and belief, Amerisource is one of the largest distributors of
opioid pain medications in the country, including Virginia.

148. Defendant HENRY SCHEIN, INC. is a Delaware corporation with its principal
place of business in Melville, New York. HENRY SCHEIN, INC. has been registered to do
business in Virginia since 1997, and at all relevant times, it conducted business as a licensed
prescription drug distributor in Virginia) HENRY SCHEIN, INC. may be served in Virginia
through its registered agent: Corporation Service Company, 100 Shockoe Slip, 2° Floor,
Richmond, Virginia 23219.

149. Defendant GENERAL INJECTABLES & VACCINES, INC. (“GIV”) is a Virginia
corporation with its principal place of business in Bastian, Virginia. In 1998, HENRY SCHEIN,
INC, acquired GIV for an estimated $65 million dollars.“ At all relevant times, GIV conducted
business as a licensed prescription drug distributor in Virginia. GIV may be served in Virginia
through its registered agent: Corporation Service Company, 100 Shockoe Slip, 2" Floor,
Richmond, Virginia 23219,

150. Defendant INSOURCE, INC. (“Insource”) is a Virginia corporation with its
principal place of business at the same location as GIV in Bastian, Virginia. HENRY SCHEIN,
INC, is the direct parent company of Insource, and, according to the Virginia State Corporation

Commission, Insource, Inc. is also an assumed name used by GIV, At all relevant times, Insource

 

“ HENRY SCHEIN, Henry Schein, Inc. Acquires Leading Independent U.S. Vaccine Supplier ~- 1998 Sales of $118
Million, Dec, 29, 1998, http://investor.henryschein.com/phoenix.zhtml?c=74322 &n=irol-newsArticle&ID=5 3636

 

33
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 36 of 135 Pageid#: 74

conducted business as a licensed prescription drug distributor in Virginia. Insource may be served
in Virginia through its registered agent: Corporation Service Company, 100 Shockoe Slip, 2%
Floor, Richmond, Virginia 23219.

151. HENRY SCHEIN, INC., GIV, AND INSOURCE are collectively referred to as
“Henry Schein.”

152. Henry Schein distributes, among other things, branded and generic pharmaceuticals
to customers that include dental practitioners, dental laboratories, animal health practices and
clinics, and office-based medical practitioners, ambulatory surgery centers, and other institutions.
At ali relevant times, Henry Schein was in the business of distributing, and redistributing,
pharmaceutical products, including opioids, to consumers within Virginia.

153. In November of 2014, Henry Schein and Cardinal Health entered into a strategic
partnership, which consolidated Cardinal Health's physician office-sales organization into Henry
Schein’s subsidiary Henry Schein Medical. Henry Schein took responsibility for serving physician
offices, and through its contract with Cardinal Health, gained access to over 25,000 physical
offices as customer locations.* As a result of this agreement, Henry Schein Medical added more
than $300 million in annual sales.

154. In 2015, Henry Schein reported that its sales reached a record $10.4 billion and that
it had grown at a compound annual rate of approximately sixteen percent (16%) since becoming a
public company in 1995, Overall, it is the world’s largest provider of health care products and
services to office-based dental, animal health, and medical practitioners.

155. Defendant CVS HEALTH CORPORATION (“CVS Health”), formerly known as

CVS Caremark Corporation, is a Delaware corporation with its principal place of business located

 

4 Raymond Davis, Henry Schein and Cardinal, THE J. oF HEALTHCARE CONTRACTING, Feb. 12, 2018,
http:/Avww.jheonline.com/henry-schein-and-cardinal html

   

34
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 37 of 135 Pageid#: 75

in Woonsocket, Rhode Island. CVS Health may be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange, Street, Wilmington,
Delaware 19801.

156. Defendant CVS PHARMACY, INC. (“CVS Pharmacy”) is a Rhode Island
corporation whose principal place of business is at the same location as CVS Health. On
information and belief, CVS Health is the direct parent company of CVS Pharmacy. CVS
Pharmacy has been registered to do business in Virginia since at least 1996 and may be served in
Virginia through its registered agent: CT Corporation System, 4701 Cox Road, Suite 285, Glen
Allen, Virginia 23060,

157. Defendant CVS TN DISTRIBUTION, L.L.C. (“CVS TN”) is Tennessee limited
liability company whose principal place of business is at the same location as CVS Health and
CVS Pharmacy. On information and belief, CVS Pharmacy is the sole member of CVS TN. CVS
TN may be served through its registered agent: CT Corporation System, 300 Montvue Road,
Knoxville, Tennessee 37919.

158. Upon information and belief, CVS Health, CVS Pharmacy and CVS TN distribute
pharmaceuticals to retail pharmacies and institutional providers to customers in all 50 states,
including Virginia. At all relevant times, CVS TN conducted business as a licensed prescription
drug distributor in Virginia.

159. Defendant WALGREENS BOOTS ALLIANCE, INC. (“Walgreens Boots”) is a
Delaware corporation with its principal place of business in Deerfield, Illinois, Walgreens Boots
may be served through its registered agent: Corporation Service Company, 251 Little Falls Drive,
Wilmington, Delaware 19808.

160. Defendant WALGREEN CO. is an Illinois corporation whose principal place of

business is at the same location as Walgreens Boots. On information and belief, Walgreens Boots

35
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 38 of 135 Pageid#: 76

is the parent company of WALGREEN CO. WALGREEN CO. has been registered to do business
in Virginia since 1995 and may be served in Virginia through its registered agent: Corporation
Service Company, 100 Shockoe Slip, 2"! Floor, Richmond, Virginia 23219, Walgreens Boots and
WALGREEN CO, are collectively referred to as “Walgreens.”

161. Upon information and belief, Walgreens distributes pharmaceuticals to retail
pharmacies and institutional providers to customers in all 50 states, including Virginia. Wal greens
is currently licensed as a non-tesident distributor with the Virginia Department of Health
Professions.

162. The distributor defendants listed above are all engaged in the wholesale distribution
of opioids. The distributor defendants listed above are collectively referred to herein as the
“Distributor Defendants.”

163. The Distributor Defendants purchased opioids from manufacturers, such as the
Manutacturer Defendants herein, and sold them to pharmacies throughout Virginia, including in
Salem. The Distributor Defendants played an integral role in opioids being distributed across
Virginia, including Salem.

164. The failure of all Distributor Defendants to effectively monitor and report
suspicious orders of prescription opioids and io implement measures to prevent the filing of
invalid and medically unnecessary prescriptions greatly contributed to the vast increase in opioid
overuse and addiction. Distributor Defendants’ conduct thus directly caused a public-health and
law-enforcement crisis across this country, including in Salem.

D. PHARMACY BENEFIT MANAGER DEFENDANTS

165. The Pharmacy Benefit Manager Defendants (“PBM Defendants”) are defined

below. At all relevant times the PBM Defendants acted as the gatekeepers of prescription drugs

including opioids, Pharmacy benefit managers (“PBMs”) establish formularies which govern

36
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 39 of 135 Pageid#: 77

which drugs are reimbursed and how. They determine morphine milligram equivalents (“MMEs”)}
quantity limits and pre-authorization requirements. They negotiate with drug manufacturers to
offer preferred drug formulary placement for drugs. They establish reimbursement rates for the
drugs dispensed. PBMs earn revenue from at least the following sources: fees from health plans
and employers, rebates and other incentives from drug manufacturers, including administrative
fees and volume bonuses, and fees from maintaining pharmacy networks.

166. Defendant, CVS HEALTH CORPORATION (“CVS Health”), formerly known as
CVS Caremark Corporation, is a Delaware corporation with its principal place of business located
in Woonsocket, Rhode Island. CVS Health may be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange, Street, Wilmington,
Delaware 19801,

167. Defendant, CAREMARK RX, L.L.C., is a Delaware limited liability company
whose principal place of business is at the same location as CVS Health. On information and belief,
CVS Health is the direct parent company of CAREMARK RX, L.L.C. According to CVS Health's
2016 Annual Report, Defendant CAREMARK. RX, L.L.C. is “the parent of [CVS Health]’s
pharmacy services subsidiaries, is the immediate or indirect parent of many retail pharmacies,
mail-order pharmacies, a pharmacy benefit management division, infusion services, services to
Medicaid and Medicare Part D beneficiaries, insurance, specialty mail and retail specialty
pharmacy subsidiaries, all of which operate in the United States and its territories.” CAREMARK
RX, L.L.C. may be served through its registered agent: The Corporation Trust Company,

Corporation Trust Center, 1209 Orange, Street, Wilmington, Delaware 19801.

 

“6 Health Policy Brief, On behalf of payers, pharmacy benefit managers negotiate rebates from drug makers in
exchange for preferred formulary placement, FEALTH AFFAIRS, Sep, 14, 2017, https://www.healthaffairs.ore/do/
19.1377/hpb20171409.000178/full/

37
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 40 of 135 Pageid#: 78

168. Defendant, CAREMARKPCS HEALTH, L.L.C., is a Delaware limited liability
company whose principal place of business is at the same location as CVS Health. On information
and belief, CVS Health is the direct or indirect parent company of CAREMARKPCS HEALTH,
L.L.C. CAREMARKPCS HEALTH, L.L.C. is registered to do business in Virginia and may be
served in Virginia through its registered agent: CT Corporation System, 4701 Cox Road, Suite
285, Glen Allen, Virginia 23060,

169. Defendant, CAREMARK, L.L.C., is a California limited liability company whose
principal place of business is at the same location as CVS Health. On information and belief,
CAREMARK RX, L.L.C, is the sole member of CAREMARK, L.L.C. CAREMARK, L.L.C. is
registered to do business in Virginia and may be served by its registered agent: CT Corporation
System, 4701 Cox Road, Suite 285, Glen Allen, Virginia 23060.

170, Defendants CAREMARK RX, L.L.C., CAREMARKPCS HEALTH, L.L.C., and
CAREMARK, L.L.C, are collectively referred to as “Caremark.”

171, CVS Health describes itself in a September 3, 2014 press release as a “pharmacy
innovation company helping people on their path to better health. Through our 7,700 retail
pharmacies, 900 walk-in medical clinics, a leading pharmacy benefits manager with nearly 65
million plan members, and expanding specialty pharmacy services, we enable people business and
communities to manage health in more affordable, effective ways. This unique integrated model
increases access to care, delivers better health outcomes and lowers overall health care costs.” In
2016, CVS Health reported an operating income of $10 billion.

172. In the above-referenced September 3, 2014 press release CVS Health announced
its change of name from CVS Caremark Corporation to CVS Health. CVS Health explained that
it was changing its name “to reflect its broader health care commitment and its expertise in driving

the innovations needed to shape the future of health.” CVS Health explained that the newly-named

38
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 410f135 Pageid#: 79

company included “its pharmacy benefit management business, which is known as
CVS/Caremark.” In that same press release, CVS Health touted, “[f]or our patients and customers,
health is everything and...we are advising on prescriptions [and] helping manage chronic and
specialty conditions.” [emphasis supplied]. In December 2017, CVS made a $69 billion bid to
purchase Aetna. If the companies merge, the clout of CVS will grow even more.
173. According to the Drug Channels Institute, CVS Health (Caremark) was the highest
ranking PBM in 2017 with over twenty-five percent (25%) of the industry market share.*7
174. Caremark says the following about its “Formulary Development and
Management”:
Development and management of drug formularies is an integral
component in the pharmacy benefit management (PBM) services CVS
Caremark provides to health plans and plan sponsors, Formularies have two
primary functions: 1) to help the PBM provide pharmacy care that is
clinically sound and affordable for plans and their plan members; and 2) to
help manage drug spend through the appropriate selection and use of drug
therapy.*®
175. At all times relevant hereto, CVS Health, through Caremark, derives substantial
revenue providing pharmacy benefits in Virginia through several different means including, but

not limited to, providing services and its formulary to the Piedmont Community Health Plan*’, the

Fairfax County Public Schools,” and the University of Virginia Health Plan.*!

 

"” Cigna-Express Scripts: Vertical integration and PBMs’ Medical-Pharmacy Future, DRUG CHANNELS INSTITUTE,
Mar. 9, 2018, bttps:/Awww.drugchannels.net/2018/03/ciena-express-scripts-vertical htm]

 

* CVS Caremark, Formulary Development and Management at CVS Caremark, Mar. 25, 2018,
bttps;/Avww.caremark,com/portal/asset/FormDev Memt.pdf, at 1

® Piedmont Community Health Plan, Prescription Drugs, https://www.pchp.net/index.php/group-coverage-
providers/provider-prescription-drugs. html

° Fairfax County Public Schools, Prescription Benefits, https://www.fops.edu/node/32873

5! University of Virginia Health Plan, Important Guidelines, 2010, http://www. hr.vireinia.edu/uploads/
documents/media/UVA, Tealth ImportantGuidelines2010.pdf

 

39
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 42 of 135 Pageid#: 80

176. At all times relevant hereto, CVS Health and Caremark offered pharmacy benefit
management services nationwide and maintained a national formulary or formularies that are used
nationwide, including in Salem. At all times relevant hereto, those formularies included opioids,
including those at issue in this case. At all times relevant hereto, those formularies allowed for the
dispensing and reimbursement of such opioids in Virginia, including in Salem.

177, Defendant, EXPRESS SCRIPTS HOLDING COMPANY (“ESHC”), is a Delaware
corporation with its principal place of business in St. Louis, Missouri. ESHC may be served
through its registered agent: Corporation Service Company, 251 Little Falls Drive, Wilmington,
Delaware 19808.

178. Defendant, EXPRESS SCRIPTS, INC. (“ESI”), is incorporated in the State of
Delaware with its principal place of business located in St. Louis, Missouri, is a pharmacy benefit
management company, and is a wholly-owned subsidiary of ESHC. ESI has been registered to do
business in Virginia since at least 1987 and has an active license with the Virginia Department of
Health Professions (the original of which was applied for in 1991). ESI may be served in Virginia
through its registered agent: The Corporation Service Company, 100 Shockoe Slip, 2nd Floor,
Richmond, Virginia 23219.

179, ESHC and ESI are collectively referred to as “Express Scripts”.

180. In 2012, ESI acquired its rival, Medco Health Solutions Inc., in a $29.1 billion deal,
As a result of the merger, ESHC was formed and became the largest PBM in the nation, filing a
combined 1.4 billion prescriptions for employers and insurers.°” In March of 2018, ESE made a

$67 billion bid to purchase Cigna. If the companies merge, the clout of ESI will grow even more.

 

* Peter Frost, Express Scripts closes $29.1-billion purchase of Medco, LOS ANGELES TIMES (Apr. 3, 2012),
http://articles fatimes.com/2012/apr/03/business/la-fi-medco-20120403

40
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 43 of 135 Pageid#: 81

181. According to the Drug Channels Institute, Express Scripts was the second highest
ranking PBM in 2017 with twenty-four (24%) of the industry market share.*?

182. Express Scripts “provides pharmacy benefits to 83 million members. Of these, more
than 27 million obtain their pharmacy benefit coverage through one of Express Scripts’ standard
formularies and more people use the [Express Scripts’] National Preferred Formulary than any
other formulary in the U.S.”>4

183. Express Scripts standard formularies are “governed by [its] National Pharmacy &
Therapeutics Committee (the ‘P&T Committee’), a panel of independent physicians and
pharmacists in active clinical practice, representing a variety of specialties and practice settings
and typically with major academic affiliations.”* Express Scripts touts that the “the P&T
Committee considers the drug’s safety and efficacy,” and the company “fully compl[ies] with the
P&T Committee’s clinical recommendations regarding drugs that must be included or excluded
from the formulary based on their assessment of safety and efficacy.”°® Express Scripts “re-
evaluate[s] [its] National Preferred Formulary on an annual basis. [It] looks at the formulary first
from a clinical perspective to ensure that it provides access to safe and effective medications in all
therapy classes,”*’

184. Express Scripts derives substantial revenue managing pharmacy benefits in

Virginia through several different means, including, but not limited to, providing services and its

 

* Cigna-Express Scripts: Vertical Integration and PBMs’ Medical-Pharmacy Future, supra note 47.
*! Express Scripts, The Value of Active Pharmacy Management: Express Scripts 2018 National Preferred Formulary,

> Express Scripts, Express Scripts 2017 Annual Report, bttps://expressscriptsholdingco,
files/76a%c03e-206b-4f6b-80de-fe80d 4ebc826, at 11.

56 Td

7 Express Scripts, Smart Formulary Management, Jan. 2, 2014, http://lab.express-scripts,com/lab/insights/drug-
options/smart-formulary-management, at 2 (emphasis added).

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Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 44 0f 135 Pageid#: 82

formulary to (i) the Express Scripts Medicare for the Commonwealth of Virginia Retiree Health
Benefits Program”, (ii) the Virginia Private Colleges Benefits Consortium, which covers as many
as 7,000 lives, and (iii) workers’ compensation insurance programs in Virginia such as the
Virginia Association of Counties Group Self-Insurance Risk Pool (“VACORP”).© Upon
information and belief, these are some of the many ways in which Express Scripts reimburses for
claims in Salem, including opioids.

185. Express Scripts publishes employment vacancies related to its Virginia PBM
business activities on its website.°!

186. Atall times relevant hereto, Express Scripts offered pharmacy benefit management
services, including mail-order pharmacy services, a nationwide retail pharmacy network, and
maintained a national formulary or formularies that are used nationwide, including in Salem. At
all times relevant hereto, those formularies included opioids, including those at issue in this case.
At all times relevant hereto, those formularies allowed for the dispensing and reimbursement of
such opioids in Virginia, including in Salem.

187. Defendant, UNITEDHEALTH GROUP INCORPORATED (“UnitedHealth”), a
Delaware corporation with its principal place of business located in Minnetonka, Minnesota, is a

diversified managed health care company with two business platforms. UnitedHealth serves

 

8 The Virginia Private Colleges Benefits Consortium, http://www.cicv.org/Benefits-Consortium.aspx

* State Retiree Health Benefits Program—Fact Sheet #8A, Prescription Drugs—Medicare—Eligible Participants,
hitps:/Awww.dhrm. virginia gov/docs/default-source/benefitsdocuments/ohb/factsheets/sheet-BaA894A6CA3857.pdt?
sfvrsn=0

& VACORP, Understanding the Virginia Workers’ Compensation Claims Process, 2016, http:/Avww.vacorp.ore/wp-
content/uploads/2016/02/Workers-Compensation-VACORP. pdf

*! Express Scripts employment listings in Virginia, e.g., (i) Infusion Nurse RN — Accredo, Richmond, Virginia
(https://www.indeed.com/viewjob?ik=ficcfl a9c43b2c03 &tk=1c8S5uleckafihav0&from=serp&vjs=3); (ii) Infusion
Nurse RN Per Diem - Accredo, Salem, Virginia  (https://www.indeed.com/viewiob?ik=7d1b16be

S9d5dod0&tk=1c85ulcckafthavOdcfrom=serp&vis=3}; and (iit) Infusion Nurse RN — Accredo, Ashburn, Virginia

(hittps://www.glassdoor.com/job-listing/in fusion-nurse-rn-accredo-express-scripts-JV_IC1130338 KO0.25 KE264
1 htm? 1=2627435077 &ctt= 1520618868067)
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 45o0f135 Pageid#: 83

approximately 115 million individuals throughout the United States. For 2016, UnitedHealth
reported an operating income of $12.9 billion.

188. On information and belief, UnitedHealth is the parent company of
UnitedHealtheare of the Mid-Atlantic, Inc., UnitedHealtheare of Wisconsin, Inc. and
UnitedHealthcare Plan of the River Valley, Inc. (collectively “UHC Subs”). All of the UHC Subs
are registered to do business in Virginia, are licensed with the Virginia State Corporation
Commission’s Bureau of Insurance and may be served in Virginia through their registered agent:
CT Corporation System, 4701 Cox Road, Suite 285, Glen Allen, Virginia 23060.

189. Defendant, OPTUM, INC., is a Delaware corporation with its principal place of
business located in Eden Prairie, Minnesota. OPTUM, INC. is a health services company
managing the subsidiaries that administer UnitedHealth’s pharmacy benefits, including
OPTUMRX, INC. On information and belief, OPTUM, INC. is a subsidiary of UnitedHealth.

190. Defendant, OPTUMRX, INC. (“OptumRx”), is a California corporation with its
principal place of business located in Irvine, California. OptumRx operates as a subsidiary of
OptumRx Holdings, LLC, which in turn operates as a subsidiary of OPTUM, INC. OptumRx
operates as the PBM for UnitedHealth.

191. UnitedHealth and OPTUM, INC. may be served through their registered agent: CT
Corporation System, Inc., 1010 Dale Street North, St. Paul, Minnesota 5517.

192, OptumRx has been registered to do business in Virginia since at least 2008 and may
be served in Virginia through its registered agent: CT Corporation System, 4701 Cox Road, Suite

285, Glen Allen, Virginia 23060.

43
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 46 of 135 Pageid#: 84

193. According to the Drug Channels Institute, OptumRx was the third highest ranking
PBM in 2017 with twenty-two percent (22%) of the industry market share.

194, In one case, OptumRx, which is owned by UnitedHealth, suggested that a member
taking Butrans consider switching to a “lower cost alternative,” such as OxyContin or extended-
release morphine, according to a letter provided by the member, Mr. Wiggin, the UnitedHealthcare
spokesman, said the company’s rules and preferred drug list “are designed to ensure members have
access to drugs they need for acute situations, such as post-surgical care or serious injury, or
ongoing cancer treatment and end of life care, as well as for long-term use after alternatives are
tried.”

195. “UnitedHealthcare places morphine on its lowest-cost drug coverage tier with no
prior permission required, while in many cases excluding Butrans. And it places Lyrica, a non-
opioid, brand-name drug that treats nerve pain, on its most expensive tier, requiring patients to try
other drugs first.”

196. At all times relevant hereto, OptumRx derived substantial revenue providing

pharmacy benefits in Virginia through several different means, including, but not limited to,

providing services and formulary management for (i) the Eastern Virginia Medical School, and

 

°Cigna-Express Scripts: Vertical Integration and PBMs’ Medical-Pharmacy Future, supra note 47.

* Katie Thomas and Charles Ornstein, Amid Opioid Crisis, Insurers Restrict Pricey, Less Addictive Painkillers, THE

NEW YORK TIMES, Sep. 17, 2017, httos://Avww.nytimes.com/2017/09/17/health/opioid-painkillers-insurance-

companies. btml?mwrsm=Email

84 Teh.
65 Eastern Virginia Medical School, Student Wellness Program, 2017,  bttp//www.evins.edu/

about_evms/administrative offices/human_resources/student, health insurance/; Eastern Virginia Medical School,
Student Injury and Sickness Insurance Plan, 2014-2015, — https:/Avww.uhesr.com/uhbcsrBrochures/

Public/ClientBrochures/2014-193-1 Brochure.pdf

44
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 47 of 135 Pageid#: 85

(ii) the Washington Metropolitan Area Transit Authority (WMATA) Employee Health and
Welfare Plan® and Prescription Drug Benefits.*”

197, At all times relevant hereto, OptumRx offered pharmacy benefit management
services nationwide and maintained a national formulary or formularies that are used nationwide,
including in Salem. At all times relevant hereto, those formularies included opioids, including
those at issue in this case. At all times relevant hereto, those formularies allowed for the dispensing
and reimbursement of such opioids in Virginia, including in Salem.

198. The PBM Defendants managed the reimbursement for the vast majority of opioids
at issue in this case. Without the PBM Defendants’ reimbursement for the opioids at issue herein,
the opioids likely would not have entered the marketplace and the entire scheme would have failed,
E. DOE DEFENDANTS

199. Doe DEFENDANTS 1 to 100 are sued herein under fictitious names because after
diligent and good faith efforts their names, identities, and capacities, whether individual, corporate,
associate, or otherwise, are presently unknown to Plaintiff. Plaintiff will make the names or
identities of said Defendants known to the Court after the information has been ascertained.
Plaintiff is informed and believes, and based thereupon alleges, that each of the Defendants
designated herein as a DOE DEFENDANT has taken part in and participated with, and/or aided
and abetted, some or all of the other Defendants in some or all of the matters referred to herein and

the Plaintiff is informed and believes, and on such information and belief alleges, that each of the

 

6° Washington Metropolitan Area Transit Authority (“WMATA”) Transit Employees’ Health and Welfare Plan, Plan
Benefit Overview, httpy//www.tehw.ore/plan-benefits/plan-benefit-overview.aspx

6? Washington Metropolitan Area Transit Authority (“WMATA”) Transit Employees’ Health and Welfare Plan,
Prescription Drug Benefits,  hittp://www.tehw.org/plan-benefits/health-and- welfare-benefits/prescription-drug-

benefits.aspx

45
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 48 of 135 Pageid#: 86

Defendants named as a DOE is responsible in some manner for the events and occurrences alleged
in this Complaint and is liable for the relief sought herein.

IV. FACTUAL ALLEGATIONS
A. BACKGROUND ON PRESCRIPTION OPIOIDS

200, The term opioid includes (a) all drugs derived in whole or in part from the
morphine-containing opium poppy pliant such as morphine, laudanum, codeine, thebaine,
hydrocodone, oxycodone, and oxymorphone, and (b) synthetic opioids like fentanyl or
methadone.™

201. Prior to the 1990’s, doctors prescribed opioid pain relievers sparingly, and only for
short term use, for cases of acute injury or illness, during surgery or end-of-life (“palliative”)
care. Doctors’ reluctance to use opioids for an extended period of time was due to the legitimate
fear of causing addiction.”

202, Beginning in the late 20th century, however, and continuing through today, the
pharmaceutical industry acted to dramatically expand the marketplace for opioids. As set forth
below, pharmaceutical actors facilitated this expansion in three ways. First, pharmaceutical
manufacturers engaged in a misinformation campaign which altered public perception of opioids,
and deceived doctors, federal regulators, and the general public about their addictive qualities.
Second, opioid manufacturers and wholesalers/distributors flouted their federally imposed
requirements to report suspicious opioid orders to the United States Drug Enforcement
Administration (“DEA”) and state agencies. These facilitated an explosion in the illegitimate

marketplace for prescription opioids, Third, PBMs ensured that opioids were widely available and

 

68 31 U.S.C. § 812 Schedule IT (2012).
® Meldrum ML, Progress in Pain Research and Management, Vol. 25 Seattle, WA: LASP Press; 2003.
1 Id.

46
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 49 of 135 Pageid#: 87

regularly prescribed and reimbursed, while failing in their obligation to monitor inappropriate drug
utilization.

203. As a result of Defendants’ wrongful conduct, the number of prescriptions for
opioids increased sharply, reaching nearly 250 million prescriptions in 2013, almost enough for
every person in the United States to have a bottle of pills. This represents an increase of three
hundred percent (300%) since 1999.

B. IMPACT ON VIRGINIA AND SALEM

204. While the Defendants have profited from the alarming rate of opioids used in the
United States, communities across the country, especially those in lower-income areas, have
suffered. According to the CDC, the nation is experiencing an opioid-induced “public health
epidemic.” The CDC reports that prescription opioid use contributed to 16,651 overdose deaths
nationally in 2010; 16,91 7 in 2011; and 16,007 in 2012. Based on the latest data, nearly two million
Americans met criteria for prescription opioid abuse and dependence in 2013.7! Aggregate costs
for prescription opioid overdose, abuse, and dependence were estimated at over $78.5 billion (in
2013 doilars),””

205. While Defendants were reaping billions of dollars in profits from their wrongful
conduct, Plaintiff has been required to allocate substantial public monies and resources to combat
the opioid crisis in Salem and deal with its fallout.

206, Plaintiff has incurred and continues to incur substantial costs because of
Defendants’ conduct as described herein, including, but not limited to, costs of increased services

with respect to law enforcement, first responders such as emergency medical services, detention

 

" Wolters Kluwer Health, Costs of US prescription opioid epidemic estimated at $78.5 billion, SCIENCE DAILY, Sept.
14, 2016, bitos://www, sciencedaily,com/releases/2016/09/160914105756.htm

Rm td.

 

47
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 50o0f135 Pageid#: 88

centers and jails, courts, prevention and treatment centers, community outreach programs,
equipment and supplies, victim services supports, drug abuse prevention programs, inmate
services including housing, health and support staff, intervention programs, foster care and child
placement services, together with general societal costs, and lost productivity costs.

207. According to the CDC, in Virginia there were 1,405 drug overdose deaths in 2016,
with opioids being the main driver, a 34.7 percent increase over drug overdose deaths in 2015.7

208. The CDC in 2012 reported that there were between 72 and 82.1 painkiller
prescriptions per 100 people in Virginia.”4

209. The CDC reports that Salem’s mortality rates due to drug poisoning rose drastically
in the seventeen-year period between 1999 and 2016." These drug-related deaths grew steadily
from a rate of 6-7.9 deaths per 100,000 population in 1999 to 18-19.9 deaths per 100,000
population in 2016.”° During the same period (1999-2016) the population increased slightly from
24,642 in 1999 to 25,549 in 2016, meaning that not only the rate of overdose deaths was increasing,
but that a higher percentage of a larger group of people were being killed by opioids in Salem.

210, Data reveals a dramatic increase in opioid abuse and deaths in recent years. The
Virginia Department of Health numbers estimates the 1,136 overdose deaths from prescription
painkillers, heroin, and heroin synthetics statewide in 2016 was 40 percent higher than the 811

deaths from the same cause in 2015.” In just the first nine months of 2016, the state recorded 822

 

® CDC Drug Overdose Data, https:/Awww.cde.gov/drugoverdose/data/statedeaths.htm|

™ German Lopez, The growing number of lawsuits against opioid companies, explained, VOX, Feb, 27, 2018,
https://www,vox.cony/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits

> Centers for Disease Control and Prevention Drug Poisoning Mortality Rates in the United States, 1999-2016,

https://www.cde.gov/nchs/data-visualization/drug-poisoning-mortality/

% Td.

” AG Mark Herring announces policy proposals on heroin and opioid abuse, DaiLy PRESS, September 18, 2017,
http .//www.dailypress.com/heaith/dp-nws-herring-heroin-20170918-story.htm!

       

48
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 51o0f135 Pageid#: 89

opioid overdose deaths compared to 811 in all of 2015.” There was a 77% increase in fatal opioid
overdoses in the five years from 2011-2016.” “[T]he [statewide] numbers are so big they almost
don’t seem real,” declared Attorney General Mark Herring in 2017, “[w]e have too many empty
bedrooms, too many empty chairs at kitchen tables.’

211. There are several factors that point to the severity of the opioid crisis in Virginia.
A recent Virginia Commonwealth University study found that “{a]t least two Virginians die from
prescription opioid and heroin overdoses every day.”®! The state estimates that its Medicaid
program spent $26 million on opioid use and misuse in 2013.®? The number of babies in Virginia
born with neonatal abstinence syndrome (NAS), resulting from opioids being used during
pregnancy, has continued to rise with the NAS birth rate doubling from 2.9 per 1,000 live births

in 2011 to 6.1 per 1,000 live births in 2015.8 In 2016, state health officials found that more than

770 Virginia newborns, out of nearly 96,000 live births, were diagnosed with NAS.** The number

 

*8 Katie Demeria, Va. board creates new opioid prescription guidelines, RICHMOND TIMES-DISPATCH, Feb. 20, 2017,
hitp:/Awww.richmond,.corm/life/health/va~board-creates-new-opioid-preseription-uidelines/article 34ceace4-2417-
§125-9445-680f6f7bede4 html

® Dr. Melissa Levine, State Health Commissioner Telebriefing on Opioid Addiction Public Health Emergency (Nov.
21, 2016) (transcript available at http://www.vdh.virginia.zov/commissioner/opioid-addiction-in-virginia/).

 

% Patricia Sullivan, Va. attorney general urges collaboration in battling opioid crisis, THR WASHINGTON POST, May
26, 2017, hitys://www.washingtonpost.com/local/virginia-news/va-attorney-general-urees-collaboration-in-battling-

8! Andrew Barnes and Katherine Neuhausen, The Opioid Crisis Among Virginia Medicaid Beneficiaries, VIRGINIA
COMMONWEALTH UNIVERSITY SCHOOL OF MEDICINE, hitps://hbp.veu.edu/media/hbp/policybriefs/pdfs/Senate
OpieidCrisisPolicyBrief Final. pdf

82 id.

% Virginia Neonatal Perinatal Collaborative Receives State Support For Pregnant Women With Substance Use
Disorders, Infants With Neonatal Abstinence Syndrome, June 28, 2017, hitp//www.alexandrianews.org/
2017/06/new-virginia-neonatal-permatal-collaborative-committed-to-improving-birth-outcomes-receives-state-supp

   

       

49
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 52 of 135 Pageid#: 90

of infants diagnosed with NAS quadrupled from 2012-2016. In Salem, the problem is even more
severe, with the NAS rate far exceeding the statewide rate every year since at least 201 1.°°

212. Like other Virginia localities, Salem has also had to allocate resources to preventing
and addressing opioid abuse by children and teenagers. A study of child overdose deaths in
Virginia between 2009 and 2013 found that “[nJearly two-thirds of child overdose victims were
teenagers between the ages of 13 and 17.8’ Prescription medications, specifically methadone and
oxycodone, “caused or contributed to more child deaths than any other substance (68%).”

213. With the increase in prescription opioid abuse, Virginia localities such as Salem
have seen a rise in illegal drug use, including the use of heroin and illegally obtained fentanyl, as
well as an increase in drug-related arrests.

214. Asa result of the increase in opioid-related criminal activity, Salem’s correctional
and incarceration costs have been exceedingly high over the last five years. The opioid epidemic
has not only impacted Salem’s law enforcement and correctional costs. It has also had a startling
impact on other costs. For example, the influx of opioids into Salem has led to a rise in the need
for foster care and other child placement services in the City, as well as a rise in the need for
emergency response services in the City.

215. Retail drug summary reports publicly available through the DEA’s Automation of
Reports and Consolidated Orders System (“ARCOS”) confirm that Salem has experienced the

same startling trend of soaring opioid use as is seen nationwide. The ARCOS Data table below

 

85 I.

86 VIRGINIA) «DEPARTMENT OF HEALTH, ‘VIRGINIA OPIOID ADDICTION INDICATORS (2016),
https:/fpublic tableau com/views/VirginiaOpioid AddictionIndicators/V AOpioid Addiction ndicators?:embed—y&-:dis

play. count=vesé&:show VizHome=no
8&7 id.

50
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 53 0f135 Pageid#: 91

reflects transactional data for selected opioid drugs submitted by the drug manufacturers and
distributors doing business in Virginia. The volume of selected opioid drugs distributed in Salem
between 2001 and 2016 reflects a startling increase of almost 150% in annual opioid consumption

during that period.®*

 

City of Salem Annual Opioid Use as Derived from
Arcos Data
AVOID mens me a ce ene et ene cenit et a wes var

180,000
160,000
140,000
120,000

100,006

 

 

 

80,000

Reported Opioid Volume (grams)

60,000 --~— come oe . fener on ” sn
2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016

Year

 

 

 

 

C, PARTICULARS REGARDING EACH DEFENDANT GROUP’S ROLE IN THE
OPIOID EPIDEMIC

 

88 The ARCOS transactional data reflected in this chart includes the following drugs categorized as opioids: codeine,
buprenorphine, dihydrocodeine, oxycodone, hydromorphone, hydrocodone, levorphanol, meperidine (pethidine),
methadone, morphine, opium (powdered), oxymorphone, alfentanil, remifentanil, sufentanil base, tapentadol, and
fentanyl base. The ARCOS transaction data reflected in this chart includes the following regions of Virginia: City of
Salem, Franklin County, Bedford County, Floyd County, Montgomery County, Giles County, Botetourt County, Craig
County, Henry County, City of Martinsville, Patrick County, Pittsylvania County, Pulaski County, Radford County,
and Roanoke County.

SI
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 540f135 Pageid#: 92

i, THE MANUFACTURER DEFENDANTS’ CAMPAIGN OF DECEPTION

a. THE MANUFACTURER DEFENDANTS’ CAMPAIGN TO
NORMALIZE WIDESPREAD OPIOID USE

216. Unsatisfied with the market for opioid use in the context of acute and palliative
care, the Manufacturer Defendants introduced new opioid drugs during the 1980s and 1990s and
began promoting their use for chronic pain therapy in an effort to increase the number of people
taking opioids.

217. Those new drugs included, but were not limited to: Purdue’s MS Contin (introduced
1987) and OxyContin (1995); Janssen’s Duragesic (1990), Nucynta (2008), and Nucynta ER
(2011); Cephalon’s Actiq (1998) and Fentora (2006); Endo’s Opana and Opana ER (2006); and
Insys’ Subsys (2012).

218. Recogni ae the enormous financial possibilities associated with expanding the

Yay
Yap
opioid market, the Mw age Fagg oetendants rolled out a massive and concerted campaign to

b oe apy nee
misrepresent the sip og ty oe, “0, “heir product, and to push opioids as safe, effective drugs
X “Gy
ote P ? io
for the treatment of pi. % with conditions such as everyday back pain, tooth aches,

sprains, headaches and the like.

219. In connection with this scheme, each Manufacturer Defendant spent, and continues
to spend, millions of dollars on promotional activities and materials that falsely deny or minimize
the risks of opioids while overstating the benefit of using them for chronic non-cancer related pain.
As just one example, on information and belief, the Manufacturer Defendants spent more than $14
million on medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

220. Further, each Defendant promoted the use of opioids for pain through sales
representatives who visited individual doctors and medical staff in their offices and through the

implementation of small group speaker programs, Defendants devoted massive resources to direct

52
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 55o0f135 Pageid#: 93

such sales contacts with doctors, In 2014 alone, Defendants spent $168 million on detailing
branded opioids to doctors, including $108 million by Purdue, $34 million by Janssen, $13 million
by Cephalon, $10 million by Endo, and $2 million by Actavis. These amount to twice as much as
Defendants spent on detailing in 2000.

221. The deceptive marketing schemes included, among others, (a) the hiring of certain
physicians, “hired guns,” to pollute the marketplace with false information regarding the efficacy
and risks of opioids for chronic pain treatment; (b) false or misleading materials, speaker programs,
webinars, and brochures by purportedly neutral third parties that were really designed and
distributed by the Manufacturer Defendants; (c) false or misleading direct, branded advertisements
and marketing materials; and (d) the misuse of treatment guidelines.

222, The Manufacturer Defendants’ misinformation campaign worked as intended.
Across the country, demand for prescription opioids exploded, including in Salem. Doctors and
medical professionals, swayed by the Manufacturer Defendants’ sophisticated propaganda
machine, began prescribing prescription opioids for ailments ranging from headaches to neck pain
to fibromyalgia. That unleashed a wave of addiction — further increasing the demand for opioids.
The Manufacturer Defendants’ profits soared.

b. THE MANUFACTURER DEFENDANTS’ HIRED GUNS

(1) DR. PORTENOY AND WEBSTER

223. The Manufacturer Defendants’ campaign of deception to downplay the addictive
nature of opioids was rooted in two pieces of purportedly “scientific” evidence. The first piece of
evidence was a five-sentence letter to the editor published in 1980 in the New England Journal of
Medicine. The letter was drafted by Hershel Jick, a doctor at Boston University Medical Center,

with the help of a graduate student, Jane Porter. It noted, anecdotally, that a review of “current

33
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 56 of 135 Pageid#: 94

files” did not indicate high levels of addiction among hospitalized medical patients who received
narcotic preparation treatment. In full, the letter reads:
Recently, we examined our current files to determine the incidence of
narcotic addiction in 39,946 hospitalized medical patients who were
monitored consecutively. Although there were 11,882 patients who
received at least one narcotic preparation, there were only four cases of
reasonably well-documented addiction in patients who had no history of
addiction. The addiction was considered major in only one instance. The
drugs implicated were meperidine in two patients, Percodan in one, and
hydromorphone in one. We conclude that despite widespread use of
narcotic drugs in hospitals, the development of addiction is rare in medical
patients with no history of addiction.®
224, The second major piece of “evidence” used by Manufacturer Defendants was a
1986 study by Dr. Russell Portenoy in the medical journal Pain. The study, which had a patient
cohort of merely 38 patients, claimed that opioids could be used for long periods of time to treat
non-cancer related pain without any risk of addiction. The rationale behind the study was that
patients in pain would not become addicted to opioids because their pain drowned out the euphoria
associated with opioids. As such, the study concluded that opioids should be freely administered
to patients with fibromyalgia, headaches, finicky backs, and a host of other issues. According to
Portenoy and his co-author, Dr. Kathleen Foley, “opioid maintenance therapy can be a safe,
salutary and more humane alternative ... in those patients with intractable non-malignant pain and

no history of drug abuse.”*? Portenoy’s study also cited Jick’s one-paragraph letter to the New

England Journal of Medicine.

 

® Addiction rare in patients treated with narcotics, 302(2) NEW ENG. J. MED. 123 (Jan. 10, 1980).

” Portenoy RK, Foley KM, Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25 PAIN 171
(1986).

54
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 57 of135 Pageid#: 95

225. Dr. Portenoy’s study dovetailed perfectly with Manufacturer Defendants’
marketing strategy and, within a decade, Dr. Portenoy was financed by “at least a dozen
companies, most of which produced prescription opioids.”*!

226. Dr. Portenoy went on to serve as one of the pharmaceutical industry’s most vocal
advocates, regularly appearing at conferences and gatherings of medical professionals to promote
the use of opioids for chronic, long-term pain.

227. The Manufacturer Defendants disseminated fraudulent and misleading messages to
reverse the popular and medical understanding of opioids and their associated risks. They
disseminated these messages directly, through their sales representatives, in speaker groups led by
physicians the Manufacturer Defendants recruited for their support of their marketing messages,
through unbranded marketing and through industry-funded front groups.

228. These statements were not only unsupported by or contrary to the scientific
evidence, they were also contrary to pronouncements by and guidance from the FDA and CDC
based on that same evidence.

229, Hired guns like Dr. Portenoy promoted opioid analgesics and the myth that opioids
could be liberally prescribed for non-cancer related pain, without any risk of addiction.

230. Others like Dr. Portenoy would speak at academic conferences to primary care
physicians in an effort to destigmatize opioids and encouraged liberal prescription of narcotics for
the treatment of non-cancer related pain. They claimed that opioid analgesics have no “ceiling
dosage” in that prescribing physicians should increase dosages for patients as high as necessary to
treat non-cancer related pain. Invariably, the key piece of “data” cited in support of the proposition

that opioids could be safely used to treat pain was the New England Journal of Medicine article.

 

°t Meier B., Pain Killer: A Wonder Drug’s Trail of Addiction and Death, New York, NY: St. Martin’s Press; 2003.

55
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 58 0f135 Pageid#: 96

231. The Manufacturer Defendants also paid Dr. Lynn Webster, the co-founder and
Chief Medical Director of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt
Lake City, Utah, to promote opioids. Dr. Webster was President of the American Academy of Pain
Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same journal that
published Endo special advertising supplements touting Opana ER. Dr, Webster was the author of
numerous continuing medical education programs (““CMEs”) sponsored by Cephalon, Endo and
Purdue. At the same time, Dr. Webster was receiving significant funding from the Manufacturer
Defendants (including nearly $2 million from Cephalon),

232. In the years that have followed, both the New England Journal of Medicine letter
and Dr. Portenoy’s 1986 study have been expressly disavowed. Neither article actually
demonstrates that opioids can be safely prescribed for long-term, non-cancer related pain.

233. In a taped interview in 2011, Dr. Portenoy admitted that the information the
Manufacturer Defendants were pushing was false. “I gave innumerable lectures in the late 198 Os
and ‘90s about addiction that weren’t true,” Dr. Portenoy told a fellow doctor in 2010. “It was the
wrong thing to do.”

I gave so many lectures to primary care audiences in which the Porter and
Jick article was just one piece of data that I would then cite. I would cite 6
to 7 maybe 10 different avenues of thought or evidence, none of which
represents real evidence, And yet what I was trying to do was to create a
narrative so that the primary care audience would look at this information
in total and feel more comfortable about opioids in a way they hadn’t before
... Because the primary goal was to de-stigmatize, we often left evidence
behind.”

It was clearly the wrong thing to do and to the extent that some of the

adverse outcomes now are as bad as they have become in terms of endemic
occurrences of addiction and unintentional overdose death, it’s quite scary

 

* Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, THE WALL STREET JOURNAL (Dec.
17, 2012).

56
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 59o0f135 Pageid#: 97

to think about how the growth in that prescribing driven by people like me
led, in part, to that occurring.”

234. As to the New England Journal of Medicine letter, Dr. Jick, in an interview with
Sam Quinones decades after the letter was published, stated: “[t]hat particular letter, for me, is
very near the bottom of a long list of studies that I’ve done. It’s useful as it stands because there’s
nothing else like it on hospitalized patients. But if you read it carefully, it does not speak to the
level of addiction in outpatients who take these drugs for chronic pain.”

235. The New England Journal of Medicine itself has since disavowed the letter, stating
“[the letter] was heavily and uncritically cited as evidence that addiction was rare with long-term
opioid therapy.”” “We believe,” the journal provided, “that this citation pattern contributed to the
North American opioid crisis by helping to shape a narrative that allayed prescribers’ concerns
about the risk of addiction associated with long-term opioid therapy.”®°

(2) DEFENDANT-FUNDED ORGANIZATIONS

236, Manufacturer Defendants also funded multiple organizations to advocate for the
use of opioids to treat chronic pain. The names of the organizations suggest neutrality, but they
were anything but. They included the American Pain Foundation (“APF”); the American Academy
of Pain Management (which received funding from Manufacturer Defendants Endo, Janssens, and
Purdue); the American Pain Society (“APS”), the American Geriatrics Society (“AGS”), and the
Pain Care Forum (“PCF”),

(A) THE AMERICAN PAIN FOUNDATION

 

“Live interview with Dr. Russell Portenoy. Physicians Responsible for Opioid Prescribing.
hitps://www.youtube.com/watch?y=DgyuBWN9D4w, Accessed December 3, 2017 (emphases added).

4 Harrison Jacobs, This one-paragraph letter may have launched the opioid epidemic, BUSINESS INSIDER, Mar, 26,
2016, http://www. businessinsider.com/porter-and-jick-letter-laynched-(he-opioid-epidemic-2016-5

95 376 New Eng. J. Med. 2194, 2194—95 (2017).
96 Td.

57
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 60 of 135 Pageid#: 98

237, The most prominent nonparty advocate for opioids, funded by Defendants, was the
American Pain Foundation (“APF”). APF received more than $10 million in funding from opioid
manufacturers from 2007 until it closed its doors in May 2012. Endo alone provided more than
half that funding; Purdue was next, at $1.7 million.

238. APF issued education guides for patients, reporters, and policymakers that touted
the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.
APF also launched a campaign to promote opioids for returning veterans, which has contributed
to high rates of addiction and other adverse outcomes — including death— among returning soldiers.
APF also engaged in a significant multimedia campaign — through radio, television, and the
internet — to educate patients about their “right” to pain treatment, namely opioids. All of the
programs and materials were available nationally and were intended to reach Virginia consumers,
physicians, patients, and third-party payers.

239, Dr. Perry Fine (an opioid advocate from the University of Utah who received
funding from Janssen, Cephalon, Endo, and Purdue), Dr. Portenoy, and Dr. Scott Fishman (an
advocate the University of California who authored Responsible Opioid Prescribing, a publication
sponsored by Cephalon and Purdue), all served on APF’s board and reviewed its publications.
Another board member, Lisa Weiss, was an employee of a public relations firm that worked for
both Purdue and APF.

240. In 2009 and 2010, more than eighty percent (80%) of APF’s operating budget came
from pharmaceutical industry sources. Including industry grants for specific projects, APF
received about $2.3 million from industry sources out of total income of about $2.85 million in
2009; its budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of
a total income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants

from Defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit.

58
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 61 0f135 Pageid#: 99

241. APF held itself out as an independent patient advocacy organization. It often
engaged in grassroots lobbying against various legislative initiatives that might limit opioid
prescribing, and thus the profitability of its sponsors. It was often called upon to provide “patient
representatives” for Defendants’ promotional activities, including for Purdue’s “Partners Against
Pain” and Janssen’s “Let’s Talk Pain”. But in reality, APF functioned as an advocate for the
interests of the Manufacturer Defendants, not patients. Indeed, as early as 2011, Purdue told APF
that the basis of a grant was Purdue’s desire to “strategically align its investments in nonprofit
organizations that share [its] business interests.”

242. APF caught the attention of the United States Senate Finance Committee in May
2012 as the Committee sought to determine the links, financial and otherwise, between the
organization and the manufacturers of opioid painkillers. The investigation raised red flags as to
APF’s credibility as an objective and neutral third party; the Manufacturer Defendants stopped
funding it. Within days of being targeted by the Senate investigation, APF’s board voted to
dissolve the organization “due to irreparable economic circumstances.” APF “cease[d] to exist,
effective immediately.”®”

(B) THE AMERICAN ACADEMY OF PAIN MEDICINE

243. The American Academy of Pain Medicine (“AAPM”), with the assistance,
prompting, involvement, and funding of the Manufacturer Defendants, issued treatment guidelines
and sponsored and hosted CME programs for doctors essential to the Manufacturer Defendants’

deceptive marketing of chronic opioid therapy.

 

* Charles Ornstein and Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, WASH, POST,
May 8, 2012, hitps:/Avww.washinetonpost.coin/national/health-science/senate-panel -investigates-drug-companies-
ties-to-pain-proups/2012/05/08/eTO A2X4qBU_ story.html

59
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 62 of 135 Pageid#: 100

244. AAPM has received over $2.2 million in funding since 2009 from opioid
manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per
year (on top of other funding) to participate in activities and conferences. Defendants Endo,
Purdue, Cephalon, and Actavis were members of the council.

245, AAPM was viewed internally by Endo as “industry friendly,” with Endo advisors
and speakers among its active members. Endo attended AAPM conferences, funded its corporate
events, and distributed its publications. The conferences sponsored by AAPM promoted opioids —
37 out of roughly 40 sessions at one conference alone were opioid-focused.

246, AAPM’s presidents have included the same opioid advocates mentioned above, i.e.
Drs. Fine, Portenoy, Webster and Fishman. Dr. Fishman, a past AAPM president, stated that he
would place the organization “at the forefront” of teaching that “the risks of addiction are ... small
and can be managed.”

247. AAPM’s staff understood that they and their industry funders were engaged in a
common task. The Manufacturer Defendants were able to influence AAPM through both their
significant and regular funding and the leadership of pro-opioid advocates within the organization.

(C) THE PAIN CARE FORUM

248. On information and belief, the Manufacturer Defendants also combined their
efforts through the Pain Care Forum (“PCF”), which began in 2004 as an APF project with the
stated goals of offering ‘a setting where multiple organizations can share information” and
“promote and support taking collaborative action regarding federal pain policy issues.” APF
President Will Rowe described the forum as “a deliberate effort to positively merge the capacities

of industry, professional associations, and patient organizations.”

 

*8 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief of
the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at bitp://www.medscape.ore/viewarticle/500829

60
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 63 of 135 Pageid#: 101

249. PCF is comprised of representatives from opioid manufacturers and distributors
(including Cephalon, Endo, Janssen, and Purdue); doctors and nurses in the field of pain care;
professional organizations (including AAPM, APS, and American Society of Pain Educators);
patient advocacy groups (including APF and American Chronic Pain Association (“ACPA”)); and
other like-minded organizations, almost all of which received substantial funding from the
Manufacturer Defendants.

250. PCF, for example, developed and disseminated “consensus recommendations” for
a Risk Evaluation and Mitigation Strategy (‘“REMS”) for long-acting opioids that the FDA
mandated in 2009 to communicate the risks of opioids to prescribers and patients. This was critical
because a REMS that went too far in narrowing the uses or benefits or highlighting the risks of
chronic opioid therapy would undermine the Manufacturer Defendants’ marketing efforts. On
information and belief, the recommendations claimed that opioids were “essential” to the
management of pain, and that the REMS “should acknowledge the importance of opioids in the
management of pain and should not introduce new barriers.” The Manufacturer Defendants
worked with PCF members to limit the reach and manage the message of the REMS, which
enabled them to maintain, not undermine, their deceptive marketing of opioids for chronic pain.

251. All of these purportedly neutral, industry-funded organizations took aggressive
stances to convince doctors and medical professionals that America was suffering from an
epidemic of untreated pain — and that opioids were the solution. Their efforts were successful
nationwide, including in Salem.

c, THE MANUFACTURER DEFENDANTS’ FALSE AND

MISLEADING DIRECT ADVERTISING AND MARKETING OF
OPIOIDS

252. The Manufacturer Defendants have intentionally made false and misleading

statements regarding opioids in their advertising and marketing materials disseminated

61
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 64 of 135 Pageid#: 102

nationwide, including in Salem. They have, among other things, (1) downplayed the serious risk
of addiction; (2) created and promoted the imaginary concept of “pseudoaddiction”, advocating
that when signs of actual addiction begin to appear, the patient should be treated with more opioids;
(3) exaggerated the effectiveness of screening tools to prevent addiction; (4) claimed that opioid
dependence and withdrawal are easily managed; (5) denied the risks of higher dosages; (6)
described their opioid products as “steady state” — falsely implying that these products are less
likely to produce the high and iows that fuel addiction — or as less likely to be abused or result in
addiction; (7) touted the effectiveness of screening or monitoring patients as a strategy for
managing opioid abuse and addiction; (8) stated that patients would not experience withdrawal if
they stopped using their opioid products; (9) stated that their opioid products are effective for
chronic pain without disclosing the lack of evidence for the effectiveness of long-term opioid use;
and (10) stated that abuse-deterrent formulations are tamper- or crush-resistant and harder to abuse
or misuse.

253. The Manufacturer Defendants have also falsely touted the benefits of long-term
opioid use, including the supposed ability of opioids to improve function and quality of life, even
though there was no scientifically reliable evidence to support the Manufacturer Defendants’
claims.

254. The Manufacturer Defendants engaged in deceptive direct-to-physician marketing,
promoting the use of opioids for chronic pain through controlled and trained sales representatives
who visited individual doctors and medical staff in their offices and small group speaker programs.

255. On information and belief, throughout the relevant time period these sales
representatives have spread (and may continue to spread) misinformation regarding the risks and

benefits of opioids to hundreds of thousands of doctors.

62
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 65 o0f135 Pageid#: 103

256. Actavis was notified by the FDA in 2010 that certain brochures were “false or
misleading because they omit and minimize the serious risks associated with the drug, broaden
and fail to present the limitations to the approved indication of the drug, and present
unsubstantiated superiority and effectiveness claims.” The FDA also found that “[t]hese violations
are a concem from a public health perspective because they suggest that the product is safer and
more effective than has been demonstrated,”*?

257, Through these means, and likely others still concealed, the Manufacturer
Defendants collaborated to spread deceptive messages about the risks and benefits of long-term
opioid use in patient education brochures and pamphlets, websites, ads and other marketing
materials

258. For example:

(a) Actavis’s predecessor caused a patient education brochure, Managing
Chronic Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
is possible, but falsely claimed that it is “less likely if you have never had an addiction
problem.” Based on Actavis’s acquisition of its predecessor’s marketing materials along
with the rights to Kadian, it appears that Actavis continued to use this brochure in 2009
and beyond.

(b) Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for
People Living with Pain (2007), which suggests that addiction is rare and limited to
extreme cases of unauthorized dose escalations, obtaining duplicative prescriptions, or
theft. This publication is available today. !°

(c) Endo sponsored a website, “PainKnowledge,” which, upon information and
belief, claimed in 2009 that “[p]eople who take opioids as prescribed usually do not become
addicted.” Upon information and belief, another Endo website, PainAction.com, stated
“Did you know? Most chronic pain patients do not become addicted to the opioid
medications that are prescribed for them.” Endo also distributed an “Informed Consent”
document on PainAction.com that misleadingly suggested that only people who “have

 

” Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Comme’ns, U.S. Food & Drug Admin., to Doug
Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), available at http://www.fdanews.com/ext/resources/

files/archives/a/ActavisElizabethLLC. pdf

100 Available at https://assets.documentcloud.ore/documents/277605/apf-treatmentoptions.pdf

63
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 66 of 135 Pageid#: 104

problems with substance abuse and addiction” are likely to become addicted to opioid
medications.

(d) Upon information and belief, Endo distributed a pamphlet with the Endo
logo entitled Living with Someone with Chronic Pain, which stated that “[m]ost health care
providers who treat people with pain agree that most people do not develop an addiction
problem.”

(e) Janssen reviewed and distributed a patient education guide entitled Finding
Relief: Pain Management for Older Adults (2009), which described as “myth” the claim
that opioids are addictive, and asserted as fact that “[m]any studies show that opioids are
rarely addictive when used properly for the management of chronic pain.”

(f) Janssen currently runs a website, Prescriberesponsibly.com (last updated
July 2, 2015), which claims that concerns about opioid addiction are “overestimated.”!°!

(g) Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain&
is Managemeni — which claims that less than 1% of children prescribed opioids will
become addicted and that pain is undertreated due to “misconceptions about opioid
addiction[].” This publication is still available online.!™

(h) Consistent with the Manufacturer Defendants’ published marketing
materials, upon information and belief, detailers for the Manufacturer Defendants in
Virginia have minimized or omitted and continue to minimize or omit any discussion with
doctors or their medical staff in Virginia about the risk of addiction; misrepresented the
potential for abuse of opioids with purportedly abuse-deterrent formulations; and routinely
did not correct the misrepresentations noted above.

(i) Endo, on information and belief, has distributed and made available on its
website opana.com a pamphlet promoting Opana ER with photographs depicting patients
with physically demanding jobs like construction worker and chef, misleadingly implying
that the drug would provide long-term pain-relief and functional improvement

(j) On information and belief, Purdue also ran a series of ads, called “Pain
vignettes,” for OxyContin in 2012 in medical journals. These ads featured chronic pain
patients and recommended OxyContin for each. One ad described a “54-year-old writer
with osteoarthritis of the hands” and implied that OxyContin would help the writer work
more effectively.

(k) The New York Attorney General found in its settlement with Purdue that
through March 2015, the Purdue website In the Face of Pain failed to disclose that doctors
who provided testimonials on the site were paid by Purdue,!'? and concluded that Purdue’s

 

'O) Available at, http://www.prescriberesponsibly.com/articles/opioid-pain-imanagement

'? Available at, http://s3.documentcloud.org/documents/277603/apf-policymakers- guide.pdf

103 See New York State Office of the Attorney General, A.G, Schneiderman Announces Settlement with Purdue Pharma
That Ensures Responsible and Transparent Marketing Of Prescription Opioid Drugs By The Manufacturer (August

64
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 67 of 135 Pageid#: 105

failure to disclose these financial connections potentially misled consumers regarding the
objectivity of the testimonials. !™

259. The Manufacturer Defendants falsely instructed doctors and patients that the signs
of addiction should not be seen as warnings but are actually signs of undertreated pain and should
be treated by prescribing more opioids. The Manufacturer Defendants called this phenomenon
“pseudoaddiction” and falsely claimed that pseudoaddiction is substantiated by scientific
evidence. Dr. Webster was a leading proponent of this notion, stating that the only way to
differentiate the two was to increase a patient’s dose of opioids, !%

| 260. Other examples of the Manufacturer Defendants’ advocacy for the fictional concept
of “pseudoaddiction” include, but are not limited to:

(a) Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007),
which taught that behaviors such as “requesting drugs by name”, “demanding or
manipulative behavior,” seeing more than one doctor to obtain opioids, and hoarding, are
all signs of pseudoaddiction, rather than true addiction. The 2012 edition of Responsible
Opioid Prescribing remains for sale online. '!

(b) On information and belief, Janssen sponsored, funded, and edited the Let's
Talk Pain website, which in 2009 stated: “pseudoaddiction . . . refers to patient behaviors
that may occur when pain is under-treated....Pseudoaddiction is different from true
addiction because such behaviors can be resolved with effective pain management.”

() Endo sponsored a National Initiative on Pain Control (“NIPC”) CME
program in 2009 entitled Chronic Opioid Therapy: Understanding Risk While Maximizing
Analgesia, which, upon information and belief, promoted pseudoaddiction by teaching that
a patient’s aberrant behavior was the result of untreated pain. Endo appears to have

 

20, 2015), —_ https://ag ny .gov/press-release/az-schneiderman-announces-settlement-purdue-pharma-ensures-resp
onsible-and-transparent (last accessed December 20, 2017)

' The New York Attorney General, in a 2016 settlement agreement with Endo, found that opioid “use disorders
appear to be highly prevalent in chronic pain patients treated with opioids, with up to 40% of chronic pain patients
treated in specialty and primary care outpatient centers meeting the clinical criteria for an opioid use disorder.” Endo
had claimed on its www.opana.com website that “[m]ost healthcare providers who treat patients with pain agree that
patients treated with prolonged opioid medicines usually do not become addicted,” but the New York Attorney General
found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make statements that .
. opioids generally are non-addictive” or “that most patients who take opioids do not become addicted” in New York,
Upon information and belief, Endo continues to make these false statements elsewhere.

5 Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
'°6 See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

65
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 68 of 135 Pageid#: 106

substantially controlled NIPC by funding NIPC projects; developing, specifying, and
reviewing content; and distributing NIPC materials.

(d} Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing
Abuse, which, upon information and belief, described pseudoaddiction as a concept that
“emerged in the literature” to describe the inaccurate interpretation of [drug- seeking
behaviors] in patients who have pain that has not been effectively treated.”

(e) Upon information and belief, Purdue sponsored a CME program titled “Path
of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role
play, a chronic pain patient with a history of drug abuse tells his doctor that he is taking
twice as many hydrocodone pills as directed. The narrator notes that because of
pseudoaddiction, the doctor should not assume the patient is addicted even if he persistently
asks for a specific drug, seems desperate, hoards medicine, or “overindulges in unapproved
escalating doses.” The doctor treats this patient by prescribing a high-dose, long acting
opioid.

261. However, Defendants’ own hired gun has now conceded that pseudoaddiction is
fictional. Dr. Webster has acknowledged that “[pseudoaddiction] obviously became too much of
an excuse to give patients more medication.” ©”:

262, The 2016 CDC Guidelines also reject the concept of pseudoaddiction. The
Guidelines explain that “[p]atients who do not experience clinically meaningful pain relief carly
in treatment .. . are unlikely to experience pain relief with longer-term use,” and that physicians
should “reassess[] pain and function within 1 month” in order to decide whether to “minimize risks
of long-term opioid use by discontinuing opioids” because the patient is “not receiving a clear
benefit.”!

263. The Manufacturer Defendants also falsely claimed that there were addiction risk

screening tools -- such as patient contracts, urine drug screens, and other similar strategies — that

allowed them to reliably identify and safely prescribe opioids to patients predisposed to addiction.

 

'8? John Fauber, Painkiller Boom Fueled by Networking, MILWAUKEE WISC. J, SENTINEL, Feb. 18, 2012

8 CDC Guidelines for Prescribing Opioids for Chronic Pain, available at https://www.cdc.gov/drugoverdose/
prescribing/guideline. html

66
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 69 of 135 Pageid#: 107

264. In addition, the Manufacturer Defendants widely spread misleading information
about the risks of addiction associated with increasing dosages of opioids over time, and
downplayed the risks created by the tolerance for opioids that patients would develop after
consuming the drugs over a period of time.

265. For example,

(a) On information and belief, Actavis’s predecessor created a patient brochure
for Kadian in 2007 that stated, “Over time, your body may become tolerant of your current
dose. You may require a dose adjustment to get the right amount of pain relief. This is not
addiction.”

(b) Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for
People Living with Pain (2007), which claims that some patients “need” a larger dose of
an opioid, regardless of the dose currently prescribed. The guide stated that opioids have
“no ceiling dose” and are therefore the most appropriate treatment for severe pain. This
guide is still available online.!”

(c} Endo sponsored a website, “PainKnowledge,” which, upon information and
belief, claimed in 2009 that opioid dosages may be increased until “you are on the right
dose of medication for your pain.”

(d) Endo distributed a pamphlet edited by an opioid advocate entitled
Understanding Your Pain: Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals
PM-0120). In Q&A format, it asked “If I take the opioid now, will it work later when I
really need it?” The response is, “The dose can be increased. . . .You won’t ‘run out’ of
pain relief.”'!°

(e) Janssen, on information and belief, sponsored a patient education guide
entitled Finding Relief? Pain Management for Older Adults (2009), which was distributed
by its sales force. This guide listed dosage limitations as “disadvantages” of other pain
medicines but omitted any discussion of risks of increased opioid dosages.

(f) On information and belief, Purdue’s In the Face of Pain website promoted
the notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
sufficient dosage of opioids, he or she should find another doctor who will.

(g) Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
lis Management, which taught that dosage escalations are “sometimes necessary,” even

 

19 Available at, https://assets. documentel oud.org/documents/277605/apt- treatmentoptions.pdf

''° Margo McCaffery & Chris Pasero, Endo Pharm, Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).

67
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 70 of 135 Pageid#: 108

unlimited ones, but did not disclose the risks from high opioid dosages. This publication is
still available online,!!!

(h) In 2007, Purdue sponsored a CME entitled Overview of Management
Options that was available for CME credit and available until at least 2012. It taught that
NSAIDs and other drugs, but not opioids, are unsafe at high dosages.

(i) Seeking to overturn the criminal conviction of a doctor for illegally
prescribing opioids, APF and others argued to the United States Fourth Circuit Court of
Appeals that “there is no ‘ceiling dose’” for opioids.”

333

266. These claims conflict with the scientific evidence, as confirmed by the FDA and
CDC. As the CDC explains in its 2016 Guidelines, “there is now an established body of scientific
evidence showing that overdose risk is increased at higher opioid dosages.”!3

267, The Manufacturer Defendants also falsely and misleadingly emphasized or
exaggerated the risks of competing products like NSAIDs, so that doctors and patients nationwide,
and in Salem, would look to opioids first for the treatment of chronic pain. The Manufacturer
Defendants deceptively describe the risks from NSAIDs while failing to disclose the risks from
opioids.!4

268. The Manufacturer Defendants, both individually and collectively, made, promoted,
and profited from their misrepresentations about the risks and benefits of opioids for chronic pain
even though they knew that their misrepresentations were false and misleading. The history of

opioids, as well as research and clinical experience over the last 20 years, established that opioids

were highly addictive and responsible for a long list of very serious adverse outcomes. The

 

‘IL Available at, http://s3.documenteloud.org/documents/277603/apt-policymakers- guide. pdf

1° Brief of the American Pain Foundation (APF), the National Pain Foundation, and the National Foundation for the
‘Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) at 9

113 2616 CDC Guidelines supra note 108.

''4 See, e.g., Case Chatlenges in Pain Management: Opioid Therapy for Chronic Pain (Endo) (describing massive
gastrointestinal bleeds from long-term use of NSAIDs and recommending opioids),

https://painmedicinenews.com/download/BtoB_Opana WML.pdf (last accessed December 19, 2017).

68
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 71 0f135 Pageid#: 109

Manufacturer Defendants and their PBM allies had access to scientific studies, detailed
prescription data, and reports of adverse events, including reports of addiction, hospitalization, and
deaths — all of which made clear the harms from long-term opioid use and that patients are suffering
from addiction, overdoses, and death in alarming numbers. More recently, the FDA and CDC have
issued pronouncements based on actual medical evidence that conclusively expose the known
falsity of the Manufacturer Defendants’ misrepresentations.

269, Notwithstanding their knowledge, in order to maximize profits, the Manufacturer
Defendants continued to advocate in the false and deceptive manners described herein with the
goal of increasing opioid use, purposefully ignoring the foreseeable consequences of their activity
in terms of addiction and public health throughout the United States, and in Salem.

270. A very recent study in the Journal of the American Medical Association has further
contirmed the falsity of defendants’ representations. This study followed patients with chronic
back, hip or knee pain who were treated with opioids and non-opioids over a 12-month period. The
study concluded that there was no significant difference in pain control, but that pain intensity was
significantly better for non-opioid users, while adverse medication-related side effects were
significantly more common for opioid users. The Study recommended against initiation of opioid
therapy for moderate to severe chronic osteoarthritis pain.!!>

d. MANUFACTURER DEFENDANTS’ MISUSE OF TREATMENT
GUIDELINES

271. In addition, treatment guidelines have been particularly important in securing
acceptance for chronic opioid therapy. They are relied upon by doctors, especially the general

practitioners and family doctors targeted by the Manufacturer Defendants, who are neither experts

 

''5 Brin E, Krebs, MD, MPH; Amy Gravely, MA; Sean Nugent, BA; et al, Effect of Opioid vs Nonopioid Medications
on Pain-Relaied Function in Patients With Chronic Back Pain or Hip or Knee Osteoarthritis Pain, JAMA, March 6,
2018

69
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 72 of 135 Pageid#: 110

nor trained in the treatment of chronic pain. Treatment guidelines not only directly inform doctors’
prescribing practices, but are cited throughout the scientific literature and referenced by third-party
payors in determining whether they should cover treatments for specific indications.
Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed treatment
guidelines with doctors during individual sales visits including visits throughout Virginia and
Salem.

(1) FEDERATION OF STATE MEDICAL BOARDS (FSMB)

272. The Federation of State Medical Boards (“FSMB”) is a trade organization
representing the various state medical boards in the United States. The state boards that comprise
the FSMB membership have the power to license doctors, investigate complaints, and discipline
physicians, The FSMB finances opioid- and pain-specific programs through grants from
Defendants.

273. Since 1998, the FSMB has been developing treatment guidelines for the use of
opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled
Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with
pharmaceutical companies” and taught not that opioids could be appropriate in limited cases after
other treatments had failed, but that opioids were “essential” for treatment of chronic pain,
including as a first prescription option.

274. A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid
Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted
online and were available to and intended to reach physicians nationwide, including in Salem.

275. The publication of Responsible Opioid Prescribing was backed largely by drug
manufacturers. In all, 163,131 copies of Responsible Opioid Prescribing were distributed by state

medical boards (and through the boards, to practicing doctors). The FSMB website describes the

70
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 73 0f 135 Pageid#: 111

book as the “leading continuing medication (CME) activity for prescribers of opioid
medications.”!!®

276, Defendants relied on 1998 Guidelines to convey the alarming message that “under-
treatment of pain” would result in official discipline, but no discipline would result if opioids were
prescribed as part of an ongeing patient relationship and prescription decisions were documented.
FSMB turned doctors’ fear of discipline on its head: doctors, who used to believe that they would
be disciplined if their patients became addicted to opioids, were taught instead that they would be
punished if they failed to prescribe opioids to their patients with chronic pain.

(2) AAPM/APS GUIDELINES

277. American Academy of Pain Medicine (“AAPM”) and the American Pain Society
(“APS”) are professional medical societies, each of which received substantial funding from
Defendants from 2009 to 2013, In 1997, AAPM issued a “consensus” statement, The Use of
Opioids for the Treatment of Chronic Pain, that endorsed opioids to treat chronic pain and claimed
that the there was little risk of addiction or overdose in pain patients. '!!? The Chair of the committee
that issued the statement, Dr. J. David Haddox, was at the time a paid speaker for Purdue. The sole
consultant to the committee was Dr. Portenoy. The consensus statement, which also formed the
foundation of the 1998 Guidelines, was published on the AAPM’s website and remained until
2011 and was taken down only after a doctor complained, though it lingers on the internet
elsewhere.

278. AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”) and

continued to recommend the use of opioids to treat chronic pain. Fourteen of the 21 panel members

 

116 Scott M. Fishman, Responsible Opioid Prescribing, WATERFORD LIFE SERVICES (2007)

"7 The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997), http://opi.areastematicas.com/
generalidaces/OPICIDES DOLORCRONICO. pdf (as viewed 3/31/2016).

val
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 74 0f 135 Pageid#: 112

who drafted the 2009 Guidelines, including Dr. Portenoy and Dr. Fine, received support from
Defendants Janssen, Cephalon, Endo, and Purdue.

279. The 2009 Guidelines promote opioids as “safe and effective” for treating chronic
pain, despite acknowledging limited evidence, and conclude that the risk of addiction is
manageable for patients regardless of past abuse histories. One pane! member, Dr. Joel Saper,
Clinical Professor of Neurology at Michigan State University and founder of the Michigan
Headache and Neurological Institute, resigned from the panel because of his concerns that the
2009 Guidelines were influenced by contributions that drug companies, including Defendants,
made to the sponsoring organizations and committee members. These AAPM/APS Guidelines
have been a particularly effective channel of deception and have influenced not only treating
physicians, but also the body of scientific evidence on opioids; the Guidelines have been cited 732
times in academic literature, were disseminated nationwide and in Salem during the relevant time
period, were reprinted in the Journal of Pain and are still available online.

280. The Manufacturer Defendants widely cited and promoted the 2009 Guidelines
without disclosing the lack of evidence to support their conclusions.

281, The extent of the Manufacturer Defendants’ influence on treatment guidelines is
demonstrated by the fact that independent guidelines -- the authors of which did not accept drug
company funding — reached very different conclusions.

282. The 2012 Guidelines for Responsible Opioid Prescribing in Chronic Non- Cancer
Pain, issued by the American Society of Interventional Pain Physicians (“ASIPP”), warned that
“t]he recent revelation that the pharmaceutical industry was involved in the development of opioid
guidelines as well as the bias observed in the development of many of these guidelines illustrate
that the model guidelines are not a model for curtailing controlled substance abuse and may, in

fact, be facilitating it.” ASIPP’s Guidelines further advise that “therapeutic opioid use, specifically

72
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 75 0f135 Pageid#: 113

in high doses over long periods of time in chronic non-cancer pain starting with acute pain, not
only lacks scientific evidence, but is in fact associated with serious health risks including multiple
fatalities, and is based on emotional and political propaganda under the guise of improving the
treatment of chronic pain.” ASIPP recommends long-acting opioids in high doses only “in specific
circumstances with severe intractable pain” and only when coupled with “continuous adherence
monitoring, in well-selected populations, in conjunction with or after failure of other modalities of
treatments with improvements in physical and functional status and minimal adverse effects.)

283. Similarly, the 2011 Guidelines for the Chronic Use of Opioids, issued by the
American College of Occupational and Environmental Medicine, recommend against the “routine
use of opioids in the management of patients with chronic pain,” finding “at least moderate
evidence that harms and costs exceed benefits based on limited evidence.”!!?

284, The Clinical Guidelines on Management of Opioid Therapy for Chronic Pain,
issued by the United States Department of Veterans Affairs (“VA”) and Department of Defense
(“DOD”) in 2010, notes that their review revealed a lack of solid evidence-based research on the

efficacy of long-term opioid therapy. !2°

ii. MANUFACTURER AND DISTRIBUTOR DEFENDANTS VIOLATED
THEFR REQUIREMENTS TO PREVENT DIVERSION AND REPORT
SUSPICIOUS ORDERS UNDER VIRGINIA AND FEDERAL LAW.

 

''8 Laxmaiah Manchikanti, et al., American Society of Interventional Pain Physicians (ASIPP) Guidelines for
Responsible Opioid Prescribing in Chronic Non-Cancer Pain: Part 1, Evidence Assessment, 15 PAIN PHYSICIAN
(Special Issue} 51-866; Part 2 —- Guidance, 15 Pain Physician (Special Issue) 867-8116 (2012).

19 American College of Occupational and Environmental Medicine's Guidelines for the Chronic Use of Opioids
(2011).

'0 Management of Opioid Therapy for Chronic Pain Working Group, VA/DoD Clinical Practice Guideline for
Management of Opioid Therapy for Chronic Pain, May 2010, http://www.healthquality.va.gow_guidelines/Pain/

col/COT 312 Full er.pdf

73
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 76 of 135 Pageid#: 114

285. In addition to their common law duties, Manufacturer and Distributor Defendants
are subject to statutory and regulatory requirements under Virginia law. Virginia imposes
numerous substantive requirements on parties involved in the distribution chain of opioids and
other controlled substances. These requirements include providing adequate inventory control and
security of opioids to prevent diversion, and reporting suspicious orders of opioids to the Virginia
Board of Pharmacy. Virginia law also explicitly requires parties involved in the distribution chain
of controlled substances such as opioids to comply with the requirements of the Controlled
Substances Act, 21 U.S.C. § 801 et seq. (the “CSA”), and its implementing regulations. Virginia,
in adopting the requirements of the CSA and its implementing regulations, indicated that it, like
Congress when it passed the CSA, had concerns about “the widespread diversion of [controlled
substances} out of legitimate channels into the illegal market.” H.R. Rep. No. 91-1444, 1970
US.C.C.AN. 4566, 4572.

286, The opioid epidemic was further fueled by Defendants’ failure to follow the
specific mandates in Virginia law and the CSA requiring them to help ensure that highly addictive
drugs are not diverted to illegal use. The brunt of the opioid epidemic could have been, and should
have been, prevented if Defendants had fulfilled their duties set by statute, regulation, and common
law. Defendants, who operate at every level of the opioid supply chain, had an obligation and duty
to act. They did not — and the country, including Salem, paid the price.

287, Recognizing that highly addictive drugs like opioids can be easily abused and
diverted to the black market, Virginia, in the Virginia Drug Control Act, and Congress, in the
CSA, sought to combat diversion of prescription narcotics by providing for a closed system of
drug distribution in which manufacturers, wholesalers/distributors, and retail and mail-order

pharmacies must register with the Virginia Board of Pharmacy and the DEA.

74
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 77 of 135 Pageid#: 115

288. Every registrant, in turn, is charged with being vigilant in deciding whether a
customer, be it a pharmacy, wholesaler, or end customer, can be trusted to deliver or use controlled
prescription narcotics only for lawful purposes. See, e.g. Va. Code Ann. § 54.1-3435; Va. Code
Ann. § 54.1-3303; 21 U.S.C. § 823(e). Specifically, every registrant is required to “maintain
effective control against diversion of particular controlled substances into other than legitimate
medical, scientific, and industrial channels.” 21 U.S.C. § 823(b)(1).

289. In particular, the CSA and its implementing regulations require all registrants to (1)
report suspicious orders of prescription opioids to the DEA, and (2) perform required due diligence
prior to filling any suspicious orders. See 21 U.S.C. § 823(b)(1); 21 C.F.R. § 1301.74(b).
Registrants must further report to the Virginia Board of Pharmacy any time they cease distribution
of a suspicious order pursuant to CSA requirements. Va. Code Ann, § 54.1-3435. |

290. In addition, the Code of Federal Regulations requires all registrants — including
defendant manufacturers and wholesalers/ distributors — to “design and operate a system to
disclose to the registrant suspicious orders of controlled substances.” 21. C.F.R. § 1301.74(b).
Virginia regulations require that registrants “provide and maintain appropriate inventory controls
in order to detect and document any theft, counterfeiting, or diversion of prescription drugs.” 18
VAC 110-50-90.

291. On information and belief, Defendants knowingly, recklessly, and/or negligently
supplied suspicious quantities of prescription opioids to obviously suspicious physicians and
pharmacies in and around Salem, without disclosing suspicious orders as required by regulations
and otherwise circumventing their statutory obligations under Virginia and Federal law.

292, Defendants’ refusal to report and investigate suspicious orders had far-reaching
effects, The DEA is required to annually set production quotas for regulated drugs. In the context

of opioids, however, the DEA has cited the difficulty of determining an appropriate production

75
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 78 of 135 Pageid#: 116

level to ensure that adequate quantities are available for legitimate medical use. That is because
there are no direct measures available to establish legitimate medical need. The DEA’s difficulty
in setting production quotas was compounded by the fact that the Manufacturer and Distributor
Defendants failed to report suspicious orders of opioids and failed to maintain effective controls
against diversion. The Defendants’ deliberate failures thus prevented the DEA from realizing the
full extent of opioid diversion for years.

293. The Defendants could have (and should have) reported and stopped the flow of
prescription opioids into the black market. But Defendants intentionally, recklessly, and/or
negligently failed to investigate, report, and halt suspicious orders. Accordingly, as a direct result
of the Defendants’ misconduct, substantial and dangerous quantities of prescription opioids were
illegally diverted to and overprescribed in Salem.

a. MANUFACTURER DEFENDANTS

294. The Manufacturer Defendants are required to design and operate a system to detect
suspicious orders, and to report such orders to law enforcement, (See 21 C.F.R. § 1301.74(b); 21
U.S.C. § 823). They have not done so.

295, Upon information and belief, the Manufacturer Defendants collected, tracked, and
monitored extensive data concerning suspicious physicians and pharmacies, obtained from the
Distributor Defendants who supplied the Manufacturer Defendants with distribution data in
exchange for rebates or other incentives so Manufacturer Defendants could better drive sales,

296. In return for these incentives, the distributor identified to the manufacturer the

product, volume and the pharmacy to which it sold the product.

76
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 79 of 135 Pageid#: 117

297. For example, IMS Health furnished Purdue and other Manufacturer Defendants
with detailed information about the prescribing habits of individual doctors and the ordering habits
of individual pharmacies.

298, The Manufacturer Defendants had access to and possession of the information
necessary to monitor, report, and prevent suspicious orders and to prevent diversion, but instead
they utilized the data to understand which regions and which doctors to target through their sales
force.

299, With the knowledge of improper diversion, the Manufacturer Defendants could
have but failed to report each instance of diversion to the DEA, as they were required to do, instead
rolling out marketing campaigns to churn its prescription opioid sales.

300. Indeed, upon information and belief, the Manufacturer Defendants withheld from
the DEA information about suspicious orders — and induced others to do the same — to obfuscate
the extent of the opioid epidemic, Upon information and belief, the Manufacturer Defendants knew
that if they or the other defendants disclosed suspicious orders, the DEA would become aware that
many opioids were being diverted to illegal channels, and would refuse to increase the production
quotas for opioids.

301. The Department of Justice has recently confirmed the suspicious order obligations
clearly imposed by law, fining Mallinckrodt $35 million for failure to report suspicious orders of
controlled substances, including opioids, and for violating recordkeeping requirements.'?! Among
the allegations resolved by the settlement, the government alleged “Mallinckrodt failed to design

and implement an effective system to detect and report suspicious orders for controlled substances

 

'] See U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to Report
Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations, Jul. 11, 2017,
hitps://www. justice. gov/opa/pr/mallinckrodt-agrees-pay-record-3 5-million-sett|ement-failure-report-suspicious-
orders

      

77
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 80 0f 135 Pageid#: 118

— orders that are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied
distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an
increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious
orders.”!”? Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not
meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion
Control, to registrants dated September 27, 2006 and December 27, 2007.”!23

302. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful
prescribing of its drugs, despite knowing about it for years. Through its extensive network of sales
representatives, Purdue had and continues to have knowledge of the prescribing practices of
thousands of doctors and could identify doctors who displayed red flags for diversion, such as
those whose waiting rooms were overcrowded, whose parking lots had numerous out-of-state
vehicles, and whose patients seemed young and healthy or homeless. Using this information,
Purdue has maintained a database since 2002 of doctors suspected of inappropriately prescribing
its drugs.'** Rather than report these doctors to state medical boards or law enforcement authorities
(as Purdue is legally obligated te do) or cease marketing to them, Purdue used the list to
demonstrate the high rate of diversion of OxyContin — the same OxyContin that Purdue had
promoted as less addictive — in order to persuade the FDA to bar the manufacture and sale of
generic copies of the drug because the drug was too likely to be abused. In an interview with the

Los Angeles Times,'*? Purdue’s senior compliance officer acknowledged that in five years of

 

122 7d. (internal quotation omitted).

"3 2017 Settlement Agreement between the United States of America and Mallinckrodt, ple, at p. 2-3,
hitps://www. justice. cov/usao-edmi/press-release/file/98602 1/download

124 See Scott Glover and Lisa Girion, OxyContin maker closely guards its list of suspect doctors, LOS ANGELES TIMES,
Aug. 11, 2013, http://articles, latimes.com/2013/aug/11/local/la-me-rx-purdue-201 30811

25 See Harriet Ryan et al,, More than 1 million OxyContin pills ended up in the hands of criminal and addicts. What
the drugmaker knew, LOS ANGELES TMES, Jul. 10, 2016, http:/AvwwJatimes.com/projects/la-me-ox yeontin-part2/

78
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 81 0f135 Pageid#: 119

investigating suspicious pharmacies, Purdue failed to take action — even where Purdue employees
personally witnessed the diversion of its drugs. The same was true of prescribers; despite its
knowledge of illegal prescribing, Purdue did not report a Los Angeles clinic that prescribed more
than 1.1 million OxyContin tablets and that Purdue’s district manager described internally as “an
organized drug ring” until years after law enforcement shut it down. In doing so, Purdue protected
its own profits at the expense of public health and safety,

303. In 2016, the New York Attorney General found that, between January 1, 2008 and
March 7, 2015, Purdue’s sales representatives, at various times, failed to timely report suspicious
prescribing and continued to detail those prescribers even after they were placed on a “no-call”
list.'26

304. As Dr. Mitchell Katz, director of the Los Angeles County Department of Health

Services, said in a Los Angeles Times article, “Any drug company that has information about
physicians potentially engaged in illegal prescribing or prescribing that is endangering people’s
lives has a responsibility to report it.”!?’ The New York Attorney General’s settlement with Purdue
specifically cited the company for failing to adequately address suspicious prescribing. Yet, on
information and belief, Purdue continues to profit from the prescriptions of such prolific
prescribers.

305. Like Purdue, Endo has been cited for its failure to set up an effective system for
identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the New
York Attorney General found that Endo failed to require sales representatives to report signs of

abuse, diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

 

126 See NY Purdue Settlement, at 6-7, available at https://ag.ny.eov/pdfs/Purdue- AOD-Fxecuted pdf

7 Glover and Girion, supra note 124,

79
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 82 of 135 Pageid#: 120

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to
prevent sales representatives from visiting prescribers whose suspicious conduct had caused them
to be placed on a no-call list,

306. The New York Attorney General also found that, in certain cases where Endo’s
sales representatives detailed prescribers who were convicted of illegal prescribing of opioids,
those representatives could have recognized potential signs of diversion and reported those
prescribers but failed to do so.

307, On information and belief, the other Manufacturer Defendants have engaged in
similar conduct in violation of their responsibilities to prevent diversion.

308. The Manufacturer Defendants’ actions and omissions in failing to effectively
prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the
unlawful diversion of opioids into Salem’s community.

b. DISTRIBUTOR DEFENDANTS

309, The same legal duties to prevent diversion, and to monitor, report, and prevent
suspicious orders of prescriptions opioids that were incumbent upon the Manufacturer Defendants
are also legally required of the Distributor Defendants under Virginia and federal law.

310. All opioid distributors are required to maintain effective controls against opioid
diversion. They are required to create and use a system to identify and report to law enforcement
downstream suspicious orders of controlled substances, such as orders of unusually large size,
orders that are disproportionate, orders that deviate from a normal pattern, and/or orders of unusual
frequency. To comply with these requirements, distributors must know their customers, must
conduct due diligence, must report suspicious orders, and must terminate orders if there are

indications of diversion.

80
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 83 0f 135 Pageid#: 121

311. Under Virginia law and the CSA, anyone authorized to handle controlled
substances must track their shipments. The DEA’s ARCOS is an automated drug reporting system
that records and monitors the flow of Schedule II controlled substances from the point of
manufacture through distribution to the point of sale. ARCOS accumulates data on distributors’ -
controlled substances and transactions, which are then used to identify diversion. Each person or
entity that is registered to distribute controlled substances such as opioids must report each
acquisition and distribution transaction to the DEA. See 21 U.S.C. § 827; 21 CLF.R. § 1304.33.
Each registrant must also maintain a complete, accurate and current record of each substance
manufactured, imported, received, sold, delivered, exported, or otherwise disposed of.

312. Each registrant must also comply with the security requirements io prevent
diversion set forth in 18 VAC 110-50-90 and 21 C.F.R. § 1301.71.

313. The DEA has provided guidance to distributors on how to combat opioid diversion.
On information and belief, since 2006 the DEA has conducted one-on-one briefings with
distributors regarding downstream customer sales, due diligence, and regulatory responsibilities.
On information and belief, the DEA also provides distributors with data on controlled substance
distribution patterns and trends, including data on the volume and frequency of orders and the
percentage of controlled versus non-controlled purchases. On information and belief, the DEA has
also hosted conferences for opioid distributors and has participated in numerous meetings and
events with trade associations.

314. On September 27, 2006 and December 27, 2007, the DEA Office of Diversion
Control sent letters to all registered distributors providing guidance on suspicious order monitoring
and the responsibilities and obligations of registrants to prevent diversion.

315. As part of the legal obligation to maintain effective controls against diversion, the

distributor is required to exercise due care in confirming the legitimacy of each and every order

81
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 84 0f 135 Pageid#: 122

prior to filling. Circumstances that could be indicative of diversion include ordering excessive
quantities of a limited variety of controlled substances while ordering few if any other drugs;
ordering a disproportionate amount of controlled substances versus non-controlled prescription
drugs; ordering excessive quantities of a limited variety of controlled substances in combination
with lifestyle drugs; and ordering the same controlled substance from multiple distributors.

316. Reporting an order as suspicious will not absolve a distributor of responsibility if
the distributor knew, or should have known, that the prescription opioids were being diverted.
Indeed, reporting a suspicious order and then filling said order with knowledge it may be
suspicious constitutes a failure to maintain effective controls against diversion under 18 VAC 110-
50-90 and 21 U.S.C. §§ 823 and 824,

317. On information and belief, the Distributor Defendants’ own industry group, the
Healthcare Distribution Management Association, published Industry Compliance Guidelines
titled “Reporting Suspicious Orders and Preventing Diversion of Controlled Substances,”
emphasizing the critical role of each member of the supply chain in distributing controlled
substances. These industry guidelines stated: “At the center of a sophisticated supply chain,
distributors are uniquely situated to perform due diligence in order to help support the security of
controlled substances they deliver to their customers.”

318. Opioid distributors have admitted to the magnitude of the problem and, at least
superficially, their legal responsibilities to prevent diversion. They have made statements assuring
the public they are supposedly undertaking a duty to curb the opioid epidemic.

319. On their face, these assurances — of identifying and eliminating criminal activity
and curbing the opioid epidemic — create a duty for the Distributor Defendants to take reasonable

measures to do just that.

82
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 85 o0f 135 Pageid#: 123

320. Despite their duties to prevent diversion, the Distributor Defendants have
knowingly or negligently allowed diversion. !*8 The DEA has repeatedly taken action to attempt to
force compliance, including 178 registrant actions between 2008 and 2012, 76 orders to show
cause issued by the Office of Administrative Law Judges, and 41 actions involving immediate
suspension orders.'”? The Distributor Defendants’ wrongful conduct and inaction have resulted in
numerous civil fines and other penalties, including:

(a) In May 2008, McKesson entered into a settlement with the DEA on claims
that McKesson failed to maintain effective controls against diversion of controlled
substances. McKesson allegedly failed to report suspicious orders from rogue Internet
pharmacies around the Country, resulting in millions of doses of controlled substances
being diverted. McKesson’s system for detecting “suspicious orders” from pharmacics was
so ineffective and dysfunctional that at one of its facilities in Colorado between 2008 and
2013, it filled more than 1.6 million orders, for tens of millions of controlled substances,
but it reported just 16 orders as suspicious, all from a single consumer.

(b) In a2017 Administrative Memorandum of Agreement between McKesson
and the DEA, McKesson admitted that it “did not identify or report to [the] DEA certain
orders placed by certain pharmacies which should have been detected by McKesson as
suspicious based on the guidance contained in the DEA Letters.” McKesson was fined
$150,000,000.

(c) On November 28, 2007, the DEA issued an Order to Show Cause and
Immediate Suspension Order against a Cardinal Health facility in Auburn, Washington, for
failure to maintain effective controls against diversion.

{(d) On December 5, 2007, the DEA issued an Order to Show Cause and
Immediate Suspension Order against a Cardinal Health facility in Lakeland, Florida, for
failure to maintain effective controls against diversion.

 

'8 Scott Higham and Lenny Bernstein, The Drug Industry’s Triumph Over the DEA, WASH. POST, Oct. 15, 2017,
https:/Avww.washingtonpost.com/praphics/20 1 7/investigations/dea-cdrug-industrycongress/?utm term=.75¢86f3574
<3; Lenny Bernstein, David S. Fallis, and Scott Higham, How drugs intended for patients ended up in the hands of
illegal users: ‘No one was doing their job,’ WASH. POST, Oct. 22, 2016, bttps://www.washingtonpost.com/
investigations/how-drugs-intended-for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/
2016/10/22/10279396-30a7-1 Le6-8ff7-7b6c1998b7a0 story html?utm term=.3076e67ala28

'9 Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), available at https://oig.justice.cov/reports/
2014/e1403 pdf (last accessed January 8, 2018)

         

83
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 86 of 135 Pageid#: 124

(e) On December 7, 2007, the DEA issued an Order to Show Cause and
Immediate Suspension Order against a Cardinal Health facility in Swedesboro, New Jersey,
for failure to maintain effective controls against diversion.

(H On January 30, 2008, the DEA issued an Order to Show Cause and
Immediate Suspension Order against a Cardinal Health facility in Stafford, Texas, for
failure to maintain effective controls against diversion.

(g) In 2008, Cardinal paid a $34 million penalty to settle allegations about
opioid diversion taking place at seven of its warehouses in the United States. °°

(h) On February 2, 2012, the DEA issued another Order to Show Cause and
Immediate Suspension Order against a Cardinal Health facility in Lakeland, Florida, for
failure to maintain effective controls against diversion.

(i) In 2012, Cardinal reached an administrative settlement with the DEA
relating to opioid diversion between 2009 and 2012 in multiple states.

G) In December 2016, the Department of Justice announced a multi-million-
dollar settlement with Cardinal for violations of the Controlled Substances Act.?! On
information and belief, in connection with the investigations of Cardinal, the DEA
uncovered evidence that Cardinal’s own investigator warned Cardinal against selling
opioids to a particular pharmacy in Wisconsin that was suspected of opioid diversion.
Cardinal did nothing to notify the DEA or cut off the supply of drugs to the suspect
pharmacy. Cardinal did just the opposite, pumping up opioid shipments to the pharmacy to
almost 2,000,000 doses of oxycodone in one year, while other comparable pharmacies were
receiving approximately 69,000 doses/year.

(k) In 2007, AmerisourceBergen lost its license to send controlled substances
from a distribution center in Florida amid allegations that it was not controlling shipments
of prescription opioids to Internet pharmacies, !*

(1) In 2012, AmerisourceBergen was implicated for failing to protect against
diversion of controlled substances into non-medically necessary channels.

 

3° Lenny Bernstein and Scott Higham, Cardinal Health fined $44 million for opioid reporting violations, WASH.
Post, Jan. 11, 2017, hitos:/Avww.washinetonpost.com/national/health-science/cardinal-health-fined-44-million-for-
opivid-reporting-violations/2017/0 1/11/4121 7c44-d82c-11e6-9a36-1d296534b3 le story.html?utm term=—0c8e1724
5066

'3! Press Release, United States Dep’t of Justice, Cardinal Health Agrees to $44 Million Settlement for Alleged
Violations of Controlled Substances Act, Dec, 23, 2016, https://Awww.justice.zov/usao-md/pr/cardinal-health-aerees-
44-million-settlement-alleged-violations-controlied-substances-act

   

32 AmerisourceBergen Plant license pulled, BOSTON NEws, Apr. 25, 2007, http://archive.boston.com/news/
education/higher/articles/2007/04/25/amerisourcebergen_plant license pulled/

84
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 87 of 135 Pageid#: 125

321. Although distributors have been penalized by law enforcement authorities, these
penalties have not changed their conduct. They pay fines as a cost of doing business in an industry
that generates billions of dollars in revenue and profit.

322. Once the DEA started to enforce suspensions of registrations to distribute
controlled substances, rather than comply, manufacturers and defendants spent at least $102
million to undermine the DEA’s ability to do so.

323. On February 19, 2014, acting at the behest of industry lobbyists, U.S.
Representative Tom Marino introduced the “Ensuring Patient Access and Effective Drug
Enforcement Act” as a supposed effort to define “imminent danger” in the 1970 act. A DEA memo
noted that this bill would essentially destroy the agency’s power to file an immediate suspension
order of any suspicious drug shipments.

324, This bill required that the DEA show the company’s actions had demonstrated a
“substantial likelihood of an immediate threat,” whether in death, serious bodily harm or drug
abuse, before a suspension order can be sought. It also gave drug companies the ability to submit
“corrective action” plans before any penalties could be issued. The law essentially makes it
impossible for the DEA to halt any suspicious narcotic shipments before opioids are diverted to
the illegal black market.

325. The Distributor Defendants’ failure to prevent the foreseeable injuries from opioid
diversion created an enormous black market for prescription opioids, which extended to Salem.
Each Distributor Defendant knew or should have known that the opioids reaching Salem were not
being consumed for medical purposes alone and that the number of opioids flowing to Salem was
far in excess of what could be consumed for medically necessary purposes.

326. The Distributor Defendants negligently or intentionally failed to adequately control

their supply lines to prevent diversion. A reasonably prudent distributor of Schedule II controlled

85
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 88 of 135 Pageid#: 126

substances would have anticipated the danger of opioid diversion and protected against it by, for
example, taking greater care in hiring, training, and supervising employees; providing greater
oversight, security, and control of supply channels; looking more closely at the pharmacists and
doctors who were purchasing large quantities of commonly-abused opioids in amounts greater
than the populations in those areas would warrant; investigating demographic or epidemiological
facts concerning the increasing demand for narcotic painkillers in and around Salem; providing
information to pharmacies and retailers about opioid diversion; and in general, simply following
applicable statutes, regulations, professional standards, and guidance from government agencies
and using a little bit of common sense,

327. It was reasonably foreseeable that the Distributor Defendants’ conduct in flooding
the market in and around Salem with highiy addictive opioids would allow opioids to fall into the
hands of children, addicts, criminals, and other unintended users,

328. It is reasonably foreseeable that when unintended users gain access to opioids,
tragic preventable injuries will result, including addiction, overdoses, and death,

329. The Distributor Defendants knew or should have known that the opioids being
diverted from their supply chains would contribute to the opioid epidemic faced by Salem, and
would create access to opioids by unauthorized users, which, in turn, perpetuates the cycle of
addiction, demand, illegal transactions, economic ruin, and human tragedy.

330. The Distributor Defendants were aware of widespread prescription opioid abuse in
and around Salem, but, on information and belief, they nevertheless persisted in a pattern of
distributing commonly abused and diverted opioids in geographic areas and in such quantities, and
with such frequency that they knew, or should have known, these commonly abused controlled

substances were not being prescribed and consumed for legitimate medical purposes.

86
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 89 of 135 Pageid#: 127

331. The use of opioids by Salem’s citizens who were addicted or who did not have a
medically necessary purpose could not occur without the knowing cooperation and assistance of
the Distributor Defendants. If the Distributor Defendants adhered to effective controls to guard
against diversion, Salem would have avoided significant injury.

332. The Distributor Defendants made enormous profits over the years based on the
diversion of opioids into Salem.

333. The Distributor Defendants’ intentional distribution of excessive amounts of
prescription opioids to Salem showed an intentional or reckless disregard for the safety of Salem

and its citizens. Their conduct poses a continuing threat to the health, safety, and welfare of Salem.

iii. PBMS ENSURED THAT OPIOIDS WERE REGULARLY PRESCRIBED
AND FLOODED THE MARKET.

334. PBMs are the middlemen between the defendant drug manufacturers and the
availability of opioids. The PBM plan designs determine what drugs (a) will be available (or not
available) to patients; (b) for what diagnosis, efficacious or otherwise; (c) in what quantities; (d)
at what co-pay; (e) what level of authorization will be required; and (f) what beneficial drugs or
treatments will not be available.

335. PBMs hold themselves out as “provid[ing] pharmacy care that is clinically
sound,”'* “ensur[ing] that [they] provide[] access to safe and effective medications”!5+ and
helping their customers “achieve better health outcomes”!*

336. Notwithstanding this, PBMs collude with manufacturers who pay fees in the form

of rebates, administrative fees and other incentives in order to maximize utilization to the financial

 

'8 CVS Caremark, Formulary Development and Management at CVS Caremark, supra note 48 at 1.
'4 Express Scripts, Smart Formulary Management, supra note 57 at 2.

'35 OptumRx, OptumRx Opioid Risk Management, 2018, https:/vwww.accesskent.com/Benefits/pdf/Opioid-
Brochure.pdf, at 4.

87
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 90 o0f135 Pageid#: 128

benefit of the PBMs and manufacturers. This leads to more prescriptions and more pills available
to the general public, many of which find their way to the black market.

337, PBMs have the ability to limit the number of pills available. PBMs were well aware
that benefit plan design, formulary placement, and drug utilization management would result in
more addictive opioids entering the marketplace and more addicts being created. Yet,
notwithstanding their contractually bound commitment to their customers, whose public and
private plans cover the vast majority of Americans, they chose to place profits over their
professional and ethical duties.

338. PBMs not only control the majority of this country’s prescriptions through their
benefit plan design and formulary management, they generate massive profits from that work,
PBMs are paid by drug companies to move product. “[N]early one third of all expenditures on
branded drugs in 2015 were eventually rebated back. And, most of these rebates directly benefited
the PBM.”!°° In addition to rebates, PBMs negotiate the payment of administrative fees, volume
bonuses and other forms of consideration from manufacturers. The PBMs’ ability to negotiate
these incentives from drug manufacturers derives from their control of the factors driving usage,
including formulary development, plan design and utilization management programs.

339. The power of the PBMs has evolved over time. Originally mere claims processors,
PBMs now play a major role in managing pharmaceutical spending. They also tout their ability to
enhance the health benefits for end-users. Drug manufacturers recognize the power of the PBMs

to drive utilization.

 

"6 Wayne Winegarden, To Improve Pharmaceutical Pricing, Reform PBMs And Fix Health Care's Sysiemic
Problems, FORBES, Apr. 4, 2017, https://Avww.forbes.com/sites/econostats/2017/04/04/to-improve-pharmaceutical-
ricing-reform-pbms-and-fix-health-cares-systemic-problems/#4da58c5a3322

     

88
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 91o0f135 Pageid#: 129

340. PBMs quietly became an integral part of the pharmaceutical supply chain — that is,
the path a drug takes from the manufacturing facility to a bathroom medicine cabinet — following
the passage of the Medicare Modernization Act in 2003.

341. Today, the big three PBMs manage drug benefits for approximately eighty-nine
percent of the market, or 238 million lives.'*” They drive what drugs are covered by virtually all
health insurance providers for over 266 million people. PBMs made almost $260 billion last
year.'38 In 2015 they covered most of the 4 billion retail prescriptions that were covered in the
United States.'°? They are key participants and play a crucial role in the administration and
reimbursement of prescription drugs. !*°

342. PBM influence results from the lack of competition in the PBM space, Market
concentration is an important indicator of a company’s ability to earn extraordinary returns, and
several segments in the United States pharmaceutical distribution system are highly
concentrated. '*!

343. In this environment, the big three PBMs have substantial if not exclusive control
over the dissemination of opioids. In concert with drug manufacturers who provide them with

assorted complicated payments as incentives,'”? PBMs design benefit plans determining which

 

'57 NATIONAL COMMUNITY PHARMACISTS ASSOCIATION, PBM Resources, supra note 18.

8 John Breslin, Health care experts call for more transparency into PBMs, PATIENTDAILY, Dec, 20, 2017,
https://patientdaily.com/stories/5 11298841 -health-care-experts-call-for-more-transparency-into-pbms

'° Lydia Ramsey and Skye Gould, A huge pharma middleman just lost its biggest customer ~— and it shows how drug
Se p i

pricing really works, BUSINESS INSIDER, Apr. 25, 2017, http://Awww,businessinsider.com/express-scripts-esrx-anthem-

not-renewing-pbm-2017-4

49 Health Policy Brief, supra note 46.

'4| Neeraj Sood, Tiffany Shih, Karen Van Nuys, Dana Goldman, Follow the Money: The Flow of Funds In the

Pharmaceutical Distribution System, HEALTH AFFAIRS, Jun. 13, 2017, https:/Ayww.healthaffairs,
ore/do/10.1377/hblog20170613,060557/full/

2 Health Policy Brief, supra note 46.

   

89
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 92 o0f135 Pageid#: 130

drugs will be paid for, reimbursed, or covered by public and private pharmacy benefit plans,
allowing the drugs to enter the marketplace to be abused. For example, notwithstanding its express
assurance to its customers that it “agrees to act as a fiduciary in good faith, with candor and due
diligence in connection with the performance of [its PBM contract] and any negotiations related
thereto,”!8 OptumRx proceeds to define its formulary as follows:

A list of prescription drugs administered by PBM that has been evaluated
by the PBM for inclusion on its formulary (‘Formulary’)... [T]he drugs
included on the PBM’s Formulary may be modified by PBM, with prior
approval by [client], from time-to-time as a result of factors including, but
not limited to, medical appropriateness, manufacturer rebate arrangements
and patent expirations.'** [emphasis added]

344. Notably, OptumRx does not explain how “manufacturer rebate arrangements”

impact its formulary design.
345. Express Scripts likewise is paid by drug manufacturers based on formulary design:

Express Scripts contracts for its own account with pharmaceutical
manufacturers to obtain rebates attributable to the utilization of certain
prescription products by individuals who receive benefits from clients for
whom we provide PBM services. Rebate amounts vary based on the volume
of utilization as well as the benefit design and formulary position applicable
to utilization of a product. Express Scripts often pays all or a portion of the
rebates it receives to a client based on the client’s PBM services agreement.
Express Scripts retains the financial benefit of the use of any funds held
until payment is made to a client. In connection with our maintenance and
operation of the systems and other infrastructure necessary for managing
and administering the rebate process, Express Scripts also receives
administrative fees from pharmaceutical manufacturers participating in the
rebate program discussed above. The services provided to participating
manufacturers include making certain drug utilization data available, as
allowed by law, for purposes of verifying and evaluating the rebate

 

'® United Healthcare Services, Inc. and Employees Retirement System of Texas, Pharmacy Benefit Management
Services Executed Contract, Section 2.3 (2016), https://ers.texas.20v/Doing-Business-with-ERS/PDFs/Contract-for-

4 Tet at Section 4.1(h)(i),

90
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 93 of 135 Pageid#: 131

payments. The administrative fees paid to Express Scripts by manufacturers
for participation in the rebate program do not exceed 3.5% of the AWP of
the rebated products. !*

346. It is notable that Express Scripts does not commit to share all of the rebates it
receives from drug manufacturers with its clients, nor does it commit to share any of the
administrative fees. Nor does it explain all of the services for which it receives the administrative
fees. Nor does it explain how any of these payments actually influence its formulary design, Also
noteworthy is that Express Scripts pegs its administrative fees to Average Wholesale Price (A WP),
which is a reported price higher than any Express Scripts customer pays for any drug.

347, Express Scripts’ standard contract language contemplates that it will derive even
further revenue from drug manufacturers in other vaguely described arrangements, none of which
are shared with its customers:

[I]f any, ESI and ESI’s wholly-owned subsidiaries derive margin from fees
and revenue in one or more of the ways as further described [herein] ESI
and ESI’s wholly-owned subsidiaries act on their own behalf, and not for
the benefit of or as agents for [its customers]. EST and EST’s wholly-owned
subsidiaries retain all proprietary rights and beneficial interest in such fees
and revenues described in the Financial Disclosure and, accordingly,
[customer] acknowledges that neither it, anv Member, nor the Plan, has a
right to receive, or possesses any beneficial interest in, any such fees or

FPEVENUES, 146

348. Astandard Caremark PBM Contract reflects similar perverse incentives. It explains

that “Manufacturer? means a pharmaceutical company that has contracted with Caremark (or its

 

M45 Express Scripts, Inc. and Oklahoma City Municipal Facility Authority, Pharmacy Benefit Management Agreement,
pg. 30, Exhibit E (2008), bttp://nationalpreseriptioncoveragecoalition.com/wp-content/uptoads/2017/ 07/WebPage-

2.paf
146 Td. at pp. 8-9, Section 6.4.

91
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 94 of 135 Pageid#: 132

affiliate or agent) to offer discounts for pharmaceutical products in connection with Caremark's
Formulary Services.” '*” [emphasis added]
349. And, “Manufacturer Payments” include revenues received by Caremark,

[F]rom each of the following sources: 1) payments received in accordance
with agreements with pharmaceutical manufacturers for formulary
placement and, if applicable, drug utilization; 2) rebates, regardless of how
categorized; 3) market share incentives; 4) commissions; 5) any fees
received for the sale of utilization data to a pharmaceutical manufacturer;
6) educational grants; 7) administrative management fees; and 8) all
compensation from manufacturers including rebates paid by a manufacturer
as a result of product inflation caps and/or guarantees negotiated by the
Service Provider. '*8

350. Caremark’s standard PBM contract further explains:

{T]hat, in lieu of billing Member County a ‘per Claim’ fee for Services,
Caremark shall retain 100% of the Rebates as reasonable compensation for
the Services. Customer and Member County understand and agree that
neither they nor any Participant will share in the Rebate monies collected
from Manufacturers by Caremark. !?

351. Caremark also explains that it will encourage the use of its “Preferred Drugs” (those
where it has the most lucrative arrangement with a drug manufacturer) over “non-Preferred" drugs.
Its standard contract language states that Caremark will encourage the use of “Preferred Drugs”
by:

(i) identifying appropriate opportunities for converting a prescription from
anon-Preferred Drug to a Preferred Drug, and (ii) contacting the Participant
and the prescriber to request that the prescription be changed to the

Preferred Drug. A Preferred Drug is one on the Performance Drug List,
which has been developed by Caremark as a clinically appropriate and

 

'? CaremarkPCS Health, L.P. and the National Association of Counties, Managed Pharmacy Benefit Service
Agreement, pg. 10, Section 10(f) (2006), http:/Avwww.nassauclerk.com/agendaindex/Ordinances/other/CS-08-125 pdf

'88 CaremarkPCS Health, L.L.C. and Florida Department of Management Services, Pharmacy Benefit Management
Services contract, pg. 7, Section 1.1 (2015), https:/Awww.dms.myflorida.com/content/download/107930/60779 1/
2015 PBM Contract REDACTED FINAL.pdf ,

4 CaremarkPCS Health, L.P. and the National Association of Counties, Managed Pharmacy Benefit Service
Agreement, pg. 4, Section 2.1 (2006), http://www.nassauclerk.com/agendaindex/Ordinances/other/CS-08-125 pdf

92
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 95 o0f135 Pageid#: 133

economically advantageous subset of the Caremark Formulary, as revised
by Caremark from time to time.!°° [emphasis added]

352. The harm caused by the PBMs is not just monetary: “[t]he PBMs and insurers are
harming the health of patients with chronic and rare diseases by limiting access and charging them
retail for drugs they buy at deep discounts.”!°! PBMs also fail to control quantities, or numbers of
refills for highly addictive drugs and ignore or neglect their assorted contractual undertakings to
ensure patient wellness.

353. PBMs also provide discount drug cards so individuals can directly purchase
medications without going through insurance companies. This allows individuals to fill multiple
prescriptions while avoiding the oversight that insurance coverage brings, thus fueling the
epidemic. PBMs aliow this loophole because they are paid for every prescription filled in this
manner.

354. MedPageToday, a source for clinical and policy coverage that directly affects the
lives and practices of health care professionals, describes the PBMs’ complicity in the opioid crisis
this way:

We live in a world where payers -- not physicians -- determine what drugs
and treatments patients receive. If patients have a life-threatening
condition, it is not unusual for a payer to demand that a physician first
prescribe a cheaper and less effective alternative. Physicians know that the
drugs they are allowed to use may not work very well, but frequently,
payers demand that they be tried first anyway.

What happens if the patient doesn't respond to the cheap drug? Often, the
physician continues to prescribe it, because -- to gain access to the more

effective drug -- physicians need to go through a painful process of
preauthorization. For many practitioners, it isn't worth it.

 

150 fd. at p. 3, Section 1.11,

'S! Jonathan Wileox, PBMs Must Put Patients First, HUFFINGTON Post, Feb, 28, 2017, bttps://www.huftingtonpost.
con/entry/pbms-must-put-patients-first_ us 58b60bd8e4b0213 £8 | ed44dcc

93
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 96 of 135 Pageid#: 134

So we spend more for healthcare than any other country in the world, but
Americans do not get the care they need. There is a simple reason.
Treatment decisions are not being driven based on a physician's knowledge
or judgment. They are being driven by what payers are willing to pay for.!**

355. Thus, people with pain are at the mercy of PBMs, yet PBMs make it easier to get
opioids than to get other pain medication that is less addictive, because opioids are generally
cheaper than non-opioid alternatives and opioid manufacturers have provided rich incentives, as
described above. According to a study by the New York Times and ProPublica of 35.7 million
people on Medicare prescription drug plans, in the second quarter of 2017 only one-third of them
had access to pain medication less addictive than opioids. !>4

356. Even when they were asked to limit accessibility to opioids, PBMs refused. The
seeds of the opioid epidemic were sown with early over prescription of OxyContin. In 2001, when
officials in the West Virginia state employee health plan tried to get Purdue, which manufactured
OxyContin, to require pre-authorization, Purdue refused.'>4 Using the financial guid pro quo it had
with the West Virginia PBM, it paid Merck Medco (now Express Scripts) to prevent insurers from
limiting access to the drug. This practice was consistent nationwide.

The strategy to pay Merck Medco extended to other big pharmacy benefit
managers and to many other states, according to a former Purdue official
responsible for ensuring favorable treatment for OxyContin. The payments
were in the form of “rebates” paid by Purdue to the companies. In return,

the pharmacy benefit managers agreed to make the drug available without
prior authorization and with low copayments.

“That was a national contract,” Bernadette Katsur, the former Purdue
official, who negotiated contracts with pharmacy benefit managers, said in
an interview. ““We would negotiate a certain rebate percentage for keeping

 

'S2 Milton Packer MD, Are Payers the Leading Cause of Death in the United States?, MEDPAGETODAY, Nov. 1, 2017,
https://Avww.medpagetoday,convblogs/revolutionandrevelation/68935

'33 Thomas and Ornstein, supra note 63.

'54 David Armstrong, Drug maker thwarted plan to limit OxyContin prescriptions at dawn of opioid epidemic, STAT,
Oct. 26, 2016, bitps://www.statnews,com/2016/10/26/oxycontin-maker-thwarted-limits/

94
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 97 of135 Pageid#: 135

it on a certain tier related to copay or whether it has prior authorization. We
like to keep prior authorization off of any drug.” !>

357. PBMs are “driving patients to opioids, away from abuse-deterrent form (ADF) and
less addictive forms of opiates through formulary and pricing strategies,”'™

358. Not only do PBMs place roadblocks in the way of limiting excessive opioid
prescriptions, they also make it more difficult to obtain ADF opioids. These pills are more difficult
to physically alter (crushing to snort or dissolving to inject) and therefore are less prone to abuse. !5”
The three major PBMs carry at most 3 of the 10 FDA approved ADF opioids, while CVS
Caremark, which has nearly 90 million members, carries none.!°® A study by Tufts CSSD found
that ninety-six percent (96%) of all prescription opioids were non-ADF in 2015, !%

359. Making matters worse, in addition to making it easy to obtain generic highly
addictive opioids, PBMs make it harder to obtain treatment. The NY Times/ProPublica study
found that insurers have erected more hurdles to approving addiction treatments than for the
addictive substances themselves.’ Only after being subject to much public pressure and

congressional investigations did some insurers remove the barriers to addiction treatment.

 

155 I.

'§ Charles L. Bennett MD PhD MPP, Do you have pain, cancer, or diabetes? Your PBM may now be your doctor for
these illnesses, COLLABRX, Dec. 27, 2017, http://www.collabrx.com/pain-cancer-diabetes-pbm-may-now-doctor-
illnesses/

 

'5? Peter J. Pitts, Pharmacy benefit managers are driving the opioid epidemic, SW News Media, Nov. 21, 2017,
hittp./Awww.swnewsmedia,com/shakopee_valley_news/news/opinion/guest_columns/pharmacy-benefit-managers-
are-driving-the-opioid-epidemic/article 2f6be2al-c7a3-S5f8d-9Be-, 61d29d25c84b html

138 Bennett, supra note 156.

 

189 Pitts, supra note 157.

'69 Thomas and Ornstein, supra note 63.

95
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 98 of 135 Pageid#: 136

360. A 2008 study by the Mayo Clinic!®! found that patients who were weaned off
opioids and followed a non-drug treatment experienced less pain than when they were on opioids
and had improved functioning. Some plans cover these costs but other do not.'@

361. In addition to their role designing prescription drug benefit programs, one
responsibility of all PBMs and their employed pharmacists is to properly monitor and control the
distribution of prescription opioids, PBMs market their abilities to ensure that the medications they
dispense are appropriately dosed, and monitored for drug interactions, therapeutic duplications,
and possible misuse or abuse.

362. PBMs also market their ability to manage and oversee the quality of the retail
pharmacies that are contracted to be in their network. At critical times, PBMs were — at best —
asleep at the switch when it came to auditing pharmacies that were dispensing huge quantities of
opioids. The fact that very few if any “pill-mill” pharmacies or over-prescribing physicians were
reported by PBMs to the State Boards of Pharmacies or State Medical Boards is testament to the
PBMs’ lack of oversight of opioids.

363. In fact, OptumRx has recently been transparent with its knowledge that 45% of
‘first fill’ opioid prescriptions nationwide are not in compliance with CDC guidelines!

364. There have always been steps the PBMs could take to abate the flow of opioids,
They could make it easier to access other non-addictive forms of pain relief. They could require

doctors to start treating pain first with non-opioid pain medications as recommended by the CDC

 

‘6! Available at https./Avww.ncbi.nlm.nih.gov/pubmed/18804915

'©? Barry Meier and Abby Goodnough, New Ways To Treat Pain Meet Resistance, THE NEW YORK TIMES, Jun. 22,
2016, hitps:/Avww.nytimes.com/2016/06/23/business/new-ways-to-treat-pain-without-opioids-meet-resistance. html?
meubz=1,

163 OptumRx, OptumRx Opioid Risk Management, 2018, hitps://www,.optum.com/resources/library/opioid-risk-
imanagement0.html, at 3.

96
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 99 of 135 Pageid#: 137

and turn to opioids as a last resort. They could cover alternative, non-medication treatments for
pain. They could make addiction treatment more accessible. They could monitor prescriptions.
They could forbid 90-day supplies of opioids. They could audit pharmacies. They could require
doctors and pharmacies in their networks to use PDMPs. They could make their pricing more
transparent so everyone could see if they were being improperly influenced by manufacturers to
make choices for financial, not medical reasons.

365. The PBM defendants expressly recognize that they have the ability to abate the
opioid epidemic. OptumRx admits that PBMs are “uniquely positioned to help address the opioid
epidemic.”'* Express Scripts admits that “we have the ability to make a significant impact.”!%

366, Yet PBMs are still not doing all they (easily) can to halt the improper dispensing of
opioids and expand access to treatments for opioid overdose and addiction.

367. Each of the PBM Defendants recently have begun offering opioid management
programs for certain customers that they claim (falsely) are consistent with the March 2016 U.S.
Centers for Disease Control and Prevention, CDC Guideline for Prescribing Opioids for Chronic
Pain — United States, 2016, 65 Morbidity and Mortality Weekly Report 1 (2016) (“CDC
Guideline”).

368. In truth, even these new opioid management programs do not apply across the board
to all customers and still fall woefully short of the CDC Guideline and ali current medical literature

regarding the highly dangerous properties of opioids.

 

164 Opium controning the Opioid Epidemic, 2018, littps://www.optum.com/resources/library/opicid-e-

165 Express Scripts, Express Seripis Significantly Reduces Inappropriate Selection and Excessive Dispensing of
Opioids for New Patients, Jan. 11, 2018, http://lab.express- insi
inappropriate-selection-and-excessive- dispensing-of-opioids, at 2.

 

97
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 100 of 135 Pageid#: 138

369. None of the big three PBMs’ new opioid management programs are consistent with
the CDC Guideline — they still permit the largely unchecked prescribing of opioids for chronic
pain (the CDC says opioids are not proven effective for chronic pain); still provide seven-day
quantity limits for acute pain (when the CDC says “three days or less will often be sufficient” and
the PBMs themselves acknowledge that “a few days” can make a difference in whether one
becomes addicted); still permit opioid prescriptions to be delivered through mail-order pharmacies
for conditions outside of active cancer, end-of-life or palliative care (which typically supply
maintenance drugs for chronic conditions; it is well-established that except for active cancer, end-
of-life or palliative care, opioids should not be dispensed for chronic pain); do not adhere to CDC
MME/day recommendations; do not cover high dosage nonopioid alternatives; do not require step
therapies; and do not require prior authorizations for the most commonly prescribed immediate-
release opioids.

370, At the same time, the PBMs also continue to impose unnecessary restrictions on
access to treatments for opioid overdose and addiction.

371. These failures have contributed mightily to the roots of the opioid epidemic and its
ongoing impact today.

372. The PBMs own documents confirm the important role PBMs play in implementing
the CDC Guideline.

373. Nearly one year after the CDC Guideline was issued, Caremark publicly
acknowledged that, “[p]harmacy benefit managers (PBMs) play an important role in implementing
the CDC [G]uideline, and helping ensure access and patient safety” and assured its customers that

it had “taken a thoughtful, evidence-based approach to implementing the CDC guideline into our

98
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 101o0f135 Pageid#: 139

utilization management (UM) criteria with consideration of the needs of those with chronic pain,
as well as the potential for harm from these powerful medications.”!©

374, Caremark also assured the public that its, “UM criteria reinforce [the CDC]
principles and encourage appropriate use of opioids by patients and prescribers. They provide
coverage that fosters safe use of opioids, consistent with the ... CDC [G]uideline, to support plans
helping members on their path to better health.” !6

375. Express Scripts similarly boasts that its Advanced Opioid Management program
“is based on CDC prescribing guidelines” and “promot[es] greater compliance with CDC
guidelines,”!

376. OptumRx likewise claims that its “utilization management edits are tightly aligned
with Centers for Disease Control (CDC) prescribing guidelines.” !

377. The foregoing assurances of fostering “safe use of opioids” consistent with the
CDC Guideline are false. The PBM Defendants’ utilization management criteria — to this day and
despite all their talk — fall far short of meeting the CDC Guideline. As one news outlet described
it, “[o]ne overlooked culprit worsening the epidemic, however, comes straight from our health care
system: pharmacy benefit managers, or PBMs. To improve their bottom line, they’re blocking
access to prescriptions that can help prevent overdoses.”!7

378. In sum, because PBMs are the intermediary between drug manufacturers,

pharmacies, and ultimately patients, these companies influence everything from pharmacy

 

'66 CVS Health, The Balancing Act, Helping Ensure Appropriate Access to Opioids While Minimizing Risk, INSIGHTS
FEATURE, Feb. 28, 2017, https;//payorsolutions.cvshealth.com/insights/balancing-act, at 1 (emphasis added).

'6? Td. at 5 (emphasis added).

168 Express Scripts, Express Scripts Significantly Reduces Inappropriate Selection and Excessive Dispensing of
Opioids for New Patients, supra note 165 at 1.

 

16° OptumRx Opioid Risk Management, supra note 135,

70 Pitts, supra note 157.

99
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 102 of 135 Pageid#: 140

reimbursements, to what drugs are covered under formularies. In these ways, the PBMs drive
which drugs enter the marketplace. Their fingerprints are on nearly every opioid prescription filled
and they profit in myriad ways on every pill,

379. PBMs’ complicity in the overall fraudulent scheme is knowing and purposeful.
Drug manufacturers compete for PBM formulary placement (preferred placement results in greater
utilization and greater profits) and pay PBMs incentives to avoid pre-authorization requirements
and other hurdles that would slow down flow. A review of the defendant PBM formularies
confirms that they include all of the opioids at issue in this case, often in preferred tiers, without
quantity limits or prior authorization requirements.

380. Caremark has three basic formularies: Standard Control, Advanced Control, and
Value.!7!

381. A wholly owned Caremark subsidiary (SilverScript) also manages two basic
formularies for Medicare Prescription Drug Plans (“PDPs”), Choice and Plus.!” Each of
Caremark’s basic formularies include opioids.

382. Caremark’s Standard Control formulary contains no step therapies, prior
authorization requirements or quantity limits for opioids on its face.'”

383.  Itimposes no three-day limitations for acute pain,”

 

rograms-and-services/cost-

 

“WI CVS Health, Fornudary Management, https://payorsolutions.cvshealth.com/
management/formulary-management (last visited Sept. 10, 2018)

' SilverScript, Compare 2018 Plans — SilverScript, https://www.silverscript.com/plan/compare-module.aspx (last
visited Sept. 10, 2018)

 

 

3 See CVS Caremark, Performance Drug List -— Standard Control, July — 2018,
hitps:/Awww.caremark,com/portal/asset/caremark recaprxclaimsdruplist.pdf (last visited Sept. 10, 2018) at 1;
(74 Td.

100
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 103 0f 135 Pageid#: 141

384. It does not limit the use of opioids for chronic pain outside active cancer, end-of-
life and palliative care.!”°

385. The prescribing guide for the Standard Control formulary refers clinicians to 2017
prescribing guidelines, but even those do not require nonopioid step therapies for treatment of
chronic pain or three-day limits for acute pain.!”°

386. Although Caremark’s Standard Control formulary covers methadone, and multiple
buprenorphine and naloxone treatments, it does not cover any naltrexone treatments and it is
unclear what utilization management or cost-sharing requirements may apply,'””

387. Caremark’s Standard Control formulary does not cover the higher strength
prescription dosages of the following nonopioid pharmacological options, useful in many step
therapies: ibuprofen, topical lidocaine, amitriptyline, doxepin, desipramine, diflunisal, choline
magnesium trisalicylate, salsalate, etodolac, sulindac, indomethacin, celecoxib, meclofenamate,
and nabumetone.!78

388. Caremark’s Advanced Control] formulary contains no step therapies, prior
authorization requirements or quantity limits for opioids on its face.!79

389, The Advanced Control formulary does not include many of the following
prescription nonopioid pain treatment alternatives: capsaicin, diflunisal, choline magnesium

trisalicylate, salsalate, etodolac, sulindac, indomethacin, meclofenamate, and nabumetone. '®°

 

(75 Tea.

"% See CVS Caremark, Prescribing Guide — Standard Control 2018,  https:/Avww.caremark.com/
portal/asset/Prescribing Guide Un-Authenticated pdf (last visited Sept. 10, 2018) at 11.

'? See CVS Caremark, Performance Drug List ~ Standard Control, supra note 173 at 1, 3.
173 Id.
9 See CVS Caremark, Advanced Control Formulary, July 2018, hitps://www.caremark,com/portal/asset/Advanced

180 Td

101
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 104 o0f 135 Pageid#: 142

390. Caremark’s Value Formulary contains no step therapies for any immediate release
opioids, |?!

391. It has prior authorization requirements for some opioids, but not the most widely
used: hydrocodone-acetaminophen, oxycodone-acetaminophen and codeine-acetaminophen, !*?

392, The Value Formulary points to the same lax 2017 opioid prescribing guidelines,'*

393. Caremark’s Value Formulary imposes both prior authorization and/or quantity
limits on the majority of pharmacologic treatments for opioid addiction and overdose. !*4

394. This Value formulary (like Caremark’s other commercial offerings) excludes an
array of nonopioid pain relief options including: topical lidocaine, choline magnesium trisalicylate,
salsalate, indomethacin, celecoxib, and meclofenamate. '®

395. Caremark’s Medicare PDP formularies have no prior authorization requirements
for opioids except fentanyl-related products, and no step therapies for any opioids.!*® As with
Caremark’s other formularies, they impose dosage and quantity limits but these exceed the CDC
Guideline’s recommendations for MME per day. For example, Caremark sets a 360 tabs/30 day

limit for all strengths of Hydrocodone-acetaminophen (5-325mg, 7.5-325mg, 10-325mg), one of

the most widely overprescribed opioids. But even at the lowest dosage (5mg), this exceeds the

 

'8] See CVS Caremark, CVS Caremark® Value Formulary Effective as of 07/01/2018, bttps://www.caremark,com
/portal/asset/Value Formulary pdf, at 9-10.

182 Id.

183 Te at 9,

184 Tt at 10, 22-23.
135 Td.

'%6 See SilverScript, 2018 Formulary (List of Covered Drugs) [for  SilverScript — Choice],
https://www.silverscript.com/pdf/choice-comprehensive-formulary.pdf (“SilverScript Choice Formulary”) (last
visited Sept. 10, 2018) at 8-10; SilverScript, 20/8 Formulary (List of Covered Drugs) [for SilverScript Plus],

https://www.silverscript.com/pdf/plus-comprehensive-formulary.pdf (“SilverScript Plus Formulary”) (last visited
Sept. 10, 2018) at 8-10.

102
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 105 of 135 Pageid#: 143

CDC-recommended dosage limit of 50 MME/day. The following chart explains how Caremark’s

current hydrocodone Medicare quantity limits far exceed the CDC Guideline with respect to this

 

 

 

 

 

 

highly abused drug:
Hydrocodone-acetaminophen, ~| o-| gras ies | ac
"360 tab per 30.days'#7 | Stength | MME" | Tabs/day
5-325mg 5mg 1.0 12
7,5-325mg 75mg 1.0 12 90 MME
10-325mg 10mg 1.0 12 120 MME

 

 

 

 

 

 

 

396. Caremark is similarly lax when it comes to imposing limits on the other most
commonly prescribed opioid ~ oxycodone-acetaminophen. Caremark’s current Medicare quantity
limits of 360 tablets/30 days for the 5-325mg, 7.5-325mg, and 10-325mg strengths of Oxycodone

completely ignore the CDC Guideline.

 

  

“ Oxycodone-acetaminophe

   
  

 

 

 

 

 

 

 

 

 

|< 360 tab per 30 days!® ee oe aye.
§-325mg Smg 1.5 12 90 MME
7,5-325mg 7.5mg 1.5 12 135 MME
10-325mg 10mg 1.5 12 180 MME

 

397. Caremark applies the same limits to the widely used acetaminophen-codeine, again

ignoring the CDC Guideline.

 

 
  

 

   

~~ 59.99 MME
13,33 119.97 MME

 

 

 

 

 

 

 

 

300-60mg 60mg

 

 

'87 See fd. (both formularies linked above) at 9.

'88 CMS Conversion Chart, Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors, CENTERS FOR
MEDICARE & MEDICAID SERVICES, Aug. 2017, hitps://www.cms.gov/Medicare/Prescription-Drug-Coverage/
PrescriptionDrugCovContra/Downloads/Opioid-Morphine-EO-Conversion-Factors-Aug-201 7.pdf

   

'8 SilverScript Choice Formulary and SilverScript Plus Formulary, supra note 186, both at 10.
'90 CMS Conversion Chart, supra note 190,

10 SilverScript Choice Formulary and SilverScript Plus Formulary, supra note 186, both at 8.
192 CMS Conversion Chart, supra note 190.

103
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 106 of 135 Pageid#: 144

398. Additionally, Caremark’s Medicare PDP formularies impose quantity limits and/or
prior authorization requirements on the majority of pharmacologic treatments for opioid addiction
and overdose. '?? These treatments, including generics, are also all listed on Tier 3 or higher of the
formulary.'™ This designation is associated with copays of at least $35 or coinsurance rates
typically exceeding 33%,"

399, Even with its new Opioid Utilization Management Program, Caremark does not
require step therapy as a pre-condition for coverage of immediate-release opioids.”

400. Caremark does not impose three-day limits on opioids prescribed for acute pain. !%”

401. Caremark does not require prior authorization when opioids are prescribed for
chronic pain.!®

402. Caremark limits the quantity of opioids prescribed per day, but only to 90
MME/day,'* a quantity the CDC says should be avoided.2

403. Caremark does not require prior authorization prior to dispensing immediate-

release opioids, ie, hydrocodone-acetaminophen, oxycodone-acetaminophen, codeine-

acetaminophen.””!

 

3 SilverScript Choice Formulary, supra note 186 at 9, 34-35; SilverScript Plus Formulary, supra note 186 at 9-10,
36.

194 Fe
195 Td. (both formularies) at 5-7.

98 See CVS Caremark, CVS Caremark Opioid Quantity Limits Pharmacy Reference Guide, Jan, 2018,
https://www.,caremark.com/portal/asset/Opioid Reference Guide.pdf.
197 Ig

198 Ta.
[99 id.

*00 CDC Guideline for Prescribing Opioids for Chronic Pain — United States, 201 6, 65 MORBIDITY AND MORTALITY
WEEKLY REPORT 1 (2016) at 16, 22, 23.

°" See Performance Drug List — Standard Control, supra note 173; Prescribing Guide — Standard Control 2018,
supra note 176; Advanced Control Formulary, supra note 179; CVS Caremark® Value Formulary Effective as of

104
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 107 of 135 Pageid#: 145

404, Caremark merely allows for an “emergency supply” of buprenorphine-naloxone
products while it processes prior authorization, rather than broadly waiving such requirements.2

405. The standard commercial Express Scripts formulary contains no restrictions
whatsoever on the majority of opioids covered — no quantity limits, no step therapies, no prior
authorization requirements.

406. Express Scripts recently updated its National Preferred Formulary to exclude
coverage for two long-acting opioid oral analgesics (Opana ER and Oxycodone ER) and two
narcotic analgesics (Buprenorphine Patches and Butrans) but, even there, Express Scripts presents
no fewer than six “preferred alternatives,” each of which are highly addictive opioids available in
extended-release forms.”

407. The National Preferred Formulary indicates that certain naloxone (Narcan nasal
spray) and buprenorphine Suboxone Sublingual Film and Zubsolv sublingual tablets) treatments
are available, but does not list any methadone or naltrexone treatments.2™

408. The Express Scripts National Preferred formulary does not cover numerous highly
effective prescription nonopioids including: doxepin, desipramine, diflunisal, choline magnesium

trisalicylate, etodolac, sulindac, indomethacin, and meclofenamate.2%°

 

07/01/2018, supra note 181; SilverScript Choice Formulary, supra note 186; SilverScript Choice Formulary, supra
note 186.

*0? See CVS Health, The Balancing Act, Helping Ensure Appropriate Access to Opioids While Minimizing Risk,
INSIGHTS FEATURE, Feb, 28, 2017, https://payorsolutions.cvshealth.com/insights/balancing-act, at 6.

* See Express Scripts, 20/8 National Preferred Formulary Exclusions, _https://www.express-
scripts.com/art/pdf/Preferred Drug List Exclusions2018.pdf (last viewed Sept. 10, 2018) at 1.

“See Express Scripts, 2018 Express Scripts National Preferred Formulary,  littps:/Avww.express-
Scripis.com/art/open_ enrotlment/INTEL NPEList.pdf (last viewed Sept. 10, 2018).

205 id.

 

105
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 108 of 135 Pageid#: 146

409, Express Scripts’ Medicare PDP formularies impose prior authorization
requirements for certain opioids but most immediate-release opioids are not subject to step therapy
or prior authorization requirements.”™ There are also some quantity and dosage limits in place, but
these limits exceed the CDC Guideline.2”

410, The following charts explains how Express Scripts’ current hydrocodone and
oxycodone Medicare quantity limits far exceed CDC Guidance with respect to these highly abused

drugs:

 

‘Hydrocodoné-acetaminophen,
or 372 tablets per 31 days”

 
  
 
 
 

 

 

 

 

 

 

 

 

5-325mg ;
7,5-325mg 75mg 1.0 12 90 MME
10-325mg 10mg

 

 

_ Oxycodone-acetaminophen,
372 tablets per'31 days”?
5-325mg
7,5-325mg
10-325mg

 
 

 

 

 

 

 

 

 

 

 

 

411. Express Script’s Medicare PDP formularies impose prior authorization and/or

quantity limits on the majority of covered pharmacologic treatments for opioid addiction and

 

* See Express Scripts, Saver Plan Express Scripts Medicare (PDP) 2018 Formulary, https://www.express-
scriptsmedicare.com/pdi/medicare/medicare-part-d-2018-formulary-saver.pdf (last viewed Sept. 10, 2018) (“Saver
Plan Formulary); Express Scripts, Value Plan Express Scripts Medicare (PDP) 2018 Formulary, https://www.express-
scriptsmedicare.com/pdf/medicare/medicare-part-d-2018-formulary-value.pdf (last viewed Sept. 10, 2018) (“Value
Plan Formulary); Express Scripts, Choice Plan Express Scripts Medicare (PDP) 2018 Formulary,
hitps://www.express-scriptsmedicare.com/pdf/medicare/medicare-part-d-2018-formulary-choice.pdf (last viewed
Sept, 10, 2018) (“Choice Plan Formulary).

07 Fd. Saver Plan Formulary at 21-22; Value Plan Formulary at 20-22; and Choice Plan Formulary at 20-22.
208 Jp
209 CMS Conversion Chart, supra note 190.

     

710 See Saver Plan Formulary, Value Plan Formulary and Choice Plan Formulary, supra note 206.

2! OMS Conversion Chart, supra note 190,

106
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 109 of 135 Pageid#: 147

overdose,” These treatments are listed on Tiers 2 through 4 of the formularies, indicating that at
least some non-nominal cost-sharing is required.?"*

412, As in the commercial contexts, the Express Scripts Medicare formulary does not
include choline magnesium trisalicylate, indomethacin, meclofenamate, and nabumetone, all
useful in a step therapy context.?!4

413. For an additional fee, Express Scripts now offers customers its Advanced Opioid
Management Program.

414. Even in this program, Express Scripts does not impose a three-day limit for first-
time users dealing with acute pain; does not require step therapy prior to dispensing immediate-
release opioids; and does not require prior authorization for immediate-release opioids.?!5

415. Express Scripts limits the dosage of opioids prescribed per day, but only to 200
MME/day, more than double the dosage which the CDC Guideline says should be avoided.?!®

416. Nowhere does any Express Scripts formulary advise that opioids are inappropriate

for chronic pain treatment outside active cancer, end-of-life or palliative care.*'’ To the contrary,

 

“12 See Saver Plan Formulary, Value Plan Formulary and Choice Plan Formulary, supra note 206.
213 fd. (all formularies) at vi (“[u]se Tier | drugs for the lowest copayments”).
*\4See Saver Plan Formulary, Value Plan Formulary and Choice Plan Formulary, supra note 206.

215 See Express Scripts, Putting the brakes on the opioid epidemic, https://my.express-scripts.com/opioids.html:
Express Scripts, A Comprehensive Solution to Reduce Opioid Abuse, Tune 7, 2017, hitp:/flab.express-
scripts. com/lab/insights/industry-updates/a-comprehensive-solution-to-reduce-opioid-abuse; Nicholas Hamm,
Express Scripts Limits Opioid Prescriptions, DRUG Topics, Aug. 17, 2017, http:/Avww.diuetopics.com/clinical-
news/express-scripts-limits-opioid-prescriptions; and Express Scripts, Express Scripés Significantly Reduces
inappropriate Selection and Excessive Dispensing of Opioids for New Patients, supra note 165.

16 Nicholas Hamm, xpress Scripts Limits Opioid Prescriptions, DruG Topics, Aug. 17, 2017,
hitp:/Avww.drupgtopies.com/clinical-news/express-scripts-limits-opioid-prescriptions, at 1.

°\7 See 2018 National Preferred Formulary Exclusions, supra note 203; 2018 Express Scripts National Preferred
Formulary, supra note 204; Saver Plan Formulary, Value Plan Fermulary and Choice Plan Formulary, supra note
206.

107
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 110 o0f135 Pageid#: 148

virtually every opioid analgesic on every Express Scripts formulary (commercial or Medicare) is
available through its mail order pharmacy.?!®

417. OptumRx offers five basic formularies, each of which includes opioids."

418. OptumRx’s 2018 Generic Centric Formulary appears to have no limits whatsoever
surrounding the dispensing of opioids.?”°

419. OptumRx’s other commercial formularies require prior authorization only on some
opioids, not including the most popular immediate-release drugs.?!

420. They do not appear to require step therapy for immediate-release opioids or a three-
day limit for acute pain treatment?”

421. They do not advise against the dispensing of opioids for chronic pain.?”°

422. OptumRx currently limits immediate-release opioids for patients new to opioid
therapy to 49 MME a day. However, patients not new to opioid therapy may receive 90 MME per
day, a limit the CDC Guideline recommends should avoided.

423. OptumRx’s Medicare PDP formularies do not appear to have any prior

authorization requirements for most long-acting opioids or widely used opioids such as

hydrocodone/acetaminophen, oxycodone/acetaminophen and codeine/acetaminophen.?”4

 

218 Td.

219 See OptumRx, Formulary and drug lists, bttps://professionals.optumrx.com/resources/fornmular
(last visited Sept. 10, 2018)

20 OptumRx, 2018 Generic Centric Formulary, July 1, 2018, https://professionals.optumrx.com/content/dam/

optum3/pro fessional -optumrx/resources/forms/Generic-Centric?s20F ormulary.pdf, at 7-9.

=! See OptumRx, Formulary and drug lists, supra note 219.
222 py
223 Ff

4 See, eg., OptumRx, Medicare Part D Prescription Drug Plan (PDP) 2018 Comprehensive Formulary,
https://chp.optumrx,com/rxsol/chp/ContentCalPERS/pdf/CalPERS Anthem 2018 ComprehensiveMemberlormula
ry.pdf (last visited Sept. 10, 2018), at 10-15,

 

   

108
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 1110f135 Pageid#: 149

424. These formularies have very few quantity limits, as well, including no apparent
limits on the popular opioids identified above.2°

425. OptumRx does not appear to limit Medicare reimbursement for acute pain treatment
to three days.””°

426, OptumRx offers its OptumRx Opioid Risk Management program for an additional
fee. Only through enrollment in that program, for extra money, will its commercial customers
receive services that OptumRx’s falsely claims are compliant with the CDC Guideline. Even in its
Opioid Risk Management Program, OptumRx does not appear to limit acute treatment to three-
days and does not require step therapy for opioid treatment of chronic pain.?77

427. As with the manufacturer and wholesaler defendants, PBMs must contribute to the

damage their intentional and purposeful conduct has foreseeably caused plaintiff.

V. CAUSES OF ACTION
COUNT I
PUBLIC NUISANCE
VIOLATION OF VA. CODE ANN, § 15.2-900
(AGAINST ALL DEFENDANTS)

428. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

429, This action is brought by Plaintiff pursuant to Va. Code Ann. § 15.2-900 to abate
the public nuisance created by Defendants, and to recover costs Plaintiff has already incurred and

future costs the Plaintiff expects to incur in its provision of emergency services that are reasonably

required to abate the public nuisance created by Defendants.

 

225 Id

26 Ig

227 OptumRx Opioid Risk Management, supra note 135.
DP p iP

109
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 112 of 135 Pageid#: 150

430. Each Defendant, acting alone or with one or more co-defendants, created a
condition that was and continues to be dangerous to the public and has injured those inhabitants
of Salem who have come within its influence. Each Defendant, acting alone or in concert, injured
the property of Salem.

431. The Manufacturer Defendants knew or should have known that their promotion of
opioid use would create a public nuisance:

(a) The Manufacturer Defendants have engaged in massive production,
promotion, and distribution of opioids for use by the residents of Salem;

(ob) The Manufacturer Defendants’ actions created and expanded the market for
opioids, promoting their wide use for pain management;

(a) The Manufacturer Defendants misrepresented the benefits of opioids for
chronic pain and fraudulently concealed, misrepresented, and omitted the serious adverse
effects of opioids, including the addictive nature of the drugs;

(b) The Manufacturer Defendants knew or should have known that their
promotion would lead to addiction and other adverse consequences and that the larger
community would suffer as a result.

432. The Manufacturer Defendants’ actions were a substantial factor in making opioids
widely available and widely used. The Manufacturer Defendants’ actions were a substantial factor
in doctors and patients not accurately assessing and weighing the risks and benefits of opioids for
chronic pain, Without the Manufacturer Defendants’ actions, opioid use would not have become
so widespread, and the enormous public health hazard of opioid overuse, abuse, and addiction that
now exists would have been averted.

433. The Manufacturer Defendants also knowingly, intentionally, recklessly, and/or
negligently funneled massive quantities of prescription opioids to physicians and other prescribers
who they knew or should have known wrote suspicious prescriptions and/or wrote prescriptions

for known abusers of prescription opioids,

110
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 113 0f 135 Pageid#: 151

434, The Manufacturer Defendants knowingly, intentionally, recklessly, and/or
negligently disseminated prescription opioids to distributors who they knew or should have known
failed to implement effective controls and procedures to guard against theft, diversion, and abuse
of prescription opioids,

435. The Manufacturer Defendants also knowingly enabled and/or failed to prevent the
illegal diversion of prescription opioids into the black market, including “pill mills” known for
providing opioids to known drug abusers, and known drug dealers, knowing that such opioids
would be illegally trafficked and abused.

436. The Manufacturer Defendants knowingly and intentionally financially incentivized
the PBM Defendants to place their opioids on the PBMs formularies irrespective of medical
necessity, resulting in widespread and unnecessary overuse.

437. The Distributor Defendants’ nuisance-causing activities include failing to
implement effective controls and procedures in their supply chains to guard against theft, diversion
and misuse of prescription opioids, and failing to adequately design and operate a system to detect,
halt, and report suspicious orders of prescription opioids.

438. The Distributor Defendants also knowingly and intentionally enabled and/or failed
to prevent the illegal diversion of prescription opioids into the black market, including “pill mills”
known for providing opioids to known drug abusers, and known drug dealers, knowing that such
opioids would be illegally trafficked and abused.

439. The PBM Defendants knowingly and intentionally designed benefit plans that
would maximize the number of opioids in the marketplace.

440. The PBM Defendants knowingly and intentionally created their formularies to

ensure that an excessive number of pills were made available to users for use and abuse.

111
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 114 0f135 Pageid#: 152

441. The PBM Defendants knowingly and intentionally chose to include opioids on their
formularies that were more addictive to users because they generated greater profits, This failure
led directly to the increased likelihood of addiction.

442. The PBM Defendants knowingly and intentionally chose to include opioids that
were easier to misuse (for example, by crushing them into powder and mixing them with liquid in
order to inject them) instead of Abuse Deterrent Formulations (“ADFs”) which tended to be more
expensive. This choice directly led to the ease with which the pills could be misused.

443, The PBM Defendants knowingly and intentionally made it more expensive or more
difficult to obtain knowingly efficacious non-opioid medications for pain. This led directly to the
increased sale and use of opioids.

444, The PBM Defendants knowingly and intentionally chose not to include certain
medications that would prevent overdoses or made them more difficult or expensive to obtain.

445. The PBM Defendants chose not to cover or provided less coverage for drug
treatment.

446. The PBM Defendants knowingly, intentionally, recklessly and/or negligently failed
to manage and/or monitor these plans to minimize the use and abuse of opioids.

447, The public nuisance created by the Defendants endangers the life, health and safety
of Salem’s residents.

448. The public nuisance created by Defendants interferes with the reasonable and
comfortable use of Salem’s property and resources.

449. The public nuisance created by Defendants’ actions has caused and continues to
cause significant harm to the community that includes but is not limited to:

(a) Opioid-related drug overdose deaths;

112
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 115 0f135 Pageid#: 153

(b) The disease of opioid addiction and other diseases related to long-term
opioid use;

(c) Infants born addicted to opioids due to prenatal exposure, causing severe
withdrawal symptoms and lasting developmental impacts;

(d) Other child abuse and neglect resulting from opioid abuse;
(e} Crime associated with illegal drug use and opioid sales;

() Unemployment resulting from an inability to work while addicted to
opioids;

(g) Blight, vagrancy, property damage, and property crime.

450. Defendants’ controlled the creation and supply of a new secondary market for
opioids—providing both the supply of narcotics to sell and the demand of addicts to buy them.
The result of Defendants’ actions is not only an explosion of prescription opioids on the black
market, but also a marked increase in the availability of heroin and synthetic opioids.

451. The diversion of opioids into the secondary, criminal market by Defendants and the
increase in the number of individuals who abuse or are addicted to opioids has placed unnecessary
and excessive demands on the medical, public health, law enforcement, and financial resources of
Salem.

452. Adults and children in Salem who have never taken opioids have also suffered the
costs of the Defendants’ public nuisance. Many have endured both the emotional and financial
costs of caring for loved ones addicted to or injured by opioids, and the loss of companionship,
wages, or other support from family members who have used, abused, become addicted to,
overdosed on, or been killed by opioids.

453. Public resources are being unreasonably consumed in efforts to address the opioid
epidemic, thereby eliminating available resources which could be used to benefit the public at

large in Salem.

113
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 116 of 135 Pageid#: 154

454, The public nuisance created, perpetuated, and maintained by Defendants can be
abated and further recurrence of such harm and inconvenience can be abated.

455. Salem has incurred significant costs to date in its efforts to provide services that
were reasonably necessary to abate the public nuisance created, perpetuated, and maintained by
Defendants. Salem expects to incur significant costs going forward to ameliorate the harm caused
by Defendants.

456. Asa direct and proximate result of the public nuisance, Salem has sustained (and
continues to sustain) harm by spending a substantial amount of money trying to fix the societal
harms caused by the Defendants’ nuisance-causing activity, including, but not limited to, the costs
of healthcare, emergency medical services, social services, prevention, treatment, intervention, law
enforcement, lost tax revenues, direct spending on opioids and opioid antagonists, and lost
communal benefits of Salem’s limited and diverted resources as set forth more fully above.

COUNT II
COMMON LAW PUBLIC NUISANCE
(AGAINST ALL DEFENDANTS)

457. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

458, This action is brought by Plaintiff to abate the public nuisance created by
Defendants, and to recover costs Plaintiffhas already incurred and future costs the Plaintiff expects
to incur in its provision of emergency services that are reasonably required to abate the public
nuisance created by Defendants.

459. Under common law, a public nuisance is a condition that is dangerous to the public.
A public nuisance adversely impacts an entire community or significant portion of the public.
Therefore, a cause of action for public nuisance exists where a defendant’s conduct negatively

affects the community at large. The public nuisance complained of herein includes the

114
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 117 of 135 Pageid#: 155

oversaturation, unlawful availability, and abuse of opioids in Salem as well as the adverse social
and environmental outcomes associated with widespread and/or illegal opioid use.

460, Each Defendant, acting alone or with one or more co-defendants, created a
condition that was and continues to be dangerous to the public and has injured those inhabitants
of Salem who have come within its influence. Each Defendant, acting alone or in concert, injured
the property of Salem.

461. The Manufacturer Defendants knew or should have known that their promotion of
opioid use would create a public nuisance:

(a) The Manufacturer Defendants have engaged in massive production,
promotion, and distribution of opioids for use by the residents of Salem;

(b) The Manufacturer Defendants’ actions created and expanded the market for
opioids, promoting their wide use for pain management;

(c) The Manufacturer Defendants misrepresented the benefits of opioids for
chronic pain and fraudulently concealed, misrepresented, and omitted the serious adverse
effects of opioids, including the addictive nature of the drugs;

(d) The Manufacturer Defendants knew or should have known that their
promotion would lead to addiction and other adverse consequences and that the larger
community would suffer as a result.

462. The Manufacturer Defendants’ actions were a substantial factor in making opioids
widely available and widely used. The Manufacturer Defendants’ actions were a substantial factor
in doctors and patients not accurately assessing and weighing the risks and benefits of opioids for
chronic pain. Without the Manufacturer Defendants’ actions, opioid use would not have become
so widespread, and the enormous public health hazard of opioid overuse, abuse, and addiction that
now exists would have been averted.

463. The Manufacturer Defendants also knowingly, intentionally, recklessly, and/or

negligently funneled massive quantities of prescription opioids to physicians and other prescribers

115
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 118 0f 135 Pageid#: 156

who they knew or should have known wrote suspicious prescriptions and/or wrote prescriptions
for known abusers of prescription opioids.

464. The Manufacturer Defendants knowingly, intentionally, recklessly, and/or
negligently disseminated prescription opioids to distributors who they knew or should have known
failed to implement effective controls and procedures to guard against theft, diversion, and abuse
of prescription opioids.

465. The Manufacturer Defendants also knowingly enabled and/or failed to prevent the
illegal diversion of prescription opioids into the black market, including “pill mills” known for
providing opioids to known drug abusers, and known drug dealers, knowing that such opioids
would be illegally trafficked and abused.

466. The Manufacturer Defendants knowingly and intentionally incentivized the PBM
Defendants to place their opioids on the PBMs formularies irrespective of medical necessity,
resulting in widespread and unnecessary overuse.

467. The Distributor Defendants’ nuisance-causing activities include failing to
implement effective controls and procedures in their supply chains to guard against theft, diversion
and misuse of prescription opioids, and failing to adequately design and operate a system to detect,
halt, and report suspicious orders of prescription opioids,

468. The Distributor Defendants also knowingly and intentionally enabled and/or failed
to prevent the illegal diversion of prescription opioids into the black market, including “pill mills”
known for providing opioids to known drug abusers, and known drug dealers, knowing that such
opioids would be illegally trafficked and abused.

469, The PBM Defendants knowingly and intentionally designed benefit plans that

would maximize the number of opioids in the marketplace.

116
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 119 0f 135 Pageid#: 157

470. The PBM Defendants knowingly and intentionally created their formularies to
ensure that an excessive number of pills were made available to users for use and abuse.

471. The PBM Defendants knowingly and intentionally chose to inciude opioids on their
formularies that were more addictive to users because they generated greater profits. This failure
led directly to the increased likelihood of addiction.

472, The PBM Defendants knowingly and intentionally chose to include opioids that
were easier to misuse (for example, by crushing them into powder and mixing them with liquid in
order to inject them) instead of Abuse Deterrent Formulations (“ADFs’’) which tended to be more
expensive. This choice directly led to the ease with which the pills could be misused.

473. The PBM Defendants knowingly and intentionally made it more expensive or more
difficult to obtain knowingly efficacious non-opioid medications for pain. This led directly to the
increased sale and use of opioids.

474. The PBM Defendants knowingly and intentionally chose not to include certain
medications that would prevent overdoses or made them more difficult or expensive to obtain.

475. The PBM Defendants chose not to cover or provided less coverage for drug
treatment.

476. The PBM Defendants knowingly, intentionally, recklessly and/or negligently failed
to manage and/or monitor these plans to minimize the use and abuse of opioids.

477. The public nuisance created by the Defendants endangers the life, health and safety
of Salem’s residents.

478. The public nuisance created by Defendants interferes with the reasonable and

comfortable use of Salem’s property and resources.

117
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 120o0f135 Pageid#: 158

479, The public nuisance created by Defendants’ actions has caused and continues to
cause significant harm to the community that includes but is not limited to:

(a) Opioid-related drug overdose deaths;

(b) The disease of opioid addiction and other diseases related to long-term
opioid use;

(c) Infants born addicted to opioids due to prenatal exposure, causing severe
withdrawal symptoms and lasting developmental impacts;

(d) Other child abuse and neglect resulting from opioid abuse;
(e) Crime associated with illegal drug use and opioid sales;

(f) Unemployment resulting from an inability to work while addicted to
opioids;

(g) Blight, vagrancy, property damage, and property crime,

480. Defendants’ controlled the creation and supply of a new secondary market for
opioids—providing both the supply of narcotics to sell and the demand of addicts to buy them.
The result of Defendants’ actions is not only an explosion of prescription opioids on the black
market, but also a marked increase in the availability of heroin and synthetic opioids.

481. The diversion of opioids into the secondary, criminal market by Defendants and the
increase in the number of individuals who abuse or are addicted to opioids has placed unnecessary
and excessive demands on the medical, public health, law enforcement, and financial resources of
Salem.

482. Adults and children in Salem who have never taken opioids have also suffered the
costs of the Defendants’ public nuisance. Many have endured both the emotional and financial
costs of caring for loved ones addicted to or injured by opioids, and the loss of companionship,
wages, ot other support from family members who have used, abused, become addicted to,

overdosed on, or been killed by opioids.

118
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 121o0f135 Pageid#: 159

483. Public resources are being unreasonably consumed in efforts to address the opioid
epidemic, thereby eliminating available resources which could be used to benefit the public at
large in Salem.

484. The public nuisance created, perpetuated, and maintained by Defendants can be
abated and further recurrence of such harm and inconvenience can be abated,

485. Salem has incurred significant costs to date in its efforts to provide services that
were reasonably necessary to abate the public nuisance created, perpetuated, and maintained by
Defendants. Salem expects to incur significant costs going forward to ameliorate the harm caused
by Defendants.

486. Asa direct and proximate result of the public nuisance, Salem has sustained (and
continues to sustain) harm by spending a substantial amount of money trying to fix the societal
harms caused by the Defendants’ nuisance-causing activity, including, but not limited to, the costs
ofhealthcare, emergency medical services, social services, prevention, treatment, intervention, law
enforcement, lost tax revenues, direct spending on opioids and opioid antagonists, and lost
communal benefits of Salem’s limited and diverted resources as set forth more fully above.

COUNT III
VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
VA. CODE ANN. § 59,1-196, ET SEQ.
(AGAINST MANUFACTURER DEFENDANTS)

487, Plaintiff incorporates all preceding and subsequent paragraphs by reference,

488. The Virginia Consumer Protection Act (“CPA”) secks to provide a remedy to unfair
and unethical standards of business interactions between suppliers and the consuming public. Va.
Code Ann, § 59.1-197.

489. The CPA specifically prohibits sellers from “[mlisrepresenting that goods or

services have certain quantities, characteristics, ingredients, uses, or benefits.” Va. Code Ann. §

119
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 122 of 135 Pageid#: 160

59.1-200(A)(5). As alleged herein, each Manufacturer Defendant violated the CPA by representing
that opioids have uses or benefits in treating chronic that they do not have, and by representing
that opioids do not have the characteristic of being dangerously addictive.

490. Defendants engaged in the above-described acts intentionally and with knowledge
that harm might result, and thus willfully violated the CPA under Va. Code Ann. § 591-204,

491. Unless enjoined from doing so, Defendants will continue to violate the CPA.

492. Plaintiff seeks reimbursement of all monies paid for Defendants’ products by
Plaintiff.

493. Pursuant to the CPA, Plaintiff is entitled to three times the damages it sustained by
the Defendants, as the Defendants’ willfully and knowingly violated the CPA, Va. Code Ann. §
59,1-204(A).

494. As a proximate result of Defendants’ deceptive acts, Defendants have caused
Plaintiff to incur excessive costs related to responding to the opioid crisis. These costs include, but
are not limited to, the costs of healthcare, emergency medical services, social services, prevention,
treatment, intervention, law enforcement, lost tax revenues, direct spending on opioids and opioid
antagonists, and lost communal benefits of Salem’s limited and diverted resources as set forth

more fully above.

COUNT IV
FRAUD
(AGAINST MANUFACTURER DEFENDANTS)
495. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

496, Defendants, individually and acting through their employees and agents, and in

concert with each other, made misrepresentations and omissions of facts material to Plaintiff,

120
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 123 0f 135 Pageid#: 161

healthcare providers, and consumers to induce them to purchase, administer, and consume opicids
as set forth herein.

497, Defendants’ representations and assertions to Plaintiff, healthcare providers, and
consumers contamed intentional misrepresentations and material omissions as to the risks
associated with opioids.

498. Defendants intentionally made inaccurate representations regarding the adverse
medical conditions associated with the use of opioids and such false representations were made
with the intent to mislead.

499. Defendants knew or reasonably should have known that the representations made
to Plaintiff and the public-at large regarding the risks of opioids were false or incomplete and
misrepresented material facts regarding the use of opioids for chronic pain.

500. Defendants had a duty to provide accurate information regarding the risks and side
effects associated with opioids to consumers, including healthcare providers and the Plaintiff.

S01. Defendants willfully, knowingly, and deceptively withheld material facts regarding
the risks and side effects associated with opioids from Plaintiff, healthcare providers, and
consumers.

502. Plaintiff, healthcare providers, and consumers reasonably relied on the
representations made by Defendants, which caused Plaintiff, through its programs, departments,
and agencies, to incur costs, including, but not limited to the costs of healthcare, emergency
medical services, social services, prevention, treatment, intervention, law enforcement, lost tax
revenues, direct spending on opioids and opioid antagonists, and lost communal benefits of

Salem’s limited and diverted resources as set forth more fully above.

121
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 124 0f135 Pageid#: 162

503. Piaintiff, healthcare providers, and consumers were justified in their reliance on
Defendants to educate them as to the risks and dangerous and potentially life-threatening side
effects associated with opioid use,

504, Defendants’ conduct was willful, wanton, and malicious and was directed at
Plaintiff and their residents.

505. The reprehensible nature of the Defendants’ conduct further entitles Plaintiff to an
award of punitive damages.

506. As a proximate and legal result of Defendants’ fraudulent misrepresentations,
Plaintiff has suffered and will continue to suffer damages and is therefore entitled to recover for
those damages.

COUNT V

COMMON LAW CIVIL CONSPIRACY
(AGAINST ALL DEFENDANTS)

507. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

508. The Defendants acted in concert for the purpose of increasing the use of opioids
and fraudulently selling and distributing as many opioids as possible, causing significant harm to
Salem.

509. The Manufacturer and Distributor Defendants violated Virginia law and the CSA
by, iater alia:

(a) fraudulently making false or misleading statements, falsely marketing
opioids as safe for treatment of chronic pain; suppressing evidence to the contrary, and
improperly inducing physicians to prescribe opioids for chronic pain;

(b) evading controls on opioid diversion, increasing opicid quotas; and

(c) failing to design and operate a system to disclose suspicious orders of
controlled substances, failing to provide and maintain appropriate inventory controls.

122
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 125 o0f135 Pageid#: 163

510. The conspiracy would not have succeeded absent the PBM’s control of the flow of
opioids from manufacturer to the end user. The PBM’s plan design, including formulary
placement, controlled which opioids were paid for, reimbursed, and covered by public and private
pharmacy benefit plans. The PBMs exacerbated the opioid crisis by (a) intentionally designing
benefit plans that would maximize the number of opioids in the marketplace, (b) failing to manage
and/or monitor these plans to minimize the use and abuse of opioids, and (c) choosing drugs to put
on their formularies that provided the largest profit to themselves, regardless of the addictive
quality of the drug and whether there was an alternative available and limiting access to competing
less-additive alternatives.

511. The PBM and Manufacturer Defendants coordinated to ensure that the maximum
number of Manufacturers’ opioids were prescribed and sold, and the PBM Defendants got the
maximum profit at the expense of patients.

512. Each of the participants in the conspiracy received revenue, directly or indirectly,
and/or otherwise benefitted from the scheme to promote opioids as safe and non-addictive.

513. Atalt relevant times, each Defendant was a knowing and willing participant in the
conspiracy, and reaped profits from the conspiracy in the form of increased sales, distributions,
rebates and kick-backs. Distributor Defendants received kick-backs from Manufacturer
Defendants if they reached particular monthly goals. PBM Defendants received rebates,
chargebacks, kickbacks, administrative fees, and other financial incentives to promote the
Manufacturer Defendants’ drugs.

514, Alf participants of the enterprise described herein were aware of Defendants’
control over the activities of the conspiracy in promoting opioids for use in every situation in which

a patient is in pain. Each part of the conspiracy benefited from the existence of the other parts.

123
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 126 of 135 Pageid#: 164

515. The persons engaged in the conspiracy are systematically linked through
contractual relationships, financial ties, and continuing coordination of activities.

516. Salem has been injured by reason of these violations in that it has incurred costs,
including, but not limited to the costs of healthcare, emergency medical services, social services,
prevention, treatment, intervention, law enforcement, lost tax revenues, direct spending on opioids
and opioid antagonists, and lost communal benefits of Salem’s limited and diverted resources as
set forth more fully above. Salem would not have incurred these costs had Defendants not
conspired together, The injuries suffered by Salem were directly and proximately caused by
Defendants’ actions and inactions.

517. Plaintiff was directly and proximately harmed by the Defendants’ civil conspiracy.

COUNT VI

NEGLIGENCE PER SE
(AGAINST MANUFACTURER DEFENDANTS)

518. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

519, The Manufacturer Defendants failed to perform their statutory and regulatory
obligations under the Virginia Drug Control Act, Va. Code Ann. § 54.1-3400 et seq., and the CSA,
which were enacted to promote safety and to prevent exactly the type of harm that occurred as a
result of Defendants’ failures.

920. The Virginia Drug Control Act imposes certain specific responsibilities upon drug
manufacturers, such as the Manufacturer Defendants, who manufacture and sell pharmaceutical
drugs in Virginia. Va. Code Ann. § 54.1-3457. Among those responsibilities is the requirement
that drug manufacturers refrain from the “dissemination of any false advertisement” in the
promotion of their drugs. /d. “Advertisement” is defined as “all representations disseminated in

any manner or by any means, other than by labeling, for the purpose of inducing, or which are

124
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 127 of 135 Pageid#: 165

likely to induce, directly or indirectly, the purchase of drugs or devices.” Va. Code Ann. § 54.1-
3401.

521. ‘The Manufacturer Defendants continually violated their duties by making and/or
disseminating false advertisements about opioids, including but not limited to:

(a) Making misleading statements about the true risk of addiction;

(b) Making deceptive statements concerning the ability of opioids to improve
patient function long-term;

(c) Making deceptive statements about the efficacy of opioids for long-term
treatment of chronic pain; and

(d) Promoting chronic opioid therapy as safe and effective for long term use for
high-risk patients.

522. Manufacturer Defendants, by disseminating false and/or misleading
advertisements, encouraged physicians to over-prescribe opioids to Plaintiff's residents, leading
to addiction. As a result, Plaintiff was saddled with the costs of harms arising from the over-
prescription and dispensation of opioids.

523. The Manufacturer Defendants also failed to maintain effective controls against
diversion, failed to report suspicious orders to law enforcement and perform due diligence prior to
filling orders, and failed to design and operate a system to disclose suspicious orders of controlled
substances, as required by the CSA.

524. Va. Code Ann.§ 54.1-3457 and the CSA were enacted, at least in part, to prevent
the harms that can arise as a result of false advertisements and statements by drug manufacturers
such as the Manufacturer Defendants and the other violations of the CSA as described herein.

525. Plaintiff is among the persons and entities intended to benefit from the protections

of Va. Code Ann. § 54.1-3457 and the CSA, and the harm that has occurred as a result of the

125
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 128 0f135 Pageid#: 166

Manufacturer Defendants’ violations are among the types of harm that the statutes were intended
to prevent.

526. Therefore, as a proximate result of the false advertising and violations of the CSA,
the Manufacturer Defendants have caused Plaintiff to incur excessive costs related to responding
to the opioid crisis. These costs include, but are not limited to, the costs of healthcare, emergency
medical services, social services, prevention, treatment, intervention, law enforcement, lost tax
revenues, direct spending on opioids and opioid antagonists, and lost communal benefits of
Salem’s limited and diverted resources as set forth more fully above.

COUNT VII

NEGLIGENCE PER SE
(AGAINST DISTRIBUTOR DEFENDANTS)

527. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

528. The Distributor Defendants failed to perform their statutory and regulatory
obligations under the Virginia Drug Control Act, Va. Code Ann. § 54.1-3400 et seq., and the CSA,
which were enacted to promote safety and to prevent exactly the type of harm that occurred as a
result of Defendants’ failures.

529. Virginia and federal law impose certain specific responsibilities on Distributor
Defendants, including the responsibility to design and operate a system to disclose suspicious
orders of controlled substances, Va. Code Ann. § 54.1-3435.1(4); 21 GE.R. § 1301.74(b).
Furthermore, if Distributor Defendants cease distribution of opioids and certain other drugs “to a
pharmacy, licensed physician dispenser, or licensed physician dispensing facility located in the
Commonwealth due to suspicious orders of controlled substances” and inform the Virginia Board
of Pharmacy within five days of the cessation. Va. Code Ann. § 54,1-3435, “ [SJuspicious orders
of controlled substances’ means, relative to the pharmacy’s, licensed physician dispenser’s, or

licensed physician dispensing facility’s order history and the order history of similarly situated

126
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 129 o0f 135 Pageid#: 167

pharmacies, licensed physician dispensers, or licensed physician dispensing facilities, (i) orders of
unusual size, (ii) orders deviating substantially from a normal pattern, and (iii) orders of unusual
frequency.” /d.

530. Distributor Defendants are further required to “provide and maintain appropriate
inventory controls in order to detect and document any theft, counterfeiting, or diversion of
prescription drugs.” 18 VAC 110-50-90.

531. Distributor Defendants failed or refused to disclose suspicious orders to the DEA,
the Board of Pharmacy, and boards whose licensees have prescribing authority, in violation of
Virginia law and regulation and therefore failed to meet their duties as registered distributors of
controlled substances.

532. The laws and regulations described above were enacted, at least in part, to prevent
the harms that can arise as a result of an overabundance of opioids being made available in
communities.

533. Plaintiff is among the persons and entities intended to benefit from the protections
of these laws and regulations. The harm that has occurred is a proximate result of the Distributor
Defendants’ failure to abide by their legal obligations.

534. As a proximate result of failing to report and/or continuing to fill suspicious
transactions, the Distributor Defendants have caused Plaintiff to incur excessive costs related to
responding to the opioid crisis. These costs include, but are not limited to, the costs of healthcare,
emergency medical services, social services, prevention, treatment, intervention, law enforcement,
lost tax revenues, direct spending on opioids and opioid antagonists, and lost communal benefits
of Salem’s limited and diverted resources as set forth more fully above.

COUNT VII

NEGLIGENCE
(AGAINST ALL DEFENDANTS)

127
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 130o0f135 Pageid#: 168

535. Plaintiff incorporates all preceding and subsequent paragraphs by reference,

536. Defendants have a duty to Plaintiff to employ a reasonable standard of care in the
sale, distribution, dispensing, reimbursement and promotion of prescription opioids. This includes
a duty to not create a foreseeable risk of harm to others.

537. Defendants breached this duty by failing to take any action to prevent or reduce the
unnecessary, non-medical or criminal use of opioids. Collectively, and individually, Defendants
made prescription opioids available to the marketplace with the knowledge that they were likely
being used for non-medical purposes and/or posed an inherent danger to patients who were using
them for other than acute pain or palliative care.

538. | Defendants were negligent in failing to monitor and guard against third-party
misconduct and participated and enabled such misconduct.

539. Defendants placed their profit motives above their legal duty and enabled,
encouraged and caused the over-prescribing and distribution of opioids.

540, All Defendants knew of the highly addictive nature of prescription opioids and
knew of the high likelihood of foreseeable harm to patients and communities from prescription
opioid addiction and diversion. Defendants breached their duties when they failed to act with
reasonable care to prevent the diversion of prescription opioids,

541. A negligent and/or intentional violation of the Defendants’ duties poses distinctive
and significant dangers to the Plaintiff, including epidemic levels of addiction and the diversion of
opioids for illegitimate purposes.

542, As a proximate result of the failure to prevent the over prescription and excessive
distribution of opioids, the Defendants have caused the Plaintiff to incur excessive costs related to
responding to the opioid crisis. These costs include but are not limited to, the costs of healthcare,

emergency medical services, social services, prevention, treatment, intervention, law enforcement,

128
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 131o0f135 Pageid#: 169

lost tax revenues, direct spending on opioids and opioid antagonists, and lost communal benefits
of Salem’s limited and diverted resources as set forth more fully above.
COUNT IX

GROSS NEGLIGENCE
(AGAINST ALL DEFENDANTS)

543. Plaintiff incorporates all preceding and subsequent paragraphs by reference.

544. Defendants’ scheme to optimize profits regardless of the effect on Salem was
undertaken and executed intentionally.

545. Defendants’ failure to take any action to prevent or reduce the unnecessary, non-
medical, or criminal use of opioids was grossly negligent in that it was done with indifference and
an utter disregard of prudence that amounts to complete neglect of the safety of others and had a
great probability of causing substantial harm.

546. Defendants’ utter disregard of prudence was such that it is shocking to any fair-
minded person.

547. As a proximate result of their grossly negligent conduct, the Defendants have
caused the Plaintiff to incur excessive costs related to responding to the opioid crisis. These costs
include but are not limited to, the costs of healthcare, emergency medical services, social services,
prevention, treatment, intervention, law enforcement, lost tax revenues, direct spending on opioids
and opioid antagonists, and lost communal benefits of Salem’s limited and diverted resources as
set forth more fully above.

COUNT X

WILLFUL AND WANTON NEGLIGENCE
(AGAINST ALL DEFENDANTS)

548. Plaintiff incorporates all preceding and subsequent paragraphs by reference.
549, Defendants’ scheme to optimize profits regardless of the effect on Salem was

undertaken and executed intentionally.

129
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 132 of 135 Pageid#: 170

550. Defendants’ failure to take any action to prevent or reduce the unnecessary, non-
medical, or criminal use of opioids was willfully and wantonly negligent in that it was done in
conscious disregard of the rights of Salem and/or with reckless indifference to the consequences
of their actions.

551. At all relevant times, Defendants were aware, from their knowledge of existing
circumstances and conditions, that their conduct would probably cause injury to Salem.

552, As a proximate result of their willfully and wantonly negligent conduct, the
Defendants have caused the Plaintiff to incur excessive costs related to responding to the opioid
crisis. These costs include but are not limited to, the costs of healthcare, emergency medical
services, social services, prevention, treatment, intervention, law enforcement, lost tax revenues,
direct spending on opioids and opioid antagonists, and lost communal benefits of Salem’s limited
and diverted resources as set forth more fully above.

553. Furthermore, Defendants should be held liable for punitive damages to Salem
because they had prior knowledge of the specific dangerous conditions their willful and wanton
negligence created, they consciously disregarded that knowledge and continued to engage in their
exceedingly dangerous course of conduct, and the harm inflicted on Salem by Defendants’ conduct
was the natural and probable result of that conduct.

COUNT XI
UNJUST ENRICHMENT
(AGAINST ALL DEFENDANTS)
554. Plaintiff incorporates all preceding and subsequent paragraphs by reference.
555. As an intended result of their intentional wrongful conduct as set forth in this

Complaint, Defendants have knowingly profited and benefited from opioid purchases made by

Plaintiff, healthcare providers, and consumers in Salem.

130
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 133 0f 135 Pageid#: 171

556. In exchange for opioid purchases, and at the time Plaintiff and others made these
payments, Plaintiff expected that Defendants had not misrepresented any material facts regarding
opioids, and had complied with their iegal obligations in the manufacture, marketing, distribution,
dispensation, and reimbursement of opioids.

557, Defendants have been unjustly enriched in the form of profits because of their
wrongful conduct, and as a matter of equity, Defendants should be required to disgorge their
unjustly obtained profits from purchases of opioids made by Salem.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Salem, prays that the Court enter judgement against the

Defendants, jointly and severally, as follows:

(1) awarding compensatory damages in an amount not less than $40,000,000, or
as determined at trial;

(2) awarding punitive damages in the amount of $350,000 per defendant;

(3) awarding treble damages, as well as all costs and expenses of maintaining this
action, including reasonable attorneys’ fees, pursuant to statute where appropriate;

(4) awarding pre- and post-judgment interest;

(5) compelling the defendants to abate and remove the public nuisance they have
caused by immediately ceasing the unlawful conduct described throughout this
Complaint;

(6) such other and further relief as the Court deems just and proper,

[signature page follows]

13]
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 134 0f135 Pageid#: 172

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132
Case 7:19-cv-00273-EKD Document 1-2 Filed 03/28/19 Page 135 o0f 135 Pageid#: 173

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133
